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                      Exhibit C
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                                                                          Page 486
 1                  UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF OHIO
 2                       EASTERN DIVISON
 3    - - - - - - - - - - - - - - - - -x
       OHIO PUBLIC EMPLOYEES                          :
 4     RETIREMENT SYSTEM on Behalf                    :
       of Itself and All Others                       :
 5     Similarly Situated,                            :
                                                      :
 6                   Plaintiff,                       :C.A. NO. 4:08-CV-00160
                                                      :
 7        v.                                          :
                                                      :
 8      FEDERAL HOME LOAN MORTGAGE                    :
        CORPORATION, a/k/a Freddie                    :
 9      Mac, RICHARD F. SYRON,                        :
        PATRICIA L. COOK, ANTHONY S.                  :
10      PISZEL, and EUGENE M. MCQUADE,                :
                                                      :
11                   Defendants.                      :
                - - - - - - - - - - - - - - - - -x
12

13      DEPOSITION OF STEVEN P. FEINSTEIN, PHD, CFA
14                       (Vol. 3)
15             Boston, Massachusetts 02110
16             Tuesday, November 14, 2017
17

18

19

20

21

22

23    REPORTED BY:    Deanna J. Dean, RDR, CRR
24    JOB NO. 133207
25



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                                         Page 487                                          Page 488
 1                                                       1         APPEARANCES
 2                                                       2
 3         Tuesday, November 14, 2017                    3   MARKOVITS, STOCK & DEMARCO
 4         9:42 a.m.                                     4   Attorneys for Plaintiff
 5                                                       5      3825 Edwards Road
 6                                                       6      Cincinnati, OH 45209
 7      Deposition of STEVEN P. FEINSTEIN, PHD, CFA,     7   BY: WILLIAM MARKOVITS, ESQ.
 8    held at the offices of Morgan, Lewis & Bockius,    8
 9    One Federal Street, Boston, Massachusetts          9
10    02110, before Deanna J. Dean, a Registered        10       -and-
11    Professional Reporter, Registered Diplomate       11   STRAUSS & TROY
12    Reporter, Certified Realtime Reporter, and        12   Attorneys for Plaintiff
13    Notary Public of the State of Massachusetts.      13      150 East 4th Street
14                                                      14      Cincinnati, OH 45202
15                                                      15   BY: RICHARD WAYNE, ESQ.
16                                                      16      (appearing via speakerphone)
17                                                      17
18                                                      18
19                                                      19
20                                                      20
21                                                      21
22                                                      22
23                                                      23
24                                                      24
25                                                      25


                                         Page 489                                          Page 490
 1        A P P E A R A N C E S (cont'd.)                1      A P P E A R A N C E S (cont'd.)
 2                                                       2
 3     MORGAN, LEWIS & BOCKIUS                           3   ZUCKERMAN SPAEDER
 4     Attorneys for Defendant Federal Home              4   Attorneys for Defendant Patricia Cook
 5     Loan Mortgage Corporation, a/k/a Freddie Mac      5      100 East Pratt Street
 6        One Federal Street                             6      Baltimore, MD 21202
 7        Boston, MA 02110                               7   BY: ALICIA SHELTON, ESQ.
 8     BY: JASON FRANK, ESQ.                             8
 9     BY: LIZA HAYS, ESQ.                               9
10                                                      10
11                                                      11
12                                                      12   MURPHY & MCGONIGLE
13                                                      13   Attorneys for Defendant Anthony Piszel
14     SIDLEY AUSTIN                                    14      1185 Avenue of the Americas
15     Attorneys for Defendant Richard Syron            15      New York, NY 10036
16        1501 K Street Northwest                       16   BY: JAMES GOLDFARB, ESQ.
17        Washington, DC 20005                          17
18     BY: FRANK VOLPE, ESQ.                            18
19                                                      19
20                                                      20
21                                                      21
22                                                      22
23                                                      23
24                                                      24
25                                                      25




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                                             Page 491                                             Page 492
 1         A P P E A R A N C E S (cont'd.)                 1      Steven P. Feinstein, PhD, CFA
 2                                                         2        PROCEEDINGS
 3      DECHERT                                            3       THE VIDEOGRAPHER: This is the start
 4        Attorneys for Defendant Eugene McQuade           4   tape labeled No. 1 of the videotaped
 5        2929 Arch Street                                 5   deposition of Dr. Stephen Feinstein in the
 6        Philadelphia, PA 19104                           6   matter Ohio Public Employees Retirement
 7      BY: CATHERINE WIGGLESWORTH, ESQ.                   7   System versus Federal Home Loan Mortgage
 8                                                         8   Corporation, et al., in the court -- United
 9                                                         9   States Court of the Northern District of
10                                                        10   Ohio, Case Action No. 4:08-CV-00160.
11                                                        11       This deposition is being held at
12                                                        12   Morgan Lewis at One Federal Street in
13    ALSO PRESENT:                                       13   Boston, Mass., on 11/14/2017 at
14                                                        14   approximately 9:42 a.m.
15      Carlo Barbieri, Legal Video Specialist            15       My name is Carlo Barbieri from TSG
16                                                        16   Reporting Inc., and I'm the legal video
17      Nikolai Caswell, Navigant Economics               17   specialist. The court reporter is Deanna
18                                                        18   Dean in association with TSG Reporting.
19      David F. Marcus, PhD                              19       Will the counsel please introduce
20      Senior VP, Cornerstone Research                   20   themselves.
21                                                        21       MR. MARKOVITS: Bill Markovits,
22      Howard Lindenberg, Esq.                           22   Markovits Stock & Demarco, on behalf of
23      Managing Associate General Counsel, Freddie Mac   23   Ohio Public Employees Retirement System.
24                                                        24       MR. FRANK: Good morning, everyone.
25                                                        25   Jason Frank from Morgan Lewis & Bockius on

                                             Page 493                                             Page 494
 1        Steven P. Feinstein, PhD, CFA                    1         Steven P. Feinstein, PhD, CFA
 2     behalf of Freddie Mac.                              2         STEVEN P. FEINSTEIN, PHD, CFA
 3         MS. HAYS: Liza Hays, also from                  3   a witness called for examination by counsel for
 4     Morgan Lewis, also on behalf of Freddie             4   the Defendant, having been previously
 5     Mac.                                                5   identified by the production of his driver's
 6         MR. MARCUS: David Marcus with                   6   license and being first duly sworn by the
 7     Cornerstone Research.                               7   Notary Public, was examined and testified as
 8         MR. LINDENBERG: Howard Lindenberg,              8   follows:
 9     Freddie Mac.                                        9
10         MR. GOLDFARB: James Goldfarb with              10          MR. FRANK: Good morning.
11     Murphy & McGonigle for the defendant               11          THE WITNESS: Good morning.
12     Anthony Piszel.                                    12          MR. FRANK: Before beginning the
13         MR. VOLPE: Frank Volpe from Sidley             13      examination this morning, I'll just have a
14     Austin on behalf of Richard Syron.                 14      brief colloquy with counsel to put some
15         MS. WIGGLESWORTH: Catherine                    15      stipulations on the record. Okay?
16     Wigglesworth from Dechert LLP, appearing           16          THE WITNESS: Sure.
17     telephonically on behalf of Eugene McQuade.        17          MR. FRANK: Very good.
18         MS. FELTON: Alicia Felton from                 18          Mr. Markovits, good morning.
19     Zuckerman Spaeder appearing for Patricia           19          MR. MARKOVITS: Good morning.
20     Cook.                                              20          MR. FRANK: Can we agree today that
21         MR. CASWELL: Nikolai Caswell from              21      the parties will reserve all objections
22     Navigant Consulting, appearing                     22      except as to form and all motions of strike
23     telephonically.                                    23      until the testimony is offered to the
24         THE VIDEOGRAPHER: Will the court               24      court?
25     reporter please swear in the witness.              25          MR. MARKOVITS: Yes.



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                                         Page 495                                               Page 496
 1           Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2            MR. FRANK: Can we also agree that          2       Q. Okay. And this is -- so this is the
 3        the witness will have 30 days to review and    3   third day of your testimony here in this case.
 4        sign the transcript under the pains and        4   Right?
 5        penalties of perjury and that no formal        5       A. Yes.
 6        signing before a court reporter will be        6       Q. Okay. And you understand that --
 7        necessary, 30 days from the receipt of the     7   strike that.
 8        final transcript?                              8           You relatively recently submitted a
 9            MR. MARKOVITS: Yes.                        9   rebuttal report in this case. Correct?
10            MR. FRANK: And, finally, can we           10       A. Yes.
11        stipulate to the sufficiency of the notice    11       Q. What led to the development of that
12        of deposition and the subpoena and the        12   rebuttal report?
13        credentials of the court reporter and         13       A. The receipt of two reports, one from
14        videographer?                                 14   Paul Gompers and the other from Dr. Bajaj. And
15            MR. MARKOVITS: Yes.                       15   request from counsel that I respond to those.
16            MR. FRANK: Very good.                     16       Q. And when you said "request from
17                 EXAMINATION                          17   counsel," you gestured to Mr. Markovits.
18     BY MR. FRANK:                                    18   Correct?
19        Q. Dr. Feinstein, you may recall that         19       A. Yes.
20     you've been deposed in these offices before.     20       Q. Did someone from Mr. Markovits's
21     Correct?                                         21   firm or Mr. Markovits himself give you a task
22        A. Yes.                                       22   relating to the two reports that you just
23        Q. You were deposed on two days               23   mentioned, the report from Dr. Bajaj and the
24     previously. Right?                               24   report from Dr. Gompers?
25        A. Yes.                                       25       A. Yes.

                                         Page 497                                               Page 498
 1           Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2        Q. What was that task?                         2       Q. And this year is 2017. Correct?
 3        A. To write a response, a rebuttal             3       A. Yes.
 4     report with my responses to the contents of       4       Q. Does this rebuttal report contain
 5     those two defendants' experts' reports.           5   all of your opinions relating to Dr. Bajaj's
 6            MR. FRANK: Okay. If we could mark          6   report in this case?
 7        this as the next exhibit, which is Exhibit     7       A. No.
 8        No. 269.                                       8       Q. Okay. How did you determine what
 9            (Exhibit 269 is marked for                 9   opinions to include and what opinions to leave
10        identification.)                              10   out?
11            MR. FRANK: Dr. Feinstein, if I            11       A. Well, I tried to write a thorough
12        could steal the exhibit from you for one      12   response, including my responses to all of the
13        moment so that I can show Ms. Hayes how       13   opinions he expressed and all the arguments he
14        they're being filled out.                     14   rose.
15            If you could just put the number and      15           However, subsequently after writing
16        date. She can put her initials on them        16   the report and actually while preparing for
17        later.                                        17   this deposition, I noticed one more argument
18            Thank you.                                18   that he buried in a footnote which I would have
19     BY MR. FRANK:                                    19   wanted to respond to in the report if I had --
20        Q. Dr. Feinstein, I'm showing you a           20   if it had been more prominently displayed by
21     document that's been marked as Exhibit 269.      21   Dr. Bajaj and I had noticed it sooner.
22            What is Exhibit 269?                      22       Q. And do you ever use footnotes in
23        A. This is the rebuttal report that I         23   your reports?
24     wrote, and which I filed on October 16th of      24       A. Yes, but I usually don't bury what I
25     this year.                                       25   would consider important arguments there.



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                                          Page 499                                               Page 500
 1           Steven P. Feinstein, PhD, CFA                1           Steven P. Feinstein, PhD, CFA
 2             So either it's not an important            2   report?
 3     argument which didn't merit response, but if       3        A. None that I can think of as I sit
 4     anyone ever does consider it an important          4   here right now. It's possible that something
 5     argument, then I would -- I can describe -- I      5   might arise in the course of the day today.
 6     can discuss my response to it here today.          6   I'll let you know. But as I sit here now, no.
 7         Q. So you never put important arguments        7        Q. In connection with your preparation
 8     in your footnotes. Is that your testimony?         8   for your deposition, did you have an
 9         A. Right. If it's an important                 9   opportunity to review Dr. Bajaj's report?
10     argument, I try to include it in the body of      10        A. Yes.
11     the report.                                       11        Q. And was that the first time that you
12         Q. And what is this argument that was         12   reviewed Dr. Bajaj's report?
13     in a footnote of Dr. Bajaj's report that you      13        A. No.
14     just referenced?                                  14        Q. And in connection with your
15         A. He referred to a serial correlation        15   preparation for your deposition, did you
16     test. He said that a predicate matter -- that     16   identify any opinions that you have about Dr.
17     in order to test semi-strong informational        17   Bajaj's report that you didn't include in your
18     efficiency, one should also do a test on          18   own report other than the opinion you just
19     weak-form efficiency. I disagree with that and    19   referenced?
20     I would have explained why, if I had noticed it   20        A. No.
21     sooner and if it had been more prominently        21        Q. Does your rebuttal report that's
22     presented by Dr. Bajaj.                           22   been marked as Exhibit 269 contain all of your
23         Q. Okay. Are there any other opinions         23   opinions about Dr. Gompers' report?
24     that you have relating to Dr. Bajaj's report      24        A. Yes.
25     that you did not include in your rebuttal         25        Q. As you sit here today, you're not

                                          Page 501                                               Page 502
 1           Steven P. Feinstein, PhD, CFA                1         Steven P. Feinstein, PhD, CFA
 2     aware of any opinions you have about               2       A. That Dr. Gompers' entire report
 3     Dr. Gompers' report that you didn't include in     3   really is, the thrust of it, the meaning of it,
 4     your rebuttal report?                              4   what needs to be responded to is really
 5         A. No opinions. I mean, I might --             5   presented in one sentence of his entire report,
 6     there are alternative ways of expressing my        6   that he didn't really need 41 pages or 45 pages
 7     opinion in response to his report that aren't      7   to say what he was trying to say, that there
 8     in this report, but no opinions.                   8   was one sentence that captured it. And my
 9         Q. Do you believe you left anything out        9   response to that one sentence reasonably could
10     of your rebuttal report relating to               10   have been sufficient to respond to his report.
11     Dr. Gompers' report?                              11       Q. Do you remember what the sentence
12         A. No.                                        12   was?
13         Q. And with the exception of the              13       A. Yes. It's a sentence in
14     footnote issue you referenced a moment ago, do    14   paragraph -- it's paragraph 69 of his report.
15     you believe you left anything out of your         15       Q. And do you -- that's where the
16     rebuttal report relating to Dr. Bajaj's report?   16   sentence is, but do you remember the substance
17         A. No. I mean I just want to emphasize        17   of the sentence?
18     that as I was preparing for the deposition,       18       A. Yes.
19     reviewing the documents and reading my report,    19       Q. What was the substance of the
20     it occurred to me that there may have been a      20   sentence?
21     clearer way of expressing some of my opinion --   21       A. He said that it would be -- that
22     one of my opinions in particular. But the         22   calculating damages in this case would be
23     opinion is the same.                              23   complex, and then in parentheses he wrote "if
24         Q. What is the opinion that you believe       24   not impossible."
25     you could have expressed more clearly?            25           And I looked carefully to see does



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                                          Page 503                                               Page 504
 1            Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2     he ever say it's impossible. He doesn't. Not       2      A. Yes.
 3     in his report and not in his deposition,           3      Q. When was that?
 4     either. He sidestepped the question when it        4      A. Well, when I first got the
 5     was asked to him directly. He never says it's      5   transcript, and again in preparation for this
 6     impossible. So his opinion is that it would be     6   deposition.
 7     complex.                                           7      Q. You reviewed your two days of
 8              I'm not really disagreeing with           8   testimony twice?
 9     that, but the substance that I agree with is       9      A. Yes. Yes.
10     that it's certainly possible. I mean, it's --     10      Q. Did you see anything that you -- in
11     it would be -- it would be complex. It's not      11   your testimony that you viewed as incorrect?
12     an easy task, but it's certainly doable.          12      A. I don't recall that I did. I think
13              That's how I would respond in            13   there were -- there was a couple times that the
14     once -- you know, I think responding to that      14   word "float" was written as "flow." I don't
15     one sentence is essentially all that needed to    15   recall anything of substance.
16     be responded to for Dr. Gompers. Calculating      16      Q. Are you aware of any mistakes in
17     damages is possible. It's complex. But there      17   your testimony that you believe you should
18     are experts, including myself, that can do it.    18   correct?
19         Q. Anything else in your rebuttal             19      A. No.
20     report that you believe you could have, in        20      Q. Having reviewed your testimony, do
21     retrospect, articulated more clearly?             21   you believe your testimony accurately reflected
22         A. No.                                        22   your opinions?
23         Q. Did you review your testimony in           23      A. Yes.
24     this case at any time following your              24      Q. Other than this word "float" that
25     depositions in this case?                         25   may have been incorrectly written as "flow,"

                                          Page 505                                               Page 506
 1           Steven P. Feinstein, PhD, CFA                1         Steven P. Feinstein, PhD, CFA
 2     are you aware of any other transcription errors    2      Q. Your team found no --
 3     or typographical errors in your deposition         3      A. I mean no computational errors. I
 4     transcript?                                        4   mean, there's certainly conceptual errors, but
 5         A. As I sit here now, no.                      5   no computational errors.
 6         Q. Are you aware of anything that you          6      Q. Your team found no computational
 7     said during your deposition in this case that      7   errors in Dr. Bajaj's work?
 8     was not accurately recorded by the                 8      A. Correct.
 9     stenographer, other than this word "float"         9      Q. Did you limit your team as to what
10     versus "flow"?                                    10   they could or should test in terms of
11         A. I'm not.                                   11   computations in Dr. Bajaj's report?
12         Q. After your deposition in this case,        12      A. Yes.
13     did you perform any additional tests to assess    13      Q. In what way did you limit your team?
14     market efficiency?                                14      A. The tests as Dr. Bajaj constructed
15         A. No.                                        15   them and then executed them.
16         Q. Did you perform any tests to check         16      Q. Did you have your team check all of
17     anything that was included by Dr. Bajaj in his    17   the tests that Dr. Bajaj constructed and
18     report?                                           18   executed?
19         A. I recall asking my team to check to        19      A. Those that he reported. Just what
20     make sure that his computations were accurate.    20   he reported in his report.
21     Aside from that, no.                              21           MR. MARKOVITS: Jason, I'm going to
22         Q. Did your team report back to you           22      object here. I've given some leeway on
23     with respect to whether Dr. Bajaj's               23      this, but as I understand it, the scope of
24     computations were accurate?                       24      this deposition is limited to his rebuttal
25         A. Right. They found no errors.               25      report and any new opinions that he



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                                          Page 507                                               Page 508
 1        Steven P. Feinstein, PhD, CFA                   1          Steven P. Feinstein, PhD, CFA
 2     addresses in his rebuttal report. His work         2       to answer, consistent with the judge's
 3     that he did subsequent to the prior -- last        3       order.
 4     deposition or his review of the last               4           MR. FRANK: You can object as you
 5     deposition or anything he did that doesn't         5       wish.
 6     bear upon his opinions that are stressed on        6   BY MR. FRANK:
 7     the rebuttal are not within the scope of           7       Q. Dr. Feinstein, did you include in
 8     this deposition.                                   8   your rebuttal report any mention of the
 9         I've given you some leeway. I'll               9   computational accuracy of Dr. Bajaj's tests?
10     continue to give you a little leeway. But         10       A. I don't believe that I did.
11     if you could limit your questions to the          11       Q. Did you conduct any tests to assess
12     scope of his rebuttal report. Thank you.          12   anything said by Dr. Gompers in his report or
13         MR. FRANK: I've heard your                    13   at his deposition?
14     objection. We don't agree with you. I             14       A. I don't think there was anything
15     don't believe the judge set a limitation on       15   quantitative that needed to be checked. So,
16     the scope of the deposition.                      16   no.
17         In any event, I believe that these            17       Q. Now, let me turn your attention to
18     questions are directly related to his             18   Exhibit 2 to your rebuttal report.
19     rebuttal report and his opinions in them.         19       A. So, actually, I have a question
20         MR. MARKOVITS: Okay. If you read              20   about that. There's two additional -- there's
21     the judge's order, you'll see that she did        21   some unnumbered pages at the end of this report
22     limit the scope of the deposition. You can        22   that I don't believe were included in the
23     do that at a break. But if there are              23   report. So Exhibit A has Exhibit 1, 2, and 3
24     additional questions that go too deep along       24   repeated without -- without numbers, which
25     these lines, I'll object and instruct not         25   would not have been part of the report.

                                          Page 509                                               Page 510
 1            Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2         Q. Well, I will represent to you that          2       Q. And you see that -- if you flip the
 3     we took this report off the court's dockets,       3   page, you'll see page 60 is also Exhibit 1.
 4     and I understand that this was filed by counsel    4   Correct?
 5     for OPERS. And so maybe it will make your life     5       A. Yes.
 6     easier if you refer to the numbers at the top      6       Q. And that's page 64 of 70. Right?
 7     of the page which reflect the court filing.        7       A. Correct.
 8             And so why don't we right now turn         8       Q. And then page 65 of 70 is Exhibit 2.
 9     to page 63 of 70. Do you see that, at the top      9   Correct?
10     of the page?                                      10       A. Yes.
11         A. I do.                                      11       Q. And then page 66 of 70 is Exhibit 3.
12         Q. And page 63 of 70 says "Exhibit 1."        12   Correct?
13     Correct?                                          13       A. Yes.
14         A. Yes. That's right.                         14       Q. Okay. And then you see how page 67
15         Q. And if you look at the bottom of the       15   of 70 is Exhibit 1 again. Do you see that?
16     page, it says 59. Right?                          16       A. Right. It's an exact duplicate. I
17         A. Correct.                                   17   can see that.
18         Q. Okay. And if you flip the page --          18       Q. And is Exhibit 2 that appears on
19             MR. GOLDFARB: Jason, would you            19   page 69 of 70 an exact duplicate?
20         accept that representation so there's no      20       A. It is.
21         dispute that what he's looking is, in fact,   21       Q. Okay. And Exhibit 3 is an exact
22         at his report as filed and he accepted it     22   duplicate of the earlier Exhibit 3?
23         as his report?                                23       A. Right.
24             MR. FRANK: We'll get there.               24       Q. Okay. Is it, do you have -- well,
25         Thanks, James. We will.                       25   strike that.



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 1            Steven P. Feinstein, PhD, CFA              1          Steven P. Feinstein, PhD, CFA
 2              Do you accept that Exhibit 269 is        2   identical, but just so we're on the same
 3     your rebuttal report as filed by counsel for      3   literal page.
 4     OPERS?                                            4           Page 63 of 70 is Exhibit 1. Do you
 5         A. I have no reason to dispute that.          5   see that?
 6     It's just that there are some pages at the end    6       A. I do.
 7     that are replicated --                            7       Q. Okay. And do you see under "Case
 8         Q. Right.                                     8   Documents," it says, "Deposition of Stephen P.
 9         A. -- redundantly included twice.             9   Feinstein, PhD," dated 10 August 2017?
10         Q. You've just noticed that the              10       A. Yes.
11     exhibits at the end of your report were          11       Q. Now, I took your deposition on two
12     included twice. Is that correct?                 12   days. Correct?
13         A. That's right. Once with numbers,          13       A. That's correct.
14     page numbers, once without.                      14       Q. Is it true that you only reviewed
15         Q. But you have no reason to believe         15   one of your deposition transcripts?
16     that Exhibit 269 isn't your rebuttal report.     16       A. No. I reviewed both.
17     Correct?                                         17       Q. Okay. And do you know why your --
18         A. Correct.                                  18   this exhibit only identifies one of the
19         Q. And, in fact, you actually believe        19   transcripts?
20     that Exhibit 269 is your rebuttal report,        20       A. No. I don't think it matters, given
21     except that its exhibits -- there are two sets   21   that it was described at the following week it
22     of them. Correct?                                22   was a continuation of the same deposition. But
23         A. That's accurate.                          23   it should -- I can imagine it being presented
24         Q. All right. And so why don't we deal       24   both ways.
25     with the first set of exhibits. I know they're   25       Q. Now, let me turn your attention to

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 1           Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2     Exhibit 2. This is on page 65 of 70.              2   testimony relating to market efficiency in that
 3            Do you see that?                           3   case?
 4        A. Yes.                                        4       A. Yes.
 5        Q. Okay. And who prepared Exhibit 2?           5       Q. Any other subjects?
 6        A. My staff.                                   6       A. I don't recall. I'd have to see the
 7        Q. Okay. And your staff is at your             7   report or the transcript. Most likely.
 8     company. Right?                                   8       Q. In terms of?
 9        A. Yes.                                        9       A. Most likely it would have been the
10        Q. What's the name of your company            10   same material covered in this case, but that's
11     again?                                           11   most likely. To know for sure, I'd have to
12        A. Crowninshield Financial Research,          12   look at it.
13     Inc.                                             13       Q. Do you know the amount of your bills
14        Q. And how many employees are there of        14   in that case?
15     Crowninshield?                                   15       A. No.
16        A. Eight.                                     16       Q. How much do you expect to be paid in
17        Q. Now, the first matter listed on            17   connection with that case?
18     Exhibit 2 is In Re LSB Industries, Inc.,         18       A. I have no idea.
19     securities litigation.                           19       Q. Is it over $100,000?
20            Do you see that?                          20       A. Like I said, no idea. I leave that
21        A. Yes.                                       21   to others at my firm.
22        Q. And that's a securities case.              22       Q. Do you have a sense of how much time
23     Right?                                           23   you've spent on the LSB matter?
24        A. Yes.                                       24       A. A sense. But I don't know with
25        Q. And did you give deposition                25   specific -- specificity.



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                                          Page 515                                               Page 516
 1             Steven P. Feinstein, PhD, CFA              1          Steven P. Feinstein, PhD, CFA
 2          Q. What's your sense?                         2       A. Just that it was less than it is
 3          A. 40 to 60 hours would be typical.           3   now.
 4          Q. And are you charging your usual            4       Q. Do you have a sense of how much time
 5      rates in that matter?                             5   others at Crowninshield have spent on the LSB
 6          A. Yes.                                       6   matter?
 7          Q. And what's your usual rate?                7       A. A sense, yes.
 8          A. Well, it depends what year the case        8       Q. What's your sense?
 9      was initiated, what year the engagement letter    9       A. Typically it's a 3 to 1 ratio.
10      was signed. Currently the rate is 875 an hour.   10   About 3 hours of theirs to 1 of mine, maybe a
11      In prior years, it was less. And the rates are   11   little more for some cases.
12      held constant during the course of a case.       12       Q. So that's approximately 120 to 180
13          Q. Do you see it says "master file           13   hours?
14      number 15-CV-" with a number of numbers?         14       A. Correct.
15          A. I do.                                     15       Q. And what are their rates?
16          Q. Do you understand that that 15 means      16       A. They range from $90 an hour to 450
17      that the case was filed in the year 2015?        17   or in that vicinity.
18          A. I do.                                     18       Q. They range from $90 an hour to $450
19          Q. Okay. Do you know if you were             19   an hour.
20      retained in 2015 or later in the LSB matter?     20       A. Right. Depending on the experience,
21          A. Most likely it's later, but I don't       21   credentials, rank of the person working on the
22      know for sure. I'd have to see the engagement    22   case.
23      letter to know for sure.                         23       Q. Is there a typical amount that you
24          Q. Do you know what your rate was in         24   get paid for a matter like LSB?
25      2015?                                            25       A. I mean, yes, although each case has

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 1            Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2     its differences. Some are easier, some are         2   initial estimate. And I think it's more than
 3     harder, some are more time-consuming, some are     3   that because I think there was a rebuttal and
 4     less time-consuming. But there's a general         4   additional work that was requested.
 5     range if someone calls and says -- asks the        5       Q. So you tell potential clients or
 6     question before, you know, what's the ballpark     6   clients that an expected range in terms of
 7     range, I have a range I can give them.             7   expense is 40 to $60,000 through the writing of
 8         Q. What is that range?                         8   the report. Is that correct?
 9         A. Well, it used to be in the                  9       A. That's right.
10     neighborhood of $40,000 for a market              10       Q. Do you give them an expected range
11     efficiency. Now it's more in the 40 to 60,000,    11   through deposition and rebuttal report?
12     unless there are three depositions.               12       A. They rarely ask for it, but, I mean,
13             MR. MARKOVITS: Thank you, Jason.          13   I think sometimes I do.
14         A. I mean, sometimes there are no             14       Q. What's that expected range?
15     depositions and other times there are more.       15       A. And it would be, like, double that
16         Q. So do you expect to be paid                16   amount, that same amount again. Devoting
17     somewhere around 40 to $60,000 for the LSB        17   myself and the staff to a week or two weeks of
18     matter?                                           18   intensive work on a case amounts to about that
19         A. Well, also, that's up through --           19   much money.
20     that's up through writing the report. Then,       20       Q. That is 80 to $120,000?
21     you know, the deposition and preparation for      21       A. For the total. For then through
22     deposition would be more, and if there's a        22   rebuttal.
23     rebuttal, there's additional hours. Yeah, I       23       Q. Are rebuttal reports the norm in
24     would say -- I mean, I don't know. I'd have to    24   securities cases?
25     look at the records. But I think that's a fair    25       A. Not always. More recently it's



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                                          Page 519                                               Page 520
 1            Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2     become more common.                                2       A. I really would have to review it.
 3         Q. Do you know if there's a rebuttal           3   You know, I came prepared here for this case.
 4     report in the LSB matter?                          4   And in order to speak knowledgeably about LSB,
 5         A. I don't. I do know -- and I                 5   I would have had to have reviewed the documents
 6     couldn't tell you which case, but I do know        6   for that case, and I didn't do that before
 7     there are a couple of cases in this list --        7   coming here today.
 8     maybe it was LSB -- where defendants read my       8       Q. As you sit here today, you don't
 9     report, heard my testimony, and chose to accept    9   recall whether the LSB case is a typical case
10     or stipulate to or concede market efficiency,     10   for you or not?
11     that did happen recently.                         11       A. I know that in recent months, and
12         Q. What case was that?                        12   this list represents recent months, there have
13         A. I'm not sure. I'm looking at this.         13   been some -- there's been a range of responses
14     I can tell you it wasn't ARCP and it wasn't       14   from defendants to my work and to plaintiffs'
15     Freddie Mac, obviously. But it could have         15   efforts, including conceding points, including
16     been -- it wasn't Eletrobras, so that leaves in   16   settling cases.
17     this list LSB, Resource Capital, and Insulet.     17       Q. As you sit here today, you don't
18     It could be LSB or Resource Capital. Sometimes    18   recall whether the LSB case is a typical case
19     the cases settle before rebuttal.                 19   for you or not?
20         Q. What are the total amount of fees          20       A. Correct.
21     that you expect in the in re Resource Capital     21       Q. Now, let's take the most recent case
22     Corp. Securities litigation?                      22   here, the In Re Insulet Corporation securities
23         A. I just don't know.                         23   litigation case. Do you see that?
24         Q. And would you describe the LSB case        24       A. I just want to -- let me -- just to
25     as a typical case for you?                        25   be comprehensive for the record, what is

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 1            Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2     occurring more commonly nowadays is defendants     2   damage model. Could also be loss causation.
 3     will accept market efficiency, and the rebuttal    3   Could also be damages itself, and sometimes it
 4     report will be about price impact rather than      4   could be to opine on price impact, either as a
 5     market efficiency.                                 5   response to defendants or as an opening
 6             And since price impact would not           6   preemptive argument.
 7     have been in my original report, the course --     7       Q. In all six of these cases, you were
 8     the case takes a turn in a different direction.    8   asked to offer opinions on behalf of a
 9     That's why it's hard to say which ones are         9   plaintiff relating to their efforts to get a
10     typical and which ones are not. And that's        10   class certified. Is that correct?
11     been more common lately.                          11       A. That is my understanding, yes. Yes.
12         Q. Now, I see that every one of these         12       Q. Do you happen to recall whether or
13     cases in their name it says "securities           13   not -- strike that.
14     litigation."                                      14           In the -- in all six of these cases,
15             Do you see that?                          15   you've given deposition testimony. Correct?
16         A. I do.                                      16       A. Yes.
17         Q. Okay. And I take it all of these           17       Q. Okay.
18     cases are, in fact, securities litigation         18       A. That's what the exhibit reflects.
19     cases. Correct?                                   19       Q. In the -- in re American Realty
20         A. Yes.                                       20   Capital Properties, Inc., securities
21         Q. Okay. And every one of the six             21   litigation, you also gave testimony at an
22     cases listed in Exhibit 2 is a case where you     22   evidentiary hearing. Correct?
23     were retained to provide a -- an opinion on       23       A. Correct.
24     market efficiency. Correct?                       24       Q. What was the nature of that
25         A. Yes. At a minimum. Could be also           25   evidentiary hearing?



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 1           Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2         A. Actually, it was very similar to the        2   certified, whether or not plaintiff satisfied
 3     issues in this case. It was about market           3   their burden for certification with respect to
 4     efficiency, about the collective test I used to    4   market efficiency and the damage model.
 5     assess market efficiency. And it was about --      5       Q. As you sit here today, you don't
 6     well, what the judge was considering, and I        6   recall the American Realty Capital Properties
 7     guess what defendants wished to emphasize, was     7   securities litigation evidentiary hearing being
 8     the relative importance of the fifth Cammer        8   a Daubert hearing. Correct?
 9     factor versus all the other factors. That's        9       A. Correct. I don't recall one way or
10     what the court testimony focused on.              10   the other. My focus was on the substance of
11         Q. Was that a Daubert hearing?                11   the case.
12         A. I don't -- I don't think so. I             12       Q. And because that went to an
13     don't think it -- I'm not sure. It may have       13   evidentiary hearing, did you get paid more than
14     been. It may not have been. I mean, if it         14   in the cases where you did not attend an
15     was, it was ruled in my favor.                    15   evidentiary hearing?
16         Q. To the extent that -- you just don't       16       A. Well, there's no different rate.
17     recall whether or not it was a Daubert hearing?   17   The rate was fixed and the same rate, except
18         A. I think, as is sometimes typical,          18   for the travel time to and from New York City
19     defendants may have just thrown the kitchen       19   was at half time.
20     sink at the court. I think it was -- my           20           But there were more hours,
21     understanding, as I sit here now, my              21   obviously. There were hours we sat in court.
22     recollection, which I want to just be clear is    22   There were hours I was on the stand. There
23     imperfect on cases that I didn't come here        23   were hours I prepared for the testimony.
24     prepared to talk about, is that the issue was     24       Q. And you charged for those additional
25     whether or not the court -- the class should be   25   hours?

                                          Page 525                                               Page 526
 1            Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2         A. Yes.                                        2   do. I review invoices before they go out and
 3         Q. Is that also another 40 to $60,000          3   approve them to go out, but the preparation is
 4      for something like that?                          4   someone else, someone else's responsibility.
 5         A. I don't recall.                             5       Q. Now, this list relates solely --
 6             MR. FRANK: He gives half rate on           6   solely to testimony provided since your June
 7         travel, Bill.                                  7   report. Correct?
 8             MR. MARKOVITS: Okay.                       8       A. Yes.
 9             MR. FRANK: You should remember             9       Q. It doesn't identify cases in which
10         that.                                         10   you've been retained since your June report.
11             MR. MARKOVITS: I will check over          11   Correct?
12         the bills.                                    12       A. Correct.
13         Q. Now --                                     13       Q. In how many cases have you been
14         A. The reason why -- one reason why my        14   retained this year but haven't yet provided
15      recollection is imperfect is, one reason the     15   testimony?
16      firm exists is so there's a separation between   16       A. I don't know.
17      the business part of the engagement and the      17       Q. Is it more than five?
18      research and creative research part of the       18       A. Since June?
19      business. There are others at the firm that      19       Q. Sure, since June.
20      take care of all of that stuff: collecting       20       A. I really don't know. I can tell you
21      hours, invoicing, billing, and so forth. I       21   there's -- we're a well-known firm and there's
22      don't do that.                                   22   fairly consistent flow of engagements. But I
23         Q. You don't handle what are commonly         23   couldn't tell you whether it's two, three, or
24      considered back-office tasks?                    24   five or more. I just couldn't -- I don't know.
25         A. Correct. Other people at my firm           25   There are other folks at the firm who prepare



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                                           Page 527                                               Page 528
 1            Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2      work project scheduling controls, and that's,      2      Q. I'm sorry. We should be very clear
 3      again, not me. I mean, it's almost as if I         3   about that. I was referring to the page
 4      work for them rather than they work for me, is     4   numbers at the bottom. It's page 17 of 70.
 5      how we discuss it.                                 5      A. Okay.
 6         Q. And these cases listed here, are             6      Q. Now, in paragraph 42, you refer to a
 7      these your only source of income other than        7   case on which you worked called City of
 8      your professorship?                                8   Sterling Heights General Employees Retirement
 9         A. Only material source. I mean,                9   System versus Prudential Financial Inc., et al.
10      there's some minor sources.                       10           Do you see that?
11         Q. What are you referring to?                  11      A. Yes.
12         A. Occasionally I get a royalty check          12      Q. And you say -- in the sentence where
13      for some book chapters I wrote. Well, I mean,     13   you introduce that case, you say, "In fact, I
14      there's an LLC that owns some real estate that    14   performed a single event date event study in
15      provides some income.                             15   conjunction with the collective test in the
16         Q. Anything else?                              16   Prudential matter for which the class was
17         A. No. Maybe. But as I sit here now,           17   certified." Do you see that?
18      not that comes to mind.                           18      A. Yes.
19         Q. All right. Let's turn to page 13 of         19      Q. And you wrote that in response to
20      your rebuttal report, the exhibit that's before   20   Dr. Bajaj's criticism that you had never used a
21      you.                                              21   single event date event study to establish
22         A. Which page?                                 22   market efficiency. Is that correct?
23         Q. 13.                                         23      A. Correct.
24         A. Now you're referring to the page            24           (Exhibit 270 is marked for
25      numbers at the bottom?                            25      identification.)

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 1            Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2      BY MR. FRANK:                                      2            MR. VOLPE: Objection.
 3          Q. Okay. I'm showing you a document            3       Nonresponsive.
 4      that has been marked as Exhibit 270.               4            MR. MARKOVITS: Will you allow him
 5              Do you recognize Exhibit 270?              5       to finish?
 6          A. I do.                                       6       A. What it says is that it's one of the
 7          Q. What is Exhibit 270?                        7   most convincing ways is what the court said,
 8          A. This is my report in the Prudential         8   and I included it because I agreed.
 9      matter.                                            9            MR. VOLPE: Objection.
10          Q. This is the report that you were           10       Nonresponsive. Move to strike.
11      referring to in paragraph 42 of your rebuttal     11       Q. Dr. Feinstein, I'm reserving motions
12      report in this case?                              12   to strike, but I'll just -- I'll just ask you
13          A. Yes.                                       13   to recall that if you don't answer my questions
14          Q. Now, let me turn your attention to         14   but rather you just insert whatever you'd like
15      paragraph 86 in the Prudential report.            15   to say, the day is just going to be a much
16              Well, strike that.                        16   longer day.
17              In paragraph 85, you write, "Of the       17            I think my question was simply of
18      five Cammer factors, the empirical factor was     18   the five Cammer factors, the empirical factor
19      cited by the Cammer court as one of the most      19   was cited by the Cammer court as one of the
20      convincing ways to demonstrate efficiency."       20   most convincing ways to demonstrate efficiency.
21              Do you see that?                          21            Do you see that?
22          A. I do. And I want to emphasize it           22       A. I see it. And I do -- I will add
23      doesn't say it's the most important. It           23   because I did take an oath to give
24      doesn't say that it's essential. What it          24   comprehensive answers, the whole truth, and --
25      says --                                           25   I also saw that in my prior deposition it was



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                                           Page 531                                               Page 532
 1             Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2      important to provide context to answers I was      2   other four factors are indicators that
 3      giving you because oftentimes it would be -- my    3   generally signal market efficiency."
 4      answers would be cited without that context to     4       A. That is absolutely true. And what
 5      make it appear as if I was saying something I      5   it means is that all of the factors have a role
 6      wasn't.                                            6   in assessing market efficiency.
 7               So I want to -- and in particular,        7       Q. Now, you wrote in paragraph 87 that
 8      with respect to this fifth Cammer factor, the      8   "I conducted two sets of empirical tests of the
 9      argument seemed to have been made that I           9   efficiency of the market for Prudential common
10      previously represented this factor to be the      10   stock."
11      most important one.                               11           Do you see that?
12               So since we're on that topic, I want     12       A. One moment.
13      to point out that it does say and I do see that   13           Yes, I do.
14      it says that the fifth Cammer factor is the       14       Q. Now, you actually conducted an event
15      most convincing or one of the most convincing.    15   study analysis in the Prudential case. Right?
16      And I just want to point out that it doesn't      16       A. On a single event. The traditional
17      say what you previously said I said it said,      17   event study was a single event. The collective
18      that it's the most important.                     18   test was on a group of events, just as in
19               MR. VOLPE: Objection.                    19   Freddie Mac.
20          Nonresponsive. Move to strike.                20       Q. Are you trying to mislead the court
21          Q. You'll see in paragraph 86 that you        21   in this matter, Dr. Feinstein?
22      wrote the following -- and please tell me         22       A. No.
23      whether you were telling the truth when you       23           MR. MARKOVITS: Objection.
24      wrote this: "The empirical factor focuses on      24       Q. Now, please take a look at
25      the essence of market efficiency, whereas the     25   paragraph 96.

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 1            Steven P. Feinstein, PhD, CFA                1         Steven P. Feinstein, PhD, CFA
 2         A. Event selection?                             2   I gave answers to explain why the Freddie Mac
 3         Q. Yes.                                         3   case was unique and different from other cases,
 4         A. Yes.                                         4   including the Prudential case.
 5         Q. Do you see there that you wrote, "A          5           In the Freddie Mac case, prior
 6     company's financial results and forecasts are       6   expert work by Dr. Bajaj and Dr. Holman
 7     among the most important considerations to          7   analyzed and evaluated earnings announcements
 8     investors assessing the value of its stock"?        8   and debated about whether the news was mixed or
 9             Do you see that?                            9   such that there would be a statistically
10         A. Yes.                                        10   significant reaction elicited.
11         Q. Was that statement true when you            11           And I explained that Dr. Holman's
12     wrote it?                                          12   analysis made sense to me, but I was going to
13         A. Yes.                                        13   proceed by staying out of that fray and look at
14         Q. It's still true today?                      14   a different set of events.
15         A. Yes.                                        15           You asked me that last time, and I
16         Q. You also wrote, "Consequently, such         16   answered that last time.
17     announcements typically contain material           17      Q. Have I ever asked you any questions
18     information that could cause the stock price to    18   about your Prudential report?
19     change."                                           19      A. No. But you asked me about the
20             Do you see that?                           20   importance of -- yes, you did by reference.
21         A. Yeah. And I do want to make sure            21   You said, "In prior reports, you looked at
22     it's on the record that you asked me these         22   earnings announcements."
23     questions in the last deposition, so this is       23           And I said "Yes."
24     not really responsive to my rebuttal. These        24           And you said, "In prior reports, you
25     are the same questions you asked me before, and    25   said these were among the most important news



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 1           Steven P. Feinstein, PhD, CFA                1      Steven P. Feinstein, PhD, CFA
 2     events."                                           2   question.
 3            And I said "Yes." So by reference,          3       MR. FRANK: Are you instructing the
 4     yes.                                               4   witness not to answer?
 5        Q. Take a look at paragraph 97. Do you          5       MR. MARKOVITS: I will instruct the
 6     see that?                                          6   witness not to answer if you can't provide
 7        A. I do.                                        7   a link between the question and the scope
 8        Q. There, you wrote, "Numerous                  8   of this deposition, which is limited to the
 9     well-known and highly regarded academic studies    9   opinions that he's given in the rebuttal
10     (for example, Beaver 1968, Bolin Brown 1968,      10   report.
11     Ball 1978, Watts 1978, Patell and Wolfson,        11       MR. FRANK: You will soon see,
12     1984, and Ball and Kothari, 1991) have            12   Mr. Markovits, that the statement in his
13     specifically examined stock price movements       13   rebuttal report was terribly misleading,
14     caused by earnings announcements and concur       14   and it was misleading because of what he
15     that earnings announcements are generally         15   has said here relating to corporate
16     important information events."                    16   announcements and what he actually tested.
17            Do you see that?                           17   And you'll soon see how very misleading
18        A. I do. And you --                            18   that was.
19            MR. MARKOVITS: Excuse me. I'm              19       If your expert wishes to mislead the
20        going to object.                               20   court, that's his prerogative, but I'm
21            Can you tell me how this relates to        21   allowed to correct it and show the court
22        his rebuttal report? How does that             22   exactly what he's doing.
23        question relate to the opinions he's given     23       MR. MARKOVITS: That's a link. I'll
24        in the rebuttal report? If you can explain     24   accept your representation. I will not
25        that to me, I'll allow him to answer the       25   accept that he is misleading the court in

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 1            Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2         any respect, and I'd appreciate it if you      2   strike that.
 3         would avoid the pejoratives in your            3            With respect to paragraph 97, do you
 4         questioning.                                   4   still stand by what you said in paragraph 97?
 5             Thank you.                                 5       A. Yes.
 6             MR. FRANK: In fairness,                    6       Q. Okay. Now, with respect to
 7         Mr. Markovits, I don't think I've used any     7   paragraph 98, you wrote, "Consequently, a
 8         pejoratives in my questioning. I may have      8   pattern of greater stock price movement on
 9         in my explanation as to --                     9   earnings and guidance announcement days as
10             MR. MARKOVITS: No. You have in            10   compared to all other days is indicative of
11         your questioning as well, but the record      11   market efficiency."
12         will reflect that.                            12            Do you see that?
13             Go ahead.                                 13       A. I do.
14      BY MR. FRANK:                                    14       Q. Do you still believe that?
15         Q. I believe that my last question was        15       A. Yes.
16      whether you saw the quote I just read on         16       Q. Now, in paragraph --
17      paragraph 97.                                    17       A. Just -- it's -- but don't take that
18             Do you see that?                          18   out of context. There are situations where if
19         A. Yeah, I do. And I certainly see it         19   there's not a pattern of greater stock price
20      and you can add to the list that earnings        20   movement on earnings and guidance dates, it's
21      announcements have also been examined by         21   not indicative of market inefficiency.
22      Dr. Holman and Dr. Bajaj in this case.           22            So seeing that information moves the
23             MR. VOLPE: Objection.                     23   price on the earnings and guidance days is a
24         Nonresponsive.                                24   demonstration of market efficiency. But the
25         Q. Now, in paragraph 98-- now, did --         25   opposite is not true, such that if there's not



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 1           Steven P. Feinstein, PhD, CFA                 1         Steven P. Feinstein, PhD, CFA
 2     significantly bigger movement on earnings and       2       Q. Let me turn your attention to
 3     guidance days, especially when a reason is          3   paragraph 116. Do you see in paragraph 116 you
 4     offered and apparent, that that would indicate      4   write, "As shown in Exhibit 7, the respective
 5     market efficiency. And that's what I explained      5   stock price reactions were significant at the
 6     in the prior deposition and in my writing.          6   95 percent confidence level on six of the seven
 7         Q. Now, in paragraph 99, you write,             7   earnings and guidance announcement event
 8     "Earnings announcements and guidance changes        8   dates"?
 9     took place on the following dates during the        9       A. That's a collective test. This is
10     class period."                                     10   a -- yes. And this is the -- in the context of
11             Do you see that?                           11   a collective test.
12         A. Yes.                                        12       Q. Is it your --
13         Q. Okay. And you list there seven              13       A. It's described as a collective test
14     dates on which there were earnings                 14   in the report.
15     announcements or guidance changes. Is that         15       Q. Is it your view that Dr. Holman
16     correct?                                           16   performed a collective test in this case?
17         A. Right.                                      17       A. No.
18         Q. Now, those seven dates, did you test        18       Q. Well, he tested multiple dates,
19     those dates in this -- in connection with your     19   didn't he?
20     work on the Prudential report?                     20       A. He did.
21         A. In the context of a collective test,        21       Q. So --
22     not in the context of a traditional event study    22       A. But his evaluation was on an
23     focused on individual events, which is exactly     23   individual basis, not on -- I don't believe he
24     what I said in my two prior reports in the         24   ran a binomial test or a test to determine what
25     Freddie Mac case.                                  25   I present in paragraphs 119 and 120 of this

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 1             Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2      test -- of this report for paragraph 121 and       2           I'm going to read all of 119 because
 3      122.                                               3   that's where it's explained. "Under the null
 4          Q. Let me turn your attention to               4   hypothesis that Prudential stock does not
 5      paragraph 120. You write, "Given that six of       5   behave any differently on earnings and guidance
 6      the seven event dates were indeed statistically    6   announcement dates and on ordinary days, there
 7      significant, we can conclude that Prudential       7   would be only a 5 percent probability that any
 8      stock did respond to the news disseminated on      8   such event would elicit a statistically
 9      earnings and guidance announcement dates           9   significant stock price reaction at the
10      demonstrating market efficiency throughout the    10   95 percent confidence level. Under this
11      class period."                                    11   hypothesis that the stock price behaves no
12              Do you see that?                          12   differently on earnings and guidance
13          A. I do.                                      13   announcement days than on ordinary days, the
14          Q. Was that a collective test?                14   probability that six of seven such events would
15          A. Yes.                                       15   be statistically significant" --
16          Q. How was that different than                16           I just want to interject. So I'm
17      Dr. Holman's test where he tested six dates and   17   analyzing them collectively.
18      concluded that because two of the six dates       18           -- "which was the result observed in
19      were statistically significant that he            19   this case would be approximately 1 in 10
20      demonstrated market efficiency?                   20   million."
21          A. I'll explain, but you need to              21           So what I'm doing here is I
22      listen.                                           22   calculate from the binomial distribution a
23              It's in paragraph 119. 119 states,        23   specific probability of observing this
24      under the hypothesis and -- well, let's back      24   collective result. In fact, that's what I say
25      up.                                               25   next in paragraph 119.



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                                           Page 543                                               Page 544
 1             Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2              "This cumulative probability is            2   these events because I observed any particular
 3      assessed using a binomial distribution" --         3   earnings announcement date as being momentous
 4              So there's your distinction from           4   news. I picked them because the literature
 5      what Dr. Holman did. Back to the text.             5   says generally earnings announcement dates have
 6              -- "computing the likelihood of six        6   great information flow. And then I evaluated
 7      out of seven positive results of individual        7   them collectively. I evaluated the result
 8      statistical significance where a positive          8   collectively.
 9      result has a probability of 5 percent and a        9       Q. Where in your Prudential report does
10      negative result has a probability of              10   it say that you selected these dates because
11      95 percent."                                      11   generally earnings dates have greater
12              So I concluded that six of seven          12   information flow?
13      indicated that the stock reacts to information    13       A. Okay. I mean, it's what we were
14      by examining the seven events collectively.       14   reading before with the quotes from Kothari and
15      That's not what Dr. Holman did.                   15   such.
16         Q. What did Dr. Holman do?                     16           Here.
17         A. He provide to -- he provided reasons        17           MR. MARKOVITS: I think you were
18      for each individual result. He said -- between    18       reading before from paragraph 97. That's
19      his opening report and his rebuttal, he said      19       the Kothari reference.
20      that two were significant and that four were      20           THE REPORTER: Could we go off the
21      not and the four that were not were not because   21       record for a second?
22      the news was mixed on those days.                 22           MR. FRANK: Sure.
23              So he was analyzing them from a news      23           MR. MARKOVITS: Let's take a break.
24      perspective, on an individual -- on an            24           THE VIDEOGRAPHER: The time now is
25      event-by-event basis, whereas I did not pick      25       10:38. We're off the record.

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 1           Steven P. Feinstein, PhD, CFA                 1         Steven P. Feinstein, PhD, CFA
 2            (Recess taken from 10:38 to 10:53            2   mean, it was paragraph 88 and 117 that has the
 3        a.m.)                                            3   answer to your prior question.
 4            THE VIDEOGRAPHER: The time now is            4       Q. Okay.
 5        10:53. We're on the record.                      5       A. I do have this exhibit, yes.
 6            (Exhibit 271 is marked for                   6       Q. Thank you. Okay.
 7        identification.)                                 7          Exhibit 271, what is Exhibit 271?
 8     BY MR. FRANK:                                       8       A. This appears to be -- maybe you can
 9        Q. Dr. Feinstein, I'm showing you a              9   help me what the pronunciation -- the amici
10     document that's been marked as Exhibit 271.        10   curiae that I coauthored for the Halliburton
11            MR. MARKOVITS: Jason, before we             11   case. Amici curiae brief, brief of financial
12        finished, I thought he was sort of in the       12   economist as amici curiae in support of
13        middle of an answer or he was going to look     13   respondents.
14        for a response to your question about           14          Oh, wait. This is not -- might not
15        earnings announcement dates conveying           15   be the one I coauthored.
16        information.                                    16          No, this is not the one I
17            MR. FRANK: The record's a little            17   coauthored. I'm sorry. There is one I
18        muddled. I think you jumped in and pointed      18   coauthored. This is not that one.
19        him to a paragraph, and then we went off        19       Q. Okay. So let's just be clear. So
20        the record. We can return to that, or if        20   Exhibit 271, we can agree, is a brief of
21        you have questions for him you can              21   financial economist as amici curiae in support
22        certainly ask them at the end.                  22   of respondents in the Halliburton case before
23        Q. Dr. Feinstein, do you have Exhibit           23   the Supreme Court. Correct?
24     271 before you?                                    24       A. Yes. Yes.
25        A. I do. So you don't want me to -- I           25       Q. Okay. And you were just looking at



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                                           Page 547                                               Page 548
 1            Steven P. Feinstein, PhD, CFA                1         Steven P. Feinstein, PhD, CFA
 2      the -- on pages 1 and 2 for the lists of the --    2          Do you see that?
 3      of the particular amici, the friends of the        3      A. I see that, yes.
 4      court, and you don't see your name there.          4      Q. Do you agree with that definition of
 5      Correct?                                           5   weak-form efficiency?
 6          A. Correct. Right.                             6      A. The choice of words is very
 7          Q. But you do see Eugene Fama's name           7   important here, because even Professor Fama has
 8      there. Right?                                      8   written that serial correlation is not
 9          A. Correct.                                    9   inconsistent with market efficiency and that
10          Q. Who is Dr. Fama?                           10   some element of predictiveness is also
11          A. He is a professor who has written          11   consistent with market efficiency.
12      some seminal works on market efficiency.          12          Fama himself has written on the
13          Q. Now, let me turn your attention to         13   subject, as have Richard Roll, Stephen LeRoy,
14      page 4 of this brief.                             14   Campbell, Lo, and MacKinlay, John Campbell from
15          A. Yes.                                       15   Campbell, Lo, and MacKinlay.
16          Q. Do you see in the middle of the page       16           So the thought leaders in the field
17      it says, "Eugene Fama's seminal work in this      17   now understand that there's been progress since
18      area distinguished among three different types    18   Eugene Fama's earliest seminal work in the
19      of efficiency."                                   19   area, which is referred to here, that weak --
20              Do you see that?                          20   that serial correlation and some element of
21          A. I see that.                                21   predictiveness can have explanations that are
22          Q. It says, "Weak-form efficiency means       22   perfectly consistent with market efficiency.
23      that historical prices are not predictive of      23          So I would have to say that I do
24      future prices. Excess profits cannot be earned    24   agree that Eugene -- what's written here, that
25      using strategies based on historical prices."     25   Eugene Fama's seminal work in this area

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 1            Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2      distinguished among three different types of       2   efficiency, semi-strong form efficiency, and
 3      market efficiency and that Eugene Fama's           3   strong-form efficiency?
 4      earliest work in the area stated weak-form         4       A. Yes.
 5      efficiency means that historical prices are not    5       Q. Are the terms "weak-form
 6      predictive of future prices. And that if its       6   efficiency," "semi-strong form efficiency," and
 7      weak-form efficient, excess profits cannot be      7   "strong-form efficiency" commonly used by
 8      earned using strategies based on historical        8   economists to discuss different types of market
 9      prices.                                            9   efficiency?
10              But since this 1970 work,                 10       A. Yes.
11      particularly work in the '80s and '90s showed     11       Q. Do you sometimes use these terms to
12      that the discipline understands that it's --      12   discuss market efficiency?
13      there are important exceptions, and in fact,      13       A. Yes.
14      the exceptions are such that serial correlation   14       Q. Now, according to Dr. Feinstein,
15      and predictiveness do not indicate market         15   what is weak-form efficiency?
16      efficiency.                                       16       A. Weak-form efficiency refers to a
17          Q. Well, let's break that down a little       17   particular information set that the market
18      bit.                                              18   is -- that the market is efficient with respect
19              Is it correct to say that Eugene          19   to. And that information set would be past
20      Fama's seminal work in this area distinguished    20   prices and volume data.
21      among three different types of market             21       Q. Is that information set public
22      efficiency?                                       22   information?
23          A. Yes.                                       23       A. Past prices and volume data is
24          Q. Okay. Were those three different           24   public information, yes. But it's an
25      types of market efficiency weak-form              25   example -- well, I'll wait for your questions



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                                           Page 551                                               Page 552
 1           Steven P. Feinstein, PhD, CFA                 1          Steven P. Feinstein, PhD, CFA
 2      on it.                                             2   financial performance; behavior of the sector,
 3          Q. What is, according to Professor             3   for example, while still allowing for some
 4      Feinstein, semi-strong form efficiency?            4   potential minute inefficiency in the past stock
 5          A. Efficiency with respect to a                5   prices and volume that can only be detected
 6      different information set, that information set    6   with the most powerful and creative statistical
 7      being all public information.                      7   tests, and which -- I'll leave it at that.
 8          Q. The weak-form efficiency information        8           I mean, so the best analogy for
 9      set is public information regarding past prices    9   explaining this and for teaching it when I've
10      and volume data?                                  10   taught it is that it's certainly possible for
11          A. That's right.                              11   there to be unusual ripples on the surface of
12          Q. Is that a subset of the semi-strong        12   the ocean or on the surface of a lake that are
13      form efficiency information set?                  13   hard to explain or perhaps are anomalous. But
14          A. Well, that's where the area is not         14   that would not prove that a 30-foot rogue wave
15      as black and white as it used to be.              15   has no impact on a fishing boat that gets
16              Yes, it's true that past prices and       16   capsized by the wave.
17      volume are public information. But it is          17           So it's possible for the market to
18      possible -- I mean, the taxonomy, Fama's          18   be efficient with -- and demonstrably efficient
19      taxonomy does recognize that the market can be    19   with respect to the information that's relevant
20      efficient with respect to some information but    20   in a securities case while still indicating
21      not other information.                            21   some predictiveness or anomalous pattern in
22              And so it's therefore possible that       22   high-frequency ripples that are essentially
23      the market can be efficient with respect to a     23   meaningless.
24      company's statements; representations, either     24       Q. That was a long answer. So let me
25      false or true; its earnings announcements; its    25   try to --

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 1             Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2           A. It's a complicated subject and             2   perhaps even predictive patterns in -- it's
 3      requires some explanation. A short answer          3   possible for there to be some serial
 4      would have been insufficient.                      4   correlation, either positive or negative, and
 5          Q. Well, maybe it won't. I want you to         5   some predictiveness in stock prices in an
 6      work with me on this because I want to get you     6   efficient market.
 7      down on the record, because I think it's           7           So what may have once been
 8      important.                                         8   considered a test for weak-form efficiency,
 9          A. I am on the record on this topic.           9   it's possible for a stock not to pass that but
10      I've written on the topic. I've testified in      10   nonetheless be efficient in the semi-strong
11      other cases on this topic.                        11   sense.
12           Q. What have you written on this topic?      12           And -- and the people who have
13          A. Other -- I've written reports in,          13   written on this -- and you should check these
14      for example, the AIG case -- in response to Dr.   14   sources -- Stephen LeRoy, probably the most
15      Bajaj, actually -- about serial correlation.      15   prominent; Campbell, Lo, and MacKinlay. Fama
16           Q. Outside of the litigation context,        16   himself, when confronted with predictiveness
17      have you written on this topic?                   17   and serial correlation, responded to it in more
18          A. No.                                        18   than one article and said that it's not
19          Q. Now, let me see if I understand your       19   indicative, this predictiveness in serial
20      answer. It is your view that it is possible       20   correlation, that some people find in some
21      for a particular market for a particular stock    21   stock prices is not indicative of weak-form
22      to be semi-strong form efficient but not          22   inefficiency or even semi-strong inefficiency.
23      weak-form efficient. Is that correct?             23       Q. Is it possible for a market to be
24          A. No, I didn't say that. But I said          24   semi-strong form efficient but not weak-form
25      it's possible for there to be anomalous and       25   efficient?



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 1            Steven P. Feinstein, PhD, CFA                1         Steven P. Feinstein, PhD, CFA
 2         A. It's possible for a market -- well,          2           Is it possible for a market to be
 3      not the way -- not in the strictest                3   semi-strong form efficient but not weak-form
 4      black-and-white definition of the terms, where     4   efficient?
 5      you say that all stock prices are -- all           5       A. I already answered that question. I
 6      past -- where stock prices and volume at that      6   said with the strictest black-and-white
 7      time are public information and semi-strong        7   definitions of the term where the information
 8      means it must be efficient with respect to all     8   set in the weak-form efficiency definition is
 9      public information.                                9   public information, you'd have to say no.
10              But the caveat is that serial             10           But that still would not prove that
11      correlation and predictiveness does not prove     11   the market is not efficient with respect to a
12      anymore that the market is weak-form              12   company's financial information true-and-false
13      inefficient. So we really have to be very         13   representations.
14      careful that we distinguish between the random    14       Q. So let's talk about information sets
15      walk model, a model in which there's no           15   for a second, because I think this is what your
16      predictiveness or serial correlation, and a       16   testimony is getting to.
17      definition of weak-form efficiency. They're       17           Semi-strong form efficiency is an
18      three separate things.                            18   efficiency that relates to a market
19         Q. Okay. Well, let's put aside the             19   incorporating all publicly available
20      random walk model and serial correlation, on      20   information. Correct?
21      the one hand, and just discuss these              21       A. Correct.
22      definitions on the other.                         22       Q. Weak-form efficiency is a form of
23         A. Okay.                                       23   efficiency that relates to a market
24         Q. Okay? So -- because I want to               24   incorporating publicly available stock prices
25      understand your position.                         25   and volume data. Correct?

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 1            Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2          A. Yes.                                        2   you're likely just from random chance to find
 3          Q. And you'll agree that publicly              3   incidences of apparent positive autocorrelation
 4      available stock prices and volume data is a        4   and negative autocorrelation.
 5      subset of all publicly available information.      5           And Fama commented that it was
 6      Correct?                                           6   preposterous that the -- that some people would
 7          A. Correct.                                    7   say that the market is weak-form inefficient
 8          Q. And the point you were making               8   because the prices are positive, are generally
 9      earlier is that you believe that some tests for    9   positively autocorrelated, where other people
10      weak-form efficiency don't actually establish     10   say they're generally negatively
11      that a market is or is not weak-form efficient.   11   autocorrelated. So those tests -- you know,
12              Is that what you were saying?             12   Fama himself said it could be the -- that it
13          A. Perfect. Yes.                              13   was likely an artifact of data mining.
14          Q. Okay. And what are the tests that          14           Richard Roll said negative
15      you believe fail to establish whether or not a    15   correlation -- Richard Roll also agrees with
16      market is weak-form efficient, that some in the   16   what I'm saying -- in fact, I learned it from
17      field previously had thought did establish        17   him -- that autocorrelation tests don't
18      that?                                             18   establish weak-form efficiency, because he said
19          A. Right.                                     19   that the bid-ask spread is going to cause
20              Autocorrelation tests. I mean, Fama       20   negative autocorrelation in most times series
21      has commented on these himself. If you run a      21   of stock prices.
22      battery -- if you run tests on different          22           Stephen LeRoy looked at the same
23      periods of time, it's -- what he's pointed out    23   challenges to weak-form efficiency and the same
24      is that it's -- if you run it on different        24   literature of tests on weak -- of using
25      securities and in different points in time,       25   autocorrelation tests to test market efficiency



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 1             Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2      and said that those tests are ignoring things      2   efficiency.
 3      like time-varying risk premia, that it -- he       3           So that's why it's not really useful
 4      said that it's perfectly rational for there to     4   to test for weak-form efficiency in a
 5      be some predictive element, for there to be        5   securities case. We go right after the
 6      some autocorrelation because of time-varying       6   information that's -- that the court's
 7      risk premia.                                       7   interested in, which is company
 8              Fama -- well, Campbell, Lo, and            8   representations, either false or true, and
 9      MacKinlay, I believe, citing Stephen Roll, or      9   disclosures.
10      at least alluding to Stephen Roll, have a         10           MR. VOLPE: Objection.
11      famous quote where they said that it used to be   11       Nonresponsive.
12      the case -- they actually say that, that it       12       Q. And my question was what are the
13      used to be the case that finding                  13   tests that you believe fail to establish
14      autocorrelation was tantamount to finding         14   whether or not a market has weak-form
15      market inefficiency. But they write in their      15   efficiency, that some in the field previously
16      quote this is no longer believed. We -- you       16   had thought did establish that?
17      know, the profession has moved past that. We      17           Do you recall that, that I asked
18      reject that now.                                  18   that?
19              And I'm not done.                         19       A. That you asked that question?
20              They say -- so Campbell, Lo, and          20           Well, the answer is autocorrelation
21      MacKinlay -- I believe it's the Lo and            21   tests.
22      MacKinlay article -- say specifically, they       22       Q. Okay. Now --
23      say -- they use the word "rational." They say     23       A. But I don't want you to take that
24      there are rational explanations for               24   out of context in -- without the context I
25      autocorrelation that are consistent with market   25   provided in my prior answer.

                                           Page 561                                               Page 562
 1             Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2          Q. You think that the context you              2   thought leaders in the field.
 3      provided helped --                                 3       Q. Now, are there any other kinds of
 4          A. Yeah. I don't want to give the              4   tests that some in the field previously had
 5      impression -- I've seen your briefs and I've       5   thought proved or disproved weak-form
 6      seen in your experts' writings, and I don't        6   efficiency, that you believe do not prove or
 7      want them to take -- to say Feinstein believes     7   disprove weak-form efficiency?
 8      the profession uses these tests to test            8           MR. MARKOVITS: Objection. Asked
 9      weak-form efficiency. That's not just true. I      9       and answered.
10      mean, I just want to make sure it's on the        10       A. There are some tests which have to
11      record that they -- that some people have done    11   be -- which are commonly used -- well, most
12      this, some people may continue to do this, but    12   commonly, actually, by Bajaj, but they've been
13      the thought leaders in the field say this is      13   proposed in the field and he's latched onto
14      not legitimate anymore.                           14   them and used them in some cases but not this
15              MR. VOLPE: Objection.                     15   one -- the Y filter test, for example, and a
16          Nonresponsive. I don't think there was a      16   trading strategy -- you know, the trading
17          question.                                     17   strategy test.
18          Q. Do you believe that it would be            18           But you've got to be very careful to
19      misleading to say that Dr. Feinstein believes     19   make sure the test is conducted appropriately,
20      that the sorts of tests that don't adequately     20   taking into account the costs of trading,
21      assess whether a market is weak-form efficient    21   which, when you do that, oftentimes the results
22      include autocorrelation tests?                    22   are not what they would be if you didn't take
23          A. That would be a true statement, but        23   that important factor into account.
24      I think you should also say that he supported     24       Q. Now, with respect to autocorrelation
25      the statement with several cites from the         25   tests, are there different kinds of



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 1             Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2      autocorrelation tests?                             2   efficiency. Is that right?
 3          A. Yes.                                        3       A. That's right.
 4          Q. Do they have different names?               4       Q. Okay. And do you have a view as to
 5          A. Yes.                                        5   whether or not those tests that Dr. Bajaj has
 6          Q. What are the names of the                   6   run in other cases actually appropriately test
 7      autocorrelation tests of which you are aware?      7   for weak-form efficiency?
 8          A. Well, there's the Durbin-Watson             8       A. In general or in -- with respect to
 9      test. I think there's -- I think -- well, I        9   his implementation in a particular case?
10      have to check my notes. I used to be able to      10            Well, what was the question?
11      do this more from memory than I can now.          11       Q. Let's take them in turn. First,
12               But I think Breuschâ€“Pagan test looks   12   let's talk about in general.
13      at autocorrelation. There are a variety of        13            The tests that you were referring to
14      regression model tests. The filter trading        14   that Dr. Bajaj runs to test for weak-form
15      rule test. All give autocorrelation.              15   efficiency, did those tests actually test for
16          Q. Is the filter trading rule test the        16   weak-form efficiency?
17      same as the Y filter test you just mentioned?     17       A. They test for a property that some
18          A. It can be, but it doesn't have to          18   people associate with weak-form efficiency, but
19      be. It's -- I would say filter trading rule       19   they don't actually test for weak-form
20      test is the broader umbrella, and the Y filter    20   efficiency because they don't control for the
21      test is a more specific example under that        21   potential of time-varying risk premia, bid-ask
22      umbrella.                                         22   spreads, and often, more often than not, the
23          Q. Now, you mentioned an answer or two        23   costs of trading.
24      ago that there are some tests that Dr. Bajaj      24       Q. So you believe that the test --
25      has run in other cases that relate to weak-form   25   well, strike that.

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 1             Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2              What is the property that some             2       Q. And when you used the word
 3      people associate with weak-form efficiency to      3   "stochastic," was that s-t-o-c-h-a-s-t-i-c?
 4      which you just referred?                           4       A. I'm better at math than spelling. I
 5          A. Well, there are some people out             5   think --
 6      there that apparently are unfamiliar with the      6       Q. Why don't you give it a shot.
 7      literature, that still think that in order for     7       A. S-t-o-c-h-a-s-t-i-c.
 8      a stock to be weak-form efficient, it must         8       Q. Thank you.
 9      follow a random walk. So it tests for              9           And what's a stochastic process?
10      weak-form efficient -- it associates serial --    10       A. A random process. A process with a
11      a premise of those tests is that if you find a    11   random element, or a process that's modeled as
12      profitable trading rule and if you find           12   being random.
13      statistically significant or sometimes            13       Q. Now, do you have a view as to
14      economically significant serial correlation,      14   whether any of the tests that you have seen Dr.
15      you have necessarily proved market efficiency.    15   Bajaj run in the past to assess weak-form
16      That is not true anymore, as the literature       16   efficiency actually assess weak-form
17      indicates, as literature dictates.                17   efficiency?
18          Q. According to Dr. Feinstein, what is        18       A. I think they have to be analyzed on
19      a random walk?                                    19   a case-by-case basis to see how he implements
20          A. Random walk is a stochastic process        20   the test. See, the problem with finding --
21      where movements have no memory, that the          21   see, a lot of his tests, the better ones of his
22      distribution of movements going forward is in     22   tests -- should I answer or not answer? I
23      no way -- is independent of any prior             23   mean, I --
24      movements, statistically, probabilistically       24       Q. You can answer my questions however
25      independent of all prior movements.               25   you see fit. We will move to strike anything



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 1             Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2      that's not responsive at a later date.             2   announcement on Monday and they'll make an
 3         A. So the better ones of his tests -- I         3   announcement on Wednesday and they'll make an
 4      mean, simply finding statistical evidence or a     4   announcement on Friday, and they'll maybe leak
 5      statistically significant period of time where     5   something to particular analysts or newspeople,
 6      there's autocorrelation doesn't prove anything     6   so that the news comes out in a staggered
 7      because -- usually. I should say typically         7   fashion.
 8      generally usually it doesn't prove anything,       8           If the news is serially
 9      unless you've made sure that there wasn't any      9   correlated -- well, in an efficient market. In
10      data mining, that you didn't, like, search a      10   a weak-form efficient market, the prices is
11      number of different periods and then hone in on   11   going to be serially correlated. So then a
12      a particular period where there, just from        12   serial correlation test would prove -- would
13      random chance, could be -- could have been a      13   not prove inefficiency in that case.
14      serially correlated patch of price movements.     14           But in the better ones of his tests,
15      And especially -- and they also have -- they      15   where he actually looks to see if there's a
16      also usually -- those tests, the tests that       16   profitable trading rule, he usually doesn't,
17      just look for statistical evidence,               17   and I -- usually -- he usually can't, in the
18      statistically significant autocorrelation,        18   work that I've seen him conduct, prove that the
19      might not be economically significant.            19   rule would have been identified prior to its
20              The problem there is, especially in       20   implementation. In other words, that
21      the case of a securities case, the news can       21   there's -- it's a stationary and persistent
22      be -- in retrospect, in hindsight, the news       22   phenomenon whereby someone in the marketplace
23      could have been serially correlated. Some         23   populated by competitive mutual funds and
24      companies choose to make negative disclosures     24   investors and analysts would be able to
25      in a staggered fashion, so they'll make an        25   identify that the security is moving in a

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 1             Steven P. Feinstein, PhD, CFA               1           Steven P. Feinstein, PhD, CFA
 2      serially correlated fashion, and then go and       2   generally, but specific tests that may recently
 3      implement a strategy that's profitable.            3   have been proposed, I'd want to review the
 4              So it's not that hard to find              4   literature for those.
 5      periods of time where a strategy would have        5            I would say -- well, let me just
 6      been profitable in hindsight. The tests that       6   summarize. I would think most of the standard
 7      he runs and which are the better ones where        7   tests that have been used in the past are now
 8      he's distinguishing between statistical            8   known to be unreliable, but I'm sure people are
 9      significance and economic significance don't do    9   looking for tests that are more reliable. So
10      that.                                             10   it's -- there's hope.
11              So I can't remember a time that I've      11        Q. As you sit here today, are you aware
12      seen him do the tests in a reliable way.          12   of any test that can reliably identify whether
13          Q. Do you believe that it is possible         13   markets are weak-form efficient?
14      to reliably test for weak-form efficiency?        14        A. I'm aware of tests and modifications
15          A. There are so many issues associated        15   to prior tests that make the tests more
16      with weak-form efficiency, and there have been    16   reliable than they used to be.
17      so much -- there's so much literature written     17            For example, in a filter test,
18      on why the standard tests are not reliable        18   taking into account costs of trading, taking
19      because there are explanations for apparent       19   into account that you have to be able to
20      autocorrelation that I'm not sure.                20   predict the serial correlation in a sample of
21              I mean, I would -- I would need to        21   data different from where you implement the
22      review the literature. I didn't come prepared     22   trading rule, those tests sidestep the known
23      with that, having reviewed all of the             23   deficiencies, so those tests are more reliable.
24      literature on what's been proposed. I'm           24            However, I don't know how those
25      well-versed in the state of the literature        25   tests would account for the potential of



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                                           Page 571                                               Page 572
 1           Steven P. Feinstein, PhD, CFA                 1          Steven P. Feinstein, PhD, CFA
 2     time-varying risk premia and the other              2      A. Again, it's not as black and white
 3     considerations that Stephen LeRoy wrote about       3   as you might think it is or as you make it.
 4     in markets that are rational and efficient and      4           What those tests directly prove is
 5     yet exhibit serial correlation.                     5   that the market is efficient with respect to
 6         Q. And because of that, as you sit here         6   the flow of economic financial company
 7     today, you're just not aware of a test that you     7   information.
 8     would feel comfortable conducting to determine      8           They also necessarily, as a side
 9     whether or not a market was weak-form               9   matter, would prove that there are -- that the
10     efficient?                                         10   market's paying attention, that investors and
11         A. Well, the tests that I ran that             11   analysts are paying attention, that they're
12     prove that the market's semi-strong efficient      12   behaving rationally, that there are not
13     speak to the weak-form efficiency.                 13   impediments to information flow, and that there
14         Q. How did they speak to weak-form             14   are not impediments to trading.
15     efficiency?                                        15           Those things would suggest the
16         A. Well, if we can prove that they're          16   market is weak-form efficient, but I guess it
17     not impediment -- the kind of things that might    17   really depends on your standard of proof that
18     make a market inefficient, either weak, strong     18   you would need or that you're seeking.
19     or semi-strong, those impediments can be           19           Frankly, though, it's -- you know,
20     addressed with the Cammer and Unger factors and    20   the ripples on the water are not what's
21     an empirical test on semi-strong style             21   relevant in a securities case. It's the big
22     information.                                       22   waves that hit the ship. And that's why the
23         Q. If a market is proven to be                 23   tests that I ran in the semi-strong -- well,
24     semi-strong form efficient, is a fortiori          24   the tests that I run of semi-strong focus on
25     weak-form efficient?                               25   that kind of information.

                                           Page 573                                               Page 574
 1             Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2          Q. Now, are you aware of any literature        2   securities.
 3      that supports the view that a company can be       3       Q. Now -- excuse me -- what is the
 4      semi-strong form efficient vis-a-vis non-price     4   relationship, according to you, between these
 5      and volume-related information but not             5   three different types of market efficiency and
 6      weak-form efficient?                               6   the opinion that you rendered in your original
 7          A. I believe the literature that               7   report and your rebuttal report?
 8      explains why autocorrelation tests are             8       A. Well, that the taxonomy that Fama
 9      unreliable is either explicitly or implicitly      9   proposed recognizes that a market can be
10      expressed that that's consistent with -- that     10   efficient with respect to one kind of
11      they're -- that in the taxonomy of types of       11   information without being efficient necessarily
12      information, a stock can be efficient with        12   with respect to another kind of information.
13      respect to fundamental pricing information        13   Therefore, it's important to test efficiency
14      without being efficient with respect to the       14   with respect to information that's relevant in
15      tiny ripples on the water, previous, you know,    15   the securities case: fundamental pricing
16      patterns and past stock prices in volume.         16   information and disclosures and
17              But I don't think they would express      17   allegation-related events.
18      it in the way that it was expressed in your       18       Q. You believe that Fama's work
19      question. I don't know of anyone that uses a      19   recognizes that a market can be semi-strong
20      quote similar to what you asked.                  20   form efficient but not weak-form efficient?
21          Q. According to Dr. Feinstein, what is        21       A. That's not what I said. I don't
22      strong-form efficiency?                           22   think he's ever -- well, I don't know if he's
23          A. Well, that would mean that even            23   testified in a case like this about market
24      private information is represented or impounded   24   efficiency. But I think he -- he does
25      into the trading prices of publicly traded        25   recognize that it's possible for a market to



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                                           Page 575                                               Page 576
 1            Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2      be -- well, at least theoretically, as a           2       Q. Are "semi-strong form efficiency"
 3      theoretical construct, efficient with respect      3   and "informational efficiency" terms that can
 4      to some information but not all information.       4   be used interchangeably, in your view?
 5          Q. Is it your opinion that the market          5       A. No.
 6      for Freddie Mac stock was during the class         6       Q. Why not?
 7      period semi-strong form efficient?                 7       A. Information efficiency is a type of
 8          A. Yes.                                        8   efficiency about how a -- what a stock price
 9          Q. And do you sometimes --                     9   reacts to and whether the market uses or
10          A. Informational. In the informational        10   ignores information.
11      efficiency sense. There's another dichotomy       11           Fundamental efficiency is about what
12      besides the taxonomy of types of efficiency.      12   the price actually goes to, what the price
13          Q. Well, let --                               13   becomes as a result of information that's been
14          A. There's informational that's               14   provided.
15      fundamental. So semi-strong efficient in the      15           And then the taxonomy of
16      informational efficiency sense.                   16   semi-strong, weak, and strong is a taxonomy
17          Q. Now, when you say semi-strong form         17   about the type of information that's at issue.
18      efficient in the informational efficiency         18   Is it simply high-frequency ripples like
19      sense, what do you mean?                          19   patterns in past stock prices and volume or is
20          A. That the market is -- that there's         20   it the fundamental data that people use to
21      sufficient proof that the market reflects and     21   value stocks? That would be the difference
22      reacts to public information about the company.   22   between weak form and semi-strong form.
23          Q. Is that different from semi-strong         23       Q. I didn't understand your answer. So
24      form efficiency?                                  24   I'm going to ask it -- my question in a
25          A. No.                                        25   slightly different way.

                                           Page 577                                               Page 578
 1           Steven P. Feinstein, PhD, CFA                 1          Steven P. Feinstein, PhD, CFA
 2             What is the difference, if any,             2       A. That the stock reacts rather than --
 3     between semi-strong form efficiency and             3   reacts to and the market digests and
 4     informational efficiency?                           4   incorporates and responds to information --
 5         A. One is one of three items in a               5   digests rather than ignores; that's
 6     taxonomy of three, and the other is one half of     6   informational efficiency -- whereas the other
 7     a dichotomy. They're about two different            7   half of the dichotomy is stronger. It goes
 8     things entirely. Semi-strong, weak, strong is       8   further and says not only does the market react
 9     about the type of information. Fundamental          9   to it, but they react to it in a way such that
10     versus informational is about the type of stock    10   the price the market arrives at conforms to a
11     reaction.                                          11   particular pricing model.
12         Q. And the type of information we're           12       Q. Fundamental efficiency, in your
13     talking about in semi-strong form efficiency is    13   view, relates to whether or not the market
14     all publicly available information. Correct?       14   reacts in a certain magnitude to information.
15         A. Yes. But in the context of a                15   Is that right?
16     securities case, the focus is on fundamental       16       A. Well, that would be part of it.
17     pricing information, fundamental -- information    17   Fundamental efficiency would say that the price
18     that would -- that's used in valuation models.     18   has to go to a particular price dictated by a
19     Company announcements, company performance,        19   particular pricing model. So it would indicate
20     that sort of thing.                                20   the direction, the magnitude -- yeah, the
21         Q. Now, you said that informational            21   direction and magnitude, and the actual value
22     efficiency is about the type of stock reaction.    22   of the price arrived at.
23     Is that what you said?                             23           Informational efficiency means that
24         A. Right. Right.                               24   the market reacts to the information. They
25         Q. What do you mean by that?                   25   don't ignore it. And you can see that the



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                                           Page 579                                               Page 580
 1            Steven P. Feinstein, PhD, CFA                1         Steven P. Feinstein, PhD, CFA
 2      market reacts to the information via a variety     2   page 13 and 14 of the amici brief you have
 3      of observations.                                   3   before you.
 4         Q. And semi-strong form efficiency also         4          I believe that's Exhibit 271. Do
 5      relates to whether the market reacts to            5   you have that in front of you?
 6      information. Correct?                              6       A. 13 and 14?
 7         A. Well, it's -- that's not about how           7       Q. Yes.
 8      the market reacts. So semi-strong can be           8          Do you see that the --
 9      either semi-strong fundamental or semi-strong      9       A. One moment. I want to --
10      informational. The semi-strong is about the       10       Q. Sure. Read whatever you'd like.
11      information set that the market reacts to. Is     11       A. (Reviewing document.)
12      the market -- does the market react to private    12          Yes.
13      information, to the development of -- and         13       Q. Do you see that in the last
14      production transpiring of private information.    14   paragraph of this brief, it says, "It is not
15         Q. That would be strong form?                  15   accurate to say there is a 'consensus' among
16         A. Strong form is about -- is that             16   economists rejecting the SSEMH"?
17      we're focusing on private information that's      17          Do you see that?
18      not public and looking to see whether or not      18       A. Yes.
19      the market incorporates that into its trading     19       Q. Okay. And do you understand that
20      prices.                                           20   the SSEMH refers to the semi-strong form
21         Q. Now, semi-strong form efficiency has        21   efficient market hypothesis?
22      a directionality component. Correct?              22       A. I do.
23          A. Semi-strong fundamental efficiency         23       Q. And then if you look at the last
24      does, not semi-strong informational.              24   sentence of that paragraph, do you see it says,
25          Q. Let me turn your attention to              25   "Most important, economists generally agree

                                           Page 581                                               Page 582
 1             Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2      that material information, whether truthful or     2   efficiency?
 3      fraudulent, will generally affect the price of     3       A. It's an implication. It stems from
 4      a stock and that the effect will be in a           4   the definition. And there is some literature
 5      predictable direction"?                            5   describing what -- defining what fundamental
 6              Do you see that?                           6   versus informational efficiency are.
 7          A. I do.                                       7       Q. What literature would you point to
 8          Q. Do you agree with that statement?           8   that identifies the directionality of stock
 9          A. That's an implication of fundamental        9   price movements as an implication of
10      efficiency. Or it's more fundamental than         10   fundamental efficiency?
11      informational, the last part.                     11       A. Any literature that defines the
12              The part that's on topic of               12   terms, because the direction is necessarily
13      informational efficiency is that an implication   13   dictated by a determination as to what the
14      of informational efficiency is that the price,    14   right price is and what the right direction is.
15      whether -- that the price will be impacted by     15   And that's -- those are considerations in the
16      material information, whether truthful or         16   assessment of fundamental efficiency.
17      fraudulent.                                       17           Specifically, one of the Fama
18              The direction of the movement,            18   articles says that you can't test fundamental
19      that's an implication of fundamental              19   efficiency without a pricing model because
20      efficiency.                                       20   you're necessarily testing them jointly. And
21              MR. VOLPE: Objection.                     21   that article is support for the principle that
22          Nonresponsive.                                22   the direction -- that directionality or correct
23          Q. And do you believe there's any             23   directionality is an element of fundamental
24      literature that supports your view that           24   efficiency.
25      directionality is a function of fundamental       25           I mean, the -- I may have something



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                                          Page 583                                               Page 584
 1           Steven P. Feinstein, PhD, CFA                1         Steven P. Feinstein, PhD, CFA
 2     to add to that answer.                             2   be able to reliably predict the direction of a
 3             Actually, the decision in                  3   reaction.
 4     Halliburton, which I don't believe there's been    4          It doesn't say that reliable
 5     articles written by economists disputing it,       5   prediction of the direction or that the market
 6     the court said that with respect to semi-strong    6   predicting -- the market moving in a particular
 7     informational efficiency, the degree to which      7   direction is an essential element of the
 8     the price reaction was accurate is beside the      8   definition of informational efficiency.
 9     point.                                             9       Q. Let me turn to --
10             So, clearly, it's -- the type of          10       A. And I would agree with that. That
11     efficiency that the court's interested in does    11   makes sense.
12     not require a test of whether the price           12       Q. Let me turn your attention to page 3
13     comports with a particular analyst's or           13   of the brief. Do you see at the bottom of the
14     investor's assessment of what the correct         14   page there's a paragraph?
15     direction or price level has to be following      15          Could you do me a -- take a moment
16     the information.                                  16   and read the paragraph at the bottom of page 3.
17         Q. Let me turn your attention to page 3       17   Do you see that?
18     of this brief.                                    18       A. Yeah.
19         A. One moment, though.                        19       Q. It begins with the words "our
20             I'd want to point out that that last      20   conclusion"?
21     sentence that you're focusing on doesn't say      21       A. Yeah.
22     that directionality is an essential element of    22       Q. It states, "Our conclusion that
23     informational efficiency. It could be             23   prices generally move reasonably promptly in
24     interpreted to mean that when the market is       24   the predicted direction in response to
25     informational efficiency, good economists would   25   unexpected material public information

                                          Page 585                                               Page 586
 1           Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2     (favorable or unfavorable) is perfectly            2       efficient, other tools can be applied to
 3     consistent with the view that there are            3       predict. So I believe it's an implication
 4     sometimes anomalies in the way markets process     4       of informational efficiency, but it's not an
 5     information and that bubbles can exist."           5       essential -- I mean, proving it is not an
 6            Do you see that?                            6       essential element to proving market
 7        A. And it's a true statement. They're           7       efficiency.
 8     not saying that those are elements of the          8       One moment.
 9     definition of informational efficiency.            9       The definition is that the stock price moves
10        Q. You don't think that here Professor         10       in reaction to information. And that's also
11     Fama and his colleagues were discussing the       11       the -- it's my understanding is the legal
12     type of efficiency that needs to be proven in     12       standard outlined in Halliburton, that the
13     securities cases?                                 13       stock price moves.
14        A. They were discussing what the               14       I don't know --
15     profession -- consensus in the profession is      15           THE WITNESS: Can you just read what
16     about efficiency. And it goes beyond              16       I said just then?
17     informational efficiency in that paragraph.       17           *(Answer read back by the reporter.)
18        Q. And what is your understanding --           18       A. All right. That's what I wanted to
19     well, strike that.                                19   say.
20             Do you believe that a market that         20           I mean, there could be implications
21     responds to prices in directions that are not     21   of that. I mean, once you know that the market
22     predictable can be an efficient market?           22   is informational efficient, it's reasonable to
23        A. Well, predictable by whom?                  23   apply valuation tools to predict the market, to
24        Q. By an economist.                            24   predict the market movements on the basis of
25        Well, I think if the market is informational   25   different information. But it's not an



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                                           Page 587                                               Page 588
 1             Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2      essential element of the definition of             2   towards implications that one might arrive at
 3      informational efficiency.                          3   by combining informational efficiency and
 4          Q. Let me turn your attention to page 1        4   skill, using other tools that are outside the
 5      of your report, your rebuttal --                   5   definition of informational efficiency.
 6          A. I mean, I just want to add, because         6       Q. You just used the terms "magnitude"
 7      if it were, then what would be -- what we would    7   and "direction of movement." Is there a
 8      be covering at depositions like this and what      8   difference between those two terms?
 9      the expert reports in a case like this would be    9       A. Sure. Magnitude is size, and
10      would be arguments between the experts as to      10   direction is direction.
11      whose valuation model was better.                 11       Q. And is fundamental efficiency the
12              I mean, it's a good thing that the        12   notion that the market's getting the
13      courts have focused on informational rather       13   magnitude -- not only direction but also the
14      than fundamental efficiency considerations. I     14   magnitude correct?
15      mean, otherwise, you would have Dr. Bajaj         15       A. Yes. Yes. And it could be looked
16      saying that he believes he's right about the      16   at collectively or separately.
17      magnitude and direction of a movement and the     17       Q. Now, let me turn you to page 1 of
18      entire collective wisdom of the marketplace was   18   your report.
19      wrong, and that would be the proof that he        19           Actually, I apologize. Turn to
20      would try to offer that the market wasn't         20   page 3, paragraph 12.
21      informational efficient.                          21       A. Okay.
22              So it's a much more objective             22       Q. Okay. And do you see at the first
23      analysis and a much more objective standard to    23   sentence, you say, "Dr. Bajaj does not" --
24      focus on really what is the definition of         24       A. Where?
25      informational efficiency, rather than move        25       Q. Of paragraph 12. Page 3.

                                           Page 589                                               Page 590
 1             Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2          A. Oh. I'm looking at the -- --                2   and in conjunction with the other Cammer and
 3          Q. Oh, I'm sorry.                              3   Krogman factors proves the market was efficient
 4          A. -- original report.                         4   throughout the class period."
 5          Q. Now, we're looking at 269, the --           5           Do you see that?
 6      270 was the Prudential report, not the original    6       A. Yeah. That's the opinion of my work
 7      report, and 269 is your rebuttal report.           7   in this case.
 8          A. And then after this question, we'll         8       Q. So you believe --
 9      take a break. Okay?                                9       A. That's the essence of my opinion.
10          Q. Sure. We can take a break right now        10       Q. Well, this is an opinion that is not
11      if you want.                                      11   based on your collective test. Correct?
12          A. I'm curious to see what you want me        12       A. No, it is.
13      to look at.                                       13       Q. In that sentence, you say "this
14          Q. Do you see paragraph 12? It says,          14   price behavior." You're talking about the
15      the first sentence, "Dr. Bajaj does not dispute   15   price reaction on November 20th. Correct?
16      that Freddie Mac stock exhibited a                16       A. Well, let me just clarify right here
17      statistically significant negative price          17   and right now that my conclusion of market
18      reaction to the revelation of new                 18   efficiency is based holistically on all of my
19      company-specific information on 20 November       19   findings.
20      2007."                                            20       Q. Okay. And if you remove any one of
21              Do you see that?                          21   those findings, that doesn't fairly reflect
22          A. Right. That's a true statement.            22   your conclusion. Correct?
23          Q. Okay. And then do you see the last         23       A. No. That's -- I think we have a
24      statement? You say in that paragraph, "This       24   different definition of "holistic."
25      price behavior demonstrates market efficiency     25       Q. In other words, if you had never



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 1             Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2      done your collective test, would you have          2   mean, we've got two -- I mean, granted, it's in
 3      concluded that the price behavior on               3   the Second Circuit, but there are two recent
 4      November 20th alone, in conjunction with the       4   cases --
 5      other Cammer and Krogman factors, proves that      5      Q. Well, hold on.
 6      the market was efficient throughout the class      6      A. -- where they said that you don't
 7      period?                                            7   need an empirical fact to test at all.
 8          A. You asked me that in the last               8      Q. Well, hold on.
 9      deposition, and the answer now is the same as      9          Doctor, are you a lawyer?
10      it was then. It's a hypothetical. I remember      10      A. I'm telling you what my
11      calling it that and calling you out on that       11   understanding of the legal standard now is for
12      that it's a hypothetical. Because the two         12   proof.
13      empirical tests do point in the same direction    13      Q. Are you a lawyer?
14      towards efficiency.                               14      A. I am not a lawyer.
15               It's hard to say specifically. I         15      Q. Are your opinions grounded upon any
16      think there would have been less evidence, but    16   legal expertise?
17      reasonably it would have been sufficient          17      A. No.
18      evidence. But there would have been less.         18      Q. Are you offering an opinion on the
19      There would have been less evidence if, in        19   state of the law?
20      fact, there were -- if, in fact, there was less   20      A. Well, I am aware of what the Second
21      evidence, there would have been less evidence.    21   Circuit said about my research. The Second
22      I mean, you can't get around that.                22   Circuit said my research --
23          Q. But --                                     23      Q. Well, I didn't ask you about your
24          A. But it's still -- I mean, I -- as          24   research or what the Second Circuit said. I
25      far as what the legal standard for proof is, I    25   simply asked you --

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 1           Steven P. Feinstein, PhD, CFA                 1          Steven P. Feinstein, PhD, CFA
 2        A. But it goes to answer your question,          2       A. Good afternoon.
 3     though.                                             3       Q. So the opinions you offered in this
 4        Q. -- are you offering an opinion on             4   case are based on your understanding of the
 5     the state of the law?                               5   field of financial economics. Is that true?
 6        A. I'm not sure how you define those             6       A. Yes.
 7     terms, the state of the law. I know what            7       Q. Okay. Now, as a financial
 8     courts have said about my research. They said       8   economist, the mere fact that a security trades
 9     that even without the empirical factor, the         9   on the New York Stock Exchange is not enough
10     other Cammer and Krogman factors are sufficient    10   for you to conclude that the market for that
11     proof. So that informs me as an economist          11   stock is semi-strong form efficient. Correct?
12     about the legal standard of proof.                 12       A. Depends what the standard of proof
13        Q. Are you here as an advocate on               13   is. It certainly makes it more likely than
14     behalf of OPERS?                                   14   not.
15        A. Absolutely not.                              15       Q. Well, I'm talking about your
16             MR. FRANK: Why don't we take a             16   standard of proof. You're a financial
17        break here.                                     17   economist. Right?
18             THE VIDEOGRAPHER: The time now is          18       A. Yes.
19        11:50. We're off the record.                    19       Q. And you have been asked in this case
20             (Recess taken from 11:50 to 12:37          20   to opine on whether or not Freddie Mac stock
21        p.m.)                                           21   traded in an efficient market. Correct?
22             THE VIDEOGRAPHER: The time now is          22       A. Yes.
23        12:37. We're on the record.                     23       Q. And for you, the mere fact that
24     BY MR. FRANK:                                      24   Freddie Mac stock traded on the New York Stock
25        Q. Dr. Feinstein, good afternoon.               25   Exchange was not sufficient for you to conclude



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 1             Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2      with a sufficient degree of certainty that         2   evidence than that.
 3      Freddie Mac traded in an efficient market.         3       Q. In order to exclude the possibility
 4      Correct?                                           4   that this is one of those rare circumstances
 5           A. I would conclude from that fact that       5   where the stock trades in an efficient market,
 6      it's more likely than not that it trades in an     6   you wanted to do more than just identify what
 7      efficient market.                                  7   exchange it traded on. Right?
 8              And you asked these questions at the       8       A. Yes.
 9      last deposition. I would want to do further        9       Q. And in order to do more, you did a
10      analysis, though, before saying that I have       10   number of things. Right?
11      proved it.                                        11       A. Yes.
12          Q. And you're not alone in this view          12       Q. One of those things was to assess
13      that you would want to do more analysis to        13   the structural factors outlined in the Cammer
14      determine whether or not a stock trades in an     14   and Krogman cases. Right?
15      efficient market. Correct?                        15       A. Yes.
16          A. Again, it depends on the standard of       16       Q. And another was to conduct tests to
17      proof. I think most economists would say that     17   assess the cause-and-effect relationship
18      inefficiency is rare. And when you couple that    18   between the information and stock price
19      with a stock being listed on the New York Stock   19   movements. Right?
20      Exchange, it makes it even more rare. So that     20       A. Yes.
21      fact alone would make it more likely than not     21       Q. Okay. Now, you criticize Dr. Bajaj
22      that the stock trades in an efficient market.     22   in your rebuttal report for not performing
23              But I would think most economists         23   certain tests that he performed in other cases.
24      before they would say they have proved it         24   Is that right?
25      trades in an efficient market would want more     25       A. Not precisely. I really criticized

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 1            Steven P. Feinstein, PhD, CFA                1         Steven P. Feinstein, PhD, CFA
 2     him for creating a double standard where he         2   But I don't -- I can't -- I don't know why he
 3     criticized me for not doing tests precisely as      3   would -- would not have done those, except for
 4     I've done them in other cases, and call him out     4   if he had perhaps arrived at conclusions that
 5     that he did the same thing that he was              5   didn't support -- or findings that didn't
 6     criticizing me for.                                 6   support his conclusion. That seems to be the
 7         Q. Now, he performed several tests in           7   best explanation of why he didn't do them.
 8     the Allergan case that he did not perform here.     8           So I just think it raises concerns
 9     Correct?                                            9   of impartiality rather than -- rather than
10         A. Yes.                                        10   deprives the court of informative information.
11         Q. Okay. Is it -- are you of the view          11       Q. You're concerned about Dr. Bajaj's
12     that he should have performed here the cases --    12   impartiality?
13     the tests that he performed in the Allergan        13       A. Absolutely. Yeah. I could describe
14     case?                                              14   many reasons why. The way he describes my
15         A. That's -- that wasn't my opinion.           15   work, the way he quotes me out of context, the
16     My opinion wasn't that he should have performed    16   way he was selective in how he presented things
17     those tests. My opinion was that the fact that     17   and said things certainly raised issues of
18     he didn't perform those tests suggests that        18   impartiality. But I understand.
19     perhaps he's not being completely unbiased.        19       Q. Do you -- if Dr. Bajaj had performed
20         Q. Well, do you have a view as to              20   the tests in this case that he performed in
21     whether he should have performed those tests or    21   Allergan, would you have wanted to consider the
22     not?                                               22   results of those tests in forming your
23         A. I don't think those tests are               23   conclusions here?
24     informative, either for Allergan or for this       24       A. Only if he had. Only if he had
25     case, for reasons I described before lunch.        25   offered the -- those findings as supportive of



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 1           Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2     his conclusion.                                    2       Q. How do you know that?
 3         Q. If you were to discover that there          3       A. I think he said so in his -- in his
 4     were tests done on whether Freddie Mac's common    4   scope of work.
 5     stock traded in a weak-form efficient market,      5       Q. Now, do you know -- did you review
 6     is that a fact you would have wanted to know?      6   the Allergan report that he drafted?
 7         A. I didn't understand. I mean, what I         7       A. Yes.
 8     would want to know is why he chose not to do       8       Q. Did you disagree with anything in
 9     it. And if he had done it, I would evaluate        9   the Allergan report?
10     what he did.                                      10       A. Well, I'm not saying I agreed with
11         Q. Well, we've established earlier            11   everything in the Allergan report, but I don't
12     you're not a lawyer. But do you have an           12   recall seeing anything that I disagreed with.
13     understanding at this stage of the proceeding     13       Q. Did he do anything in connection
14     as to whose burden it is to prove or disprove     14   with his work in Allergan that you thought was
15     market efficiency?                                15   illogical?
16         A. Yes.                                       16        A. Well, like I said, the serial
17         Q. Whose burden is it?                        17   correlation tests are not reliable as
18         A. Plaintiffs'.                               18   indicators of market efficiency. So maybe
19         Q. And do you happen to know what Dr.         19   that's -- it's just they were unnecessary, so
20     Bajaj was tasked with doing in this case?         20   it's a matter of judgment but not necessarily
21         A. Yes. The same thing he was tasked          21   illogical.
22     with doing in other cases where he did run        22        Q. Outside of the litigation context,
23     those tests, to evaluate my work.                 23   have you analyzed whether a market is
24         Q. And how do you know that?                  24   efficient?
25         A. Pardon?                                    25       A. Certainly.

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 1           Steven P. Feinstein, PhD, CFA                1         Steven P. Feinstein, PhD, CFA
 2         Q. In what context?                            2   relative to certain fundamental valuation
 3         A. Well, for 10 years I ran a program          3   models.
 4     at Babson College called the Babson College        4      Q. Do you still manage a portion of the
 5     Fund, where we would -- we managed a portion of    5   college endowment?
 6     the college endowment, myself and -- well,         6      A. No.
 7     students under my auspices. And I would -- I       7      Q. When did that come to an end?
 8     would teach where to look for inefficiently        8      A. I think it's in my first report. I
 9     priced stocks and how to identify if a stock       9   have that in the resume section.
10     may be priced inefficiently such that there was   10      Q. You don't remember offhand?
11     a profit opportunity.                             11      A. No.
12         Q. What tests did you use to identify         12      Q. Why did that come to an end?
13     whether there were profit opportunities?          13      A. I chose not to do it anymore. And I
14         A. Well, this was fundamental                 14   think I did it for about eight to ten years,
15     efficiency. But I would -- we would -- I          15   somewhere in that vicinity, and felt it was
16     instructed the students to look for tests that    16   time to turn it over to someone new.
17     essentially failed the Cammer factors. They       17      Q. Did you or your students use any
18     would look for small stocks that had little or    18   empirical analyses in connection with your work
19     no analyst coverage, perhaps low volume, so       19   for the fund?
20     that these stocks would be overlooked by our      20      A. Sure.
21     competitors who were institutional investors      21      Q. What empirical tests did you use?
22     and better-resourced investors.                   22      A. Well, empirical -- depends what you
23             And then they would do valuation          23   mean by "empirical." Each of the Cammer
24     analyses to ascertain whether the market was      24   factors is, in fact, empirical. You look at
25     pricing those stocks too high or too low          25   volumes; you look at analyst coverage. Those



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 1             Steven P. Feinstein, PhD, CFA              1         Steven P. Feinstein, PhD, CFA
 2      are empirical facts.                              2   Fama said that it's virtually impossible to
 3               But it was those combined with           3   make money off of serial correlation. Fama
 4      valuation, fundamental valuation models.          4   wrote about this in an article."
 5          Q. You didn't use the z-test in that          5           That was your answer.
 6      context, did you?                                 6       A. Oh. Both parts of that answer are
 7          A. No. You know, even Fama said that          7   correct, although the second one is more
 8      it's virtually impossible to make money off of    8   addressed to a Y test than a z-test. But, no,
 9      serial correlation. Fama wrote about this in      9   I didn't use a z-test for purposes of
10      an article.                                      10   identifying profitable buying or selling
11           Q. Outside of the litigation context,       11   opportunities.
12      have you ever used a z-test to assess market     12       Q. And so let me ask the next question
13      efficiency?                                      13   I asked, which I think caused you to recognize
14          A. Oh, z-test. I'm sorry. I                  14   that you had misheard me earlier.
15      thought -- I got a little confused. I            15           I asked outside of the litigation
16      apologize. I thought we were talking about the   16   context, have you ever used a z-test to assess
17      Y filter test.                                   17   market efficiency?
18               Was your previous question about the    18       A. No.
19      --                                               19       Q. Now, let me turn you back to your
20          Q. I'll read it back for you.                20   rebuttal report that is Exhibit 269. Let me
21          A. Sorry.                                    21   turn your --
22          Q. I asked, "You didn't use the z-test       22       A. I'm thinking now. I just want to
23      in that context, did you?"                       23   amend -- there is some ongoing theoretical
24          A. And I just said no.                       24   research that I'm doing with Miguel Villanueva
25          Q. No. You said, "No. You know, even         25   that does use the z-test, but it's for a

                                          Page 605                                               Page 606
 1             Steven P. Feinstein, PhD, CFA              1         Steven P. Feinstein, PhD, CFA
 2      working paper that we hope to publish. And        2      Q. Now, in paragraph 14 on page 8 of 70
 3      that's outside of litigation.                     3   of your rebuttal report, you write, "Dr. Bajaj
 4         Q. And that hasn't been published yet?         4   challenges the validity of the z-test for
 5         A. Correct.                                    5   assessing market efficiency. However, his
 6         Q. And has that been submitted to any          6   challenges are misguided as they are based upon
 7      journals or periodicals?                          7   an improper definition of 'market efficiency.'"
 8         A. No. Not yet.                                8          Do you see that?
 9         Q. Okay. Have you published any                9      A. Yes.
10      academic papers on market efficiency in          10      Q. What do you believe was Dr. Bajaj's
11      peer-reviewed periodicals?                       11   definition of "market efficiency"?
12         A. Yes.                                       12      A. Well, he said that the z-test was
13         Q. Okay. What are those?                      13   deficient because it didn't test
14         A. The Journal of Financial Education,        14   directionality, and directionality is
15      experimental paper.                              15   fundamental efficiency concept, and that's what
16         Q. That's an article that you                 16   I meant here, not -- rather than an
17      published?                                       17   informational efficiency concept.
18         A. Yes.                                       18      Q. Other than an issue of
19         Q. Anything else?                             19   directionality, do you believe that Dr. Bajaj
20         A. There are some -- there's some             20   was basing his challenges on an improper
21      additional stuff. I mean, there's the American   21   definition of "market efficiency"?
22      Bankruptcy Journal I published in, an article    22      A. That particular challenge was
23      about market efficiency that was coauthored. I   23   about -- about directionality was based on the
24      would have to look at my list of publications    24   improper definition. He raises some other
25      to give you more than that.                      25   challenges which I believe are also misguided



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 1             Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2      but for other reasons.                             2   was released to the market?
 3          Q. For reasons unrelated to his                3       A. Well, I'm not going to accept the
 4      definition of "market efficiency"?                 4   premise that these are not dates on which
 5          A. They're closely related but not             5   material news was released to the market. The
 6      totally unrelated. I mean, his -- some of          6   problem is that he defined material as being
 7      his -- one of his challenges is related to his     7   dates or being information that would
 8      definition of "materiality" and the -- and the     8   reasonably elicit a statistically significant
 9      role of materiality in market efficiency. He       9   reaction. That's how he defined "materiality."
10      made a mistake there which led to another one     10   That was the problem.
11      of his misguided challenges.                      11       Q. Is that not how you define
12          Q. What is the mistake he made                12   "materiality"?
13      regarding the role of materiality in market       13       A. It's not at all how I define
14      efficiency?                                       14   "materiality."
15          A. He opined that 80 to 90 percent of         15       Q. How do you define "materiality"?
16      tested events in a collective test would have     16       A. That the news is important to a
17      to be statistically significant in order for      17   typical investor or analyst in the sense that
18      that to be an indicator of market efficiency,     18   it would affect their valuation or transaction
19      which generally is logistically impossible by     19   decisions, not necessarily cause their
20      design of a significance test.                    20   valuations to change by an amount over the
21          Q. Is that logistically impossible in         21   threshold at the 95 percent confidence level
22      your collective test because your collective      22   for statistical significance.
23      test is not a test of dates on which material     23       Q. If material news doesn't cause a
24      news was released to the market but rather a      24   valuation to change by an amount over the
25      test where dates with higher information flow     25   threshold at the 95 percent confidence level

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 1             Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2      for statistical significance, how is it            2   significance.
 3      possible to test whether or not news is            3           You can also see did analysts
 4      material?                                          4   discuss that news? Did the company discuss
 5          A. Well, one way is in a collective            5   that news? Did newspapers report on that news?
 6      test. The -- well, I don't -- we're not            6   These are other tests of materiality.
 7      testing here whether the news is material.         7       Q. Now, you write in paragraph 14,
 8      We're testing whether the market is efficient.     8   because -- I'll read the whole sentence.
 9      That's what this analysis is about.                9           "The statistical issues Dr. Bajaj
10              You want -- so your question is           10   raises as challenges to the validity of the
11      about something different. Your question is,      11   z-test findings are erroneous and moot because,
12      how do you test if news is material?              12   as Dr. Bajaj acknowledges multiple times in his
13              Well, okay. Several ways. With            13   report, none of the purported statistical
14      reference to the literature. The literature       14   problems he identifies affect the qualitative
15      tells us which news comprises arguments and       15   results of the z-test in this case."
16      valuation models, which news historically,        16           Do you see that?
17      according to other people's analyses and tests,   17       A. That's correct.
18      changes valuations, which news is important to    18       Q. Now, isn't it a fact that Dr. Bajaj
19      investors for transactions and value decisions.   19   identified a number of criticisms that, when
20      It's what the literature is about.                20   taken together, affected the results of your
21              You can also test materiality. It's       21   z-test?
22      not going to be a short answer, but you asked     22       A. Oh. He has to bend over backwards
23      how do you test materiality without doing --      23   and use three or four of these at a time in
24      without observing that it has a 95 -- that it's   24   order to arrive at a change in a qualitative
25      over the threshold for 95 percent confidence      25   result. But individually they didn't.



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 1             Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2              He himself said that if you use the        2   it was unequivocally -- unequivocally satisfied
 3      continuity adjustment, you still have a            3   the selection criteria, and it's an
 4      significant result. If you use the unpooled        4   unequivocally important date based on the
 5      variance, you would still have -- the z-test       5   news -- not on its price movement, but based on
 6      would still indicate significance.                 6   the news -- important date in the life of this
 7              It's only when you do those two            7   company, regardless of what -- who else noticed
 8      things and knock out the last -- irrationally      8   that it was an important date, regardless
 9      and inappropriately knock out the last event       9   whether analysts noticed that or investors
10      that he started to get results that -- where he   10   noticed that or attorneys noticed that or the
11      weakened the z-test to such an extent that he     11   court notices that.
12      ended up with inclusive results instead of        12           Regardless of who else notices that,
13      conclusive results indicating market              13   Holman or Bajaj, any reasonable analyst looking
14      efficiency.                                       14   for the material information announcements
15          Q. When you said "irrationally and            15   would identify that day as being one. And so
16      inappropriately," you were referring to the       16   to simply say that other people have noticed it
17      statement in the FDT article that said in a       17   too, therefore it must be excluded from a
18      collective test you shouldn't include the last    18   statistical test, is inappropriate.
19      day of the class period. Is that right?           19           I guess "inappropriate" is the right
20          A. No. No, I wasn't referring to the          20   word, not "irrational."
21      FDT article, and I don't think necessarily        21       Q. And you think that the rules set
22      that's what the FDT article is -- is dictating    22   forth in the FDT article about excluding the
23      for all possible situations.                      23   last day of the class period is an
24              It's irrational and inappropriate to      24   inappropriate rule?
25      eliminate the November 20, 2007, date, because    25       A. In some cases, it might be

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 1             Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2      appropriate. If there's not -- you would not       2           So can you explain to me what you
 3      pick it because it was a drop. But if it was       3   meant to convey by that sentence?
 4      indisputable that it was important news, you       4       A. Sure. There's two ways to edit it
 5      should pick it. And if the FDT article says        5   so it would be easier to understand. We can
 6      don't, that's incorrect, too.                      6   either add the word "without" before the word
 7              If it's important news, it should be       7   "proof," so that it's "without a z-test,
 8      analyzed. If it's important news, the market's     8   without proof that alleged inflationary events
 9      reaction to that news should be analyzed in a      9   were statistically significant at a greater
10      test of the question: Does the market ignore      10   incidence rate than typical days in the class
11      news or incorporate news?                         11   period." That's one way to understand it. Or
12          Q. Now, in paragraph 18, you write, in        12   move the comma from after the word "z-test" to
13      the second sentence, "Dr. Bajaj incorrectly       13   after the word "proof": "that without a z-test
14      contends that without a z-test, proof that        14   proof, that alleged inflationary events."
15      alleged inflationary events were statistically    15           So what I'm saying here is Dr. Bajaj
16      significant at a greater incidence rate than      16   ran the z-test. I mean, after criticizing the
17      typical days in the class period. The alleged     17   z-test and saying that it was inappropriate and
18      misrepresentations and omissions could not        18   poorly constructed and et cetera, he actually
19      possibly have impacted the Freddie Mac stock      19   used it and said that because it didn't find a
20      price."                                           20   difference in the dynamics, the price dynamics
21              Do you see that?                          21   on misrepresentation dates versus all other
22          A. I do.                                      22   days, that that would prove that the alleged
23          Q. And I'll confess to you I don't know       23   misrepresentations and omissions had no price
24      if there's a missing word or if I'm just slow,    24   impact.
25      but I did not understand that sentence.           25           And that's what he said. I mean,



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 1             Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2      his conclusion was that because the z-test on      2       A. I mean, anything's possible. But he
 3      misrepresentation dates did not indicate           3   didn't -- the way he was so forceful in his
 4      different price dynamics, therefore he thinks      4   conclusion, saying that this test proves no
 5      he proved no price impact. He's just wrong,        5   price impact, says that he's embracing the
 6      for a variety of reasons.                          6   test, and it's hard to accept that he's
 7          Q. I see.                                      7   embracing the test after he rejected the test.
 8          A. And there other reasons that are            8   It seems like he embraces it when he wants to
 9      laid out here.                                     9   and rejects it when he wants to.
10          Q. So -- now, you used the z-test.            10       Q. Well, do you think that -- did you
11      Right?                                            11   conduct any test to determine whether or not
12          A. Yes.                                       12   there was a price impact on the
13          Q. Okay. Now, you're not criticizing          13   misrepresentation and omission dates?
14      Dr. Bajaj for using a test that you think is an   14       A. No.
15      effective test, are you?                          15       Q. And is a z-test an appropriate way
16          A. I am. I'm criticizing him for on           16   to test whether or not there's an alleged price
17      the one hand saying it's an invalid test and      17   impact on misrepresentation and omission dates?
18      then embracing it. I think that's indicative      18       A. Not really.
19      of bias.                                          19       Q. Why not?
20          Q. Well, is it possible that he used          20       A. Well, because typically,
21      the test because, even though he thinks it's      21   misrepresentations and omissions maintain the
22      not a probative test, he knew that you do think   22   mix of information by concealing negative or
23      it's a probative test, and therefore it would     23   adverse developments or conditions. So,
24      be a way for the two of you to be on -- to be     24   typically, what you see -- would see on those
25      communicating, so to speak?                       25   misrepresentations and omissions dates is no

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 1            Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2     new news and no price movement. So a test           2   statistical price movements on
 3     that's looking for price movement is                3   misrepresentation and omission dates, that
 4     inappropriate for that purpose.                     4   would have been indicative of price impact. Is
 5             On the other hand, I mean, if it            5   that right?
 6     found it -- I mean, if you did find significant     6      A. Well, he did. Actually, he did find
 7     movements or discernible movements, that would      7   evidence of it, but then he looked for ways to
 8     suggest that there was price impact. But not        8   dismiss it. Yes, it would have been evidence.
 9     finding price movements is not going to prove       9      Q. And if that -- if such statistically
10     that there was no price impact. And since his      10   significant price movements on those dates
11     test was to see if there was no price impact,      11   would have been indicative of price impact, it
12     it's inappropriate.                                12   was therefore incumbent upon him to test those
13         Q. Heads I win, tails you lose?                13   dates. Correct?
14          A. Well, blame classical statistical          14      A. I didn't understand.
15     hypothesis testing for that. I mean, that's        15      Q. Well, it's your view that if there
16     what hypothesis testing does. You set a null       16   was statistically significant price movements
17     hypothesis and you test the hypothesis. You        17   on the misrepresentation and omission dates,
18     can -- you can perhaps reject the hypothesis       18   that would be proof of price impact. Correct?
19     based on the results. But if the test fails to     19      A. I don't know if I could make a
20     reject the hypothesis, that doesn't prove the      20   blanket statement. It would certainly be
21     hypothesis true. That's written about in           21   indicative.
22     almost every introductory statistical textbook,    22      Q. And accordingly --
23     and I believe I referenced it in my report as      23      A. I would also have to do confounding
24     well.                                              24   information tests and analysis of the
25         Q. So if Dr. Bajaj had found                   25   information, and basically confounding



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 1             Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2      information is what I would be most concerned      2     A.     Or the realization of the risk date.
 3      with.                                              3     Q.     Well, we'll get to that.
 4         Q. Taking confounding information into          4           But to summarize, there were two
 5      account, it was therefore incumbent upon           5   sets of dates that it made sense for him to
 6      Dr. Bajaj, who was assessing price impact, to      6   look at. One is the -- one set is the
 7      test the misrepresentation and omission dates.     7   misrepresentation and omissions dates.
 8      Correct?                                           8   Correct?
 9         A. Well, I mean, my report was not              9       A. Well, actually, I'm not -- it's not
10      about price impact. His report was about price    10   something I wrote about. But as I sit here
11      impact.                                           11   now, if he was trying to prove there was no
12              That makes sense. Makes sense that        12   price impact, he would have to look at every
13      he should look at those dates to see if there     13   date to see if there was price impact on any of
14      was proof of price impact. But if he doesn't      14   the dates. There may have been price impact on
15      find -- I mean, if the test is inconclusive,      15   other dates that weren't identified as a
16      you can't draw the conclusion that there was no   16   realization of the risk date or as a
17      price impact.                                     17   misrepresentation date. I mean --
18         Q. Well, there's only two sets of dates        18       Q. What other dates are you referring
19      that it made logical sense for him to look at.    19   to?
20      Correct?                                          20       A. Other dates in the class period.
21         A. Do you mean the misrepresentation           21   There were -- I mean, if -- the allegations are
22      dates and then the disclosure date?               22   that the company concealed various exposures
23         Q. Right.                                      23   and risks and deficiencies at the company from
24         A. Right.                                      24   the investing public, and because of that, the
25         Q. And so --                                   25   marketplace was surprised when poor performance

                                           Page 621                                               Page 622
 1           Steven P. Feinstein, PhD, CFA                 1          Steven P. Feinstein, PhD, CFA
 2     resulted.                                           2   former officers, actually made
 3             So you might want to look on other          3   misrepresentations or omissions?
 4     dates in addition to the November 20, 2007,         4       A. No.
 5     date to see if there was a surprise about poor      5       Q. Now --
 6     performance or adverse developments on other        6       A. But the test would require that he
 7     case as well. I don't think it needs to be --       7   accept as a working hypothesis plaintiffs'
 8     it should be limited to just the dates that are     8   allegations.
 9     cited in the complaint.                             9       Q. Why is that?
10         Q. Well, let's be specific. If he's            10       A. Because that's what he's trying to
11     not supposed to only test the dates on which a     11   test. Did the information that plaintiffs
12     misrepresentation or omission was made, in the     12   allege was concealed have an impact on the
13     date on which the plaintiff says that there was    13   price, either moving it up or moving it down.
14     either a corrective disclosure or the              14   And it doesn't necessarily have to be on a
15     materialization of an allegedly concealed risk,    15   disclosure date or -- a disclosure date that
16     what other dates do you think he should have       16   was cited by the lawyers or even a
17     been testing?                                      17   representation date cited by the lawyers --
18         A. He should have examined at least the        18       Q. You believe --
19     news on each date to see if there were other       19       A. -- in order to see -- in order to
20     dates on which the market was surprised by         20   see if, in fact, the information that they
21     developments on account of having been deceived    21   allege was concealed had an impact on the
22     about the company's condition.                     22   price.
23         Q. Have you drawn a conclusion about           23           So I just want to be clear that the
24     whether or not the defendant in this case, the     24   test -- you said does he only have to test
25     defendants, Freddie Mac and several of its         25   those dates, and this is the reason why I would



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 1            Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2      think he would need to test more than just        2      Q. And that news review informed the
 3      those dates. He'd have to do his own              3   rule that you chose for selecting news for your
 4      independent evaluation of which dates need to     4   collective test?
 5      be tested, not just picking the dates out of      5      A. Yes.
 6      the complaint that were mentioned.                6      Q. And it also informed your decision
 7          Q. You think he would need to review          7   on what date to test for your event study?
 8      the news on every date of the class period?       8      A. The single-event event study, yes.
 9          A. Like I did, yes.                           9      Q. And you ultimately determined that
10          Q. And you reviewed the news on every        10   there was only one appropriate date to test for
11      date of the class period for the purposes --     11   your single-date event study. Is that right?
12      for the purpose of identifying a material news   12      A. Yes.
13      date or dates to test. Is that right?            13      Q. And that was based on that news
14          A. Well, for determining what would be       14   review?
15      a reasonable selection rule for a collective     15      A. The news review. The analyst's
16      event study test and for then picking those      16   commentary. Company statements. All of the
17      dates.                                           17   information about the company.
18          Q. And in connection with that effort,       18      Q. Okay. Now --
19      you reviewed the news relating to Freddie Mac    19      A. Well, I identified that there was
20      on every date of the class period?               20   one best date to test. There may have been --
21          A. Yes.                                      21   but Dr. Bajaj didn't recommend that there
22          Q. And was your news review limited to       22   should have been other dates.
23      the New York Times and Wall Street Journal?      23      Q. Do you believe there were other good
24          A. No. It's cited in my exhibit, in          24   dates to test?
25      the first report, which articles I looked at.    25      A. I found that the -- I determined no,

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 1           Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2     in the course of my analysis.                      2   impediments to arbitrage using a sample of 82
 3         Q. Now, let me turn your attention to          3   situations between 1985 and 2000 where the
 4     page 8 of your rebuttal report. Do you see in      4   market value of a company is less than that of
 5     paragraph 27 you're discussing anomalies           5   its ownership stake in a publicly traded
 6     observed in the literature?                        6   subsidiary."
 7         A. Yes.                                        7           Do you see that?
 8         Q. Okay. And in the middle of that             8       A. Yes.
 9     paragraph, you write, "Dr. Bajaj references        9       Q. And are those 82 situations among
10     four academic articles in which the authors       10   the handful of events you were referring to in
11     investigate anomalous events where a handful of   11   the earlier sentence in paragraph 27?
12     stocks exhibited isolated and brief periods of    12       A. Yes. I mean, it's a 15-year period
13     inefficiency."                                    13   and there are between 4- and 10,000 publicly
14             Do you see that?                          14   traded stocks in that period. That would --
15         A. Yes.                                       15   that's a handful, yes.
16         Q. And then at the bottom of that             16       Q. And so over that 15-year period, it
17     paragraph, in connection with discussing an       17   appears that there's five or so companies a
18     article in the Journal of Finance, you            18   year that fall into this category, on average?
19     mentioned that -- or you can even go to the top   19       A. I didn't do that math, but I mean, I
20     of page 9, where you write, "For example, one     20   consider 82 to be a small number relative to
21     study examines impediments to arbitrage" --       21   the 4,000 to 10,000 publicly traded companies
22         A. Wait. I lost you. Where are you?           22   over that period in the United States.
23         Q. The top of page 13 of 17.                  23       Q. Now --
24         A. "For example, one study." Okay.            24       A. And then the rest of the paragraph,
25         Q. "For example, one study examines           25   I mean, says that it's not necessarily a



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                                           Page 627                                              Page 628
 1            Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2     profitable -- it's not necessarily profitable       2   both on the unpooled standard error and the
 3     information to know that this price anomaly may     3   inclusion of a continuity correction. Right?
 4     have been apparent.                                 4      A. Well, it has -- yes.
 5         Q. Let me turn your attention to --             5      Q. Now, the first paragraph,
 6     now, do you recall that I previously asked you      6   paragraph 92, relates to the unpooled issue,
 7     about a pooled estimate of the standard error       7   and the second paragraph relates to the
 8     based on both populations at your -- on the         8   continuity correction. Right?
 9     first day of your deposition?                       9      A. No. The second paragraph has the
10         A. I do.                                       10   two combined, the two effects combined. So
11         Q. And in your rebuttal report, you            11   they're not taken independently.
12     addressed the pooled versus unpooled issue.        12      Q. I see.
13     Correct?                                           13           Now, in the first paragraph, you
14         A. Yes.                                        14   write -- in the third sentence, you write,
15         Q. Now, let me turn your attention to          15   "That is, while I dispute the need for a
16     that section of your rebuttal report, which, if    16   variance adjustment or an alternative variance
17     I get there quickly enough, it's on page 36 of     17   estimator, making the changes Dr. Bajaj
18     70 or page 32.                                     18   recommends has absolutely no effect on the
19             Do you see that?                           19   qualitative results and conclusions of the
20         A. Yes.                                        20   test."
21         Q. That's subsection T?                        21           Do you see that?
22         A. Yes.                                        22      A. That's correct.
23         Q. And you write in the middle of the          23      Q. Now, why do you dispute the need for
24     first paragraph -- strike that.                    24   a variance adjustment or an alternative
25             So this is a section in D that's           25   variance estimator?

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 1             Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2          A. Because under the null hypothesis           2      A. Sure.
 3      that's being tested, the pooled estimator gives    3      Q. Who did you talk to?
 4      you better Type I and Type II error. So it's       4      A. Miguel Villanueva.
 5      the better estimator. Moving to an unpooled        5      Q. Anyone else?
 6      weakens the test unnecessarily.                    6      A. No.
 7          Q. And so do you believe there's any           7      Q. And what did Miguel say to you and
 8      circumstance where it's appropriate to use the     8   what did you say to him regarding the pooled
 9      unpooled approach?                                 9   versus unpooled approach?
10          A. Yes.                                       10      A. I don't recall specifically. I
11          Q. And what is that circumstance?             11   mean, it's never been an issue for me or for
12          A. If the hypothesis of any quality was       12   Miguel because of the diagnostics we ran and
13      in the opposite direction, that -- well, in       13   which we presented to you, which are immune
14      this case, in my case, the null hypothesis was    14   from this criticism, which don't require a
15      that the news events had a lower incidence of     15   decision as to whether to use pooled or
16      significance. If the null hypothesis was the      16   unpooled, but also because the test had passed
17      opposite, then the unpooled variance would be     17   the diagnostics previously, so it just didn't
18      more -- would be appropriate.                     18   matter.
19          Q. Do you recall during the first day         19      Q. Is Miguel -- Miguel works at your --
20      of your deposition me asking you questions        20      A. Yes.
21      about the pooled versus unpooled approach?        21      Q. -- company. Right?
22          A. Yes.                                       22      A. Right.
23          Q. And after that first day, did you          23      Q. Is he also a professor at Babson?
24      talk to anyone about the pooled versus unpooled   24      A. No.
25      approach?                                         25      Q. Is he affiliated at Babson in any



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                                          Page 631                                               Page 632
 1          Steven P. Feinstein, PhD, CFA                 1         Steven P. Feinstein, PhD, CFA
 2     way?                                               2   variance. I did some analysis there, and it
 3         A. No.                                         3   just further confirmed that what I had told you
 4         Q. Was he a student of yours?                  4   in the last deposition was correct: this is a
 5         A. No.                                         5   nonissue.
 6         Q. Now, after the first day of your            6       Q. Did you do an analytical evaluation
 7     deposition, did you read any literature            7   of the power of the test in this case after
 8     regarding the pooled versus unpooled approach?     8   your deposition?
 9         A. I don't know the exact timing. I            9       A. I don't know whether it was in this
10     know the issue's been raised in other cases, so   10   case. I mean, the issue has been raised in
11     I've looked at it. I don't recall whether it      11   other cases as well, and at some point I did
12     was before or after.                              12   it.
13         Q. But you do recall reviewing                13       Q. When you say it just further
14     literature regarding the pooled versus unpooled   14   confirmed that what you told me in the last
15     approach?                                         15   deposition was correct, did you have in mind
16         A. Yes.                                       16   work that you had actually done in this case?
17         Q. What literature did you review?            17       A. I don't -- no. I remember that at
18         A. There's literature on the subject.         18   the time I was -- at the time of the
19     It's in statistical books and journals. I also    19   deposition, based on everything I had done up
20     did my own analysis. There's analytical --        20   to the deposition, which I conveyed to you, I
21     rather than just blindly accepting what's in a    21   was satisfied it was a nonissue, and I'm still
22     general textbook, one can do an analytical        22   satisfied it was a nonissue. I don't remember
23     evaluation of the power of the test, the Type I   23   exactly the timing of when I did further
24     error and the Type II error of a test, with and   24   analysis. I'm planning to write -- I'm
25     without -- with pooled and with unpooled          25   planning to write an article on the subject.

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 1            Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2             Actually, I think it was long after        2   given what the null hypothesis is.
 3     the deposition, so I shared some of these ideas    3      Q. When you say --
 4     with statistics professors at Babson. I am         4      A. Usually there's a trade-off of
 5     100 percent convinced I'm right and can prove      5   Type I and Type II error. In this case, they
 6     it.                                                6   both move in a better direction using the
 7         Q. What statistics professors did you          7   better estimator.
 8     share these ideas with?                            8      Q. And when you say "in this case," you
 9         A. I don't know. I just -- my office           9   mean the Freddie Mac case?
10     recently changed at Babson, so I'm actually       10      A. Yeah.
11     surrounded by a number of them and I don't        11      Q. And do you have calculations that
12     remember specifically who I talked to. But        12   show that?
13     when they asked what I was working on, because    13      A. No. These were scratch paper,
14     I was meeting a new group of people at the        14   back-of-the-envelope things in an academic
15     school, I said this might be -- this is           15   setting. I didn't save any notes. When it's
16     something that I'm interested in working on and   16   published, I'll send it to you.
17     that it might be of interest to them as well.     17      Q. Are you planning to testify in this
18         Q. Do you remember any of them                18   case that the power of the test increases and
19     expressing an opinion to you regarding the        19   the Type I error decreases if you use the
20     merits of the pooled versus the unpooled          20   pooled variance?
21     approach?                                         21      A. No. What I would testify in this
22         A. I think they liked what I found. In        22   case is that it's moot. It's moot even
23     this particular case, you can prove that the      23   according to Dr. Bajaj's own work. That's
24     power of the test increases and the Type I        24   enough. The rest, I'll save for an academic
25     error decreases if you use the pooled variance,   25   setting.



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                                           Page 635                                               Page 636
 1            Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2          Q. Why do you believe it's moot even           2   unfair. Yeah, it's not unfair, it's just
 3      according to Dr. Bajaj's own work?                 3   uninformative. I mean, it's a waste of -- it's
 4          A. It says so in paragraph 92, that            4   a waste. Leave it at that.
 5      when he changed it, he got a Z-statistic of        5       Q. You think those three diagnostic
 6      2.32, which is still significant at the            6   tests that you just mentioned are very
 7      95 percent level.                                  7   important?
 8          Q. Do you believe that it's unfair for         8       A. Only because he raised the issue,
 9      Dr. Bajaj to identify what he perceives as a       9   the diag -- and he recognized in his report
10      number of errors that you've made and to assess   10   that he raised the issue. So he knows that
11      them collectively and identify that they do       11   those tests were run. He knows what the
12      have a qualitative effect on your results?        12   results of those tests were. That should have
13          A. In this setting, actually, yes,            13   been enough to prove to him that it's moot.
14      because he's being one-sided. He's not            14       Q. He addressed those issues, those
15      pointing out that the binomial test, the          15   tests in his report, didn't he?
16      bootstrap test, and the Fisher exact test all     16       A. Do you want to show me where? I
17      -- none of those have a requirement that you      17   don't think he --
18      make a decision between using a pooled and        18       Q. You don't recall?
19      unpooled variance. So it sidesteps the issue      19       A. I don't recall that he -- my
20      that he considers to be important. And all        20   recollection is that he disregarded them, that
21      three of those tests confirm the result of the    21   he did not address them appropriately. The
22      z-test.                                           22   appropriate response to seeing that all three
23              So the fact that he simply                23   diagnostic tests confirmed the z-test is that
24      disregards the fact that there's analytic and     24   whatever academic disagreement we may have
25      empirical proof that the argument is moot is      25   about the proper construction of the variance

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 1            Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2     estimator is moot and has no bearing on whether     2           In that case, do you believe that
 3     or not Freddie Mac stock traded in an efficient     3   you should have used a continuity correction?
 4     market over the course of the class period.         4       A. Not necessarily, because there are
 5         Q. Now, in paragraph 92, do you see             5   diagnostic tests that prove that the choice of
 6     where I read a moment ago that you "dispute the     6   using a continuity correction or not doesn't
 7     need for a variance adjustment or an                7   matter. The facts, the empirics, the stock
 8     alternative variance estimator"?                    8   returns prove that Freddie Mac stock moved more
 9             Do you see that?                            9   on high news-flow days than on all the other
10         A. Yes.                                        10   days. It's an undisputable fact, given the
11         Q. Now, in paragraph 93, you don't say         11   prices and the collection of tests.
12     that you dispute the need for a continuity         12           The explanation for why when he
13     correction. Correct?                               13   bends over backwards and then not only makes
14         A. I say it's moot. I mean, I --               14   these two corrections but also throws out an
15     correct.                                           15   important date, why he would get an
16         Q. Now, do you dispute that you should         16   inconclusive result instead of a statistically
17     have used a continuity correction?                 17   significant finding reasonably is more because
18         A. I dispute that it's a relevant              18   of how he weakened the test than how the market
19     issue.                                             19   may have been weak in the first place.
20         Q. Well, assume for a second that you          20       Q. Well --
21     conducted a test and that all the facts were       21       A. This is what he's -- what he's doing
22     the same here. But if you used the continuity      22   is -- he can't do anything to change the market
23     correction, it would have rendered your results    23   from being efficient to inefficient, but he can
24     qualitatively different than if you hadn't used    24   raise issues that give the appearance of the
25     it.                                                25   test failing to find the efficiency, and that's



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 1           Steven P. Feinstein, PhD, CFA                 1         Steven P. Feinstein, PhD, CFA
 2     what he's done here.                                2   BY MR. FRANK:
 3             So if what we're after is the               3       Q. Now, with respect to the pooled
 4     truth -- and that is what we're after -- then       4   versus unpooled approach, you didn't have any
 5     he should have looked at all four versions          5   concerns about Dr. Bajaj's actual calculations.
 6     collectively rather than just continue with         6   Correct?
 7     this critique combining a continuity                7       A. No.
 8     correction, an unpooled variance, and a             8       Q. Okay. And after the first day of
 9     dismissal of an important event date.               9   your deposition in this case, did you make any
10        Q. Is it fair to say, then, that from           10   effort to determine whether or not Ferrillo,
11     your perspective, the failure to include a         11   Dunbar, and Tabak used the unpooled calculation
12     continuity correction is an immaterial error?      12   in their article that discusses the z-test?
13        A. In the context of all the findings,          13       A. Yes. I looked at the footnote you
14     yes. Absolutely.                                   14   directed me to, and it doesn't have the words
15        Q. Now, let me turn to --                       15   "pooled" or "unpooled" in there at all.
16        A. Can we have just a one-minute break?         16       Q. Well, did you do anything to attempt
17        Q. Sure.                                        17   to replicate their calculation?
18        A. I just left my water outside.                18       A. I don't recall.
19             MR. FRANK: Off the record.                 19       Q. As you sit here today, do you know
20             THE VIDEOGRAPHER: The time now is          20   whether or not FDT used a pooled or unpooled
21        13:29, and we're off the record.                21   approach in their calculation in that article?
22             (Recess taken from 1:29 to 1:30            22       A. What I did check was a Tabak report
23        p.m.)                                           23   where he used the test, and I saw that he used
24             THE VIDEOGRAPHER: The time now is          24   the pooled variance in that report. But
25        13:30. We're back on the record.                25   because it's a moot issue, I didn't discuss it.

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 1            Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2      But it was something I was looking at. I           2       Q. Well, to be clear, let -- and this
 3      remember -- you actually mentioned, I think, in    3   will help if we go --
 4      the second deposition, you know, what would        4       A. Sure.
 5      Tabak say? So I wanted to go see what Tabak        5       Q. -- just help us get out of here a
 6      did. But I didn't -- it's been a while. I          6   little bit earlier.
 7      just don't recall one way or the other.            7            You didn't believe that Dr. Bajaj
 8         Q. Do you believe you saw an article            8   made any calculation mistakes in connection
 9      where Tabak used a pooled approach?                9   with his calculations of the continuity
10         A. No. It was a forensic report.               10   correction. Correct?
11         Q. Where he was testifying on behalf of        11       A. That is correct.
12      a plaintiff?                                      12       Q. Okay. Did you talk to anyone after
13         A. I don't recall which side he was            13   the first day of the deposition about the use
14      testifying for.                                   14   of a continuity correction?
15         Q. Do you remember which report it was?        15       A. No.
16         A. I don't. I don't.                           16       Q. Did you read any literature about
17         Q. And you didn't mention it in your           17   the use of a continuity correction?
18      rebuttal report. Is that right?                   18       A. I think I did, yes.
19         A. Correct.                                    19       Q. What literature did you review, if
20         Q. Now, with respect to the continuity         20   you recall?
21      correction, you didn't have any concerns about    21       A. I don't recall.
22      Dr. Bajaj's calculations with respect to that.    22       Q. And do you remember the substance of
23      Correct?                                          23   what you read?
24          A. Well, my concern was that it was           24       A. The substance was what the intent of
25      unnecessary.                                      25   a continuity correction was.



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 1             Steven P. Feinstein, PhD, CFA               1           Steven P. Feinstein, PhD, CFA
 2          Q. You came to understand what the             2   test, the binomial test, and the bootstrap test
 3      intent of a continuity correction was?             3   commonly referred to as diagnostic tests?
 4          A. Right.                                      4       A. Well, in this case, it is. I mean,
 5          Q. And what's that intent?                     5   it is -- that's what they are. I don't know
 6          A. Well, the same thing as the intent          6   how other people refer to them.
 7      of using Fisher's exact test as a diagnostic.      7       Q. It's not your experience that people
 8               Actually, Dr. Bajaj actually              8   generally refer to those tests as diagnostic
 9      explains the theory pretty well in his report,     9   tests?
10      that it's -- it has to do with when the sample    10       A. I think they could. I mean, someone
11      is relatively small, an adjustment to account     11   understanding what the issue here was, that
12      for the binomial distribution not converging to   12   there's a z-test, and there was a challenge to
13      the normal distribution smoothly.                 13   the z-test on the basis of the sample size. I
14               But a better correction or               14   think it's reasonable that someone would say,
15      adjustment or diagnostic is to use Fisher's       15   well, let's run the Fisher exact test as a
16      exact test, and why he didn't do that or why he   16   diagnostic test to see if it supports the
17      didn't base his conclusion on that is             17   finding of the z-test or not.
18      mysterious.                                       18       Q. I'm just trying to understand how
19          Q. Well, Fisher's exact test isn't a          19   these terms are commonly used in your
20      correction or an adjustment, is it?               20   community.
21          A. It's a diagnostic of this z-test.          21            Are these three tests -- the
22      It's an alt --                                    22   bootstrap test, the binomial test, and the
23          Q. Now, you used the word "diagnostic."       23   Fisher's exact test -- commonly referred to in
24      In the academic community, the financial          24   your economic community as diagnostic tests?
25      economist community, are the Fisher's exact       25       A. They're not commonly referred to,

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 1            Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2     period, all of these tests, because there's a       2   allowing me the verbal exam.
 3     whole battery -- there's libraries full of          3       A. I don't know. I don't know what
 4     statistical tests for different purposes. So        4   you're getting at. I don't know how to answer
 5     that's why, you know, it's not something that       5   the question.
 6     would -- would be raised in a lunchtime             6       Q. Now, turning to paragraph 98 of your
 7     conversation on a regular basis.                    7   report, do you see that you discuss the issue
 8             However, I mean, I'll grant that            8   of subinterval examinations?
 9     some people might consider these alternative        9       A. Where? What paragraph are we on?
10     tests. But when the alternative tests are run      10       Q. Paragraph 98.
11     to confirm the original test, I think it's         11       A. Yes.
12     reasonable to refer to them as a diagnostic        12       Q. Okay. And you discuss this, the
13     test.                                              13   subinterval issue, in paragraphs 98 and 99?
14         Q. Now, what -- turning to the issue of        14       A. Yes.
15     dummy variables, do you remember discussing        15       Q. And is it correct to say that it's
16     dummy variables in your rebuttal report?           16   your view that it was appropriate to examine
17         A. Yes.                                        17   the data in the Eletrobras case because the
18         Q. Okay. What, if any, relationship is         18   class period was longer than it is in this
19     there between using a pooled approach and using    19   case?
20     dummy variables?                                   20       A. Well, the longer class period
21         A. That's such a vague question.               21   allowed one to test, with a reasonably powerful
22             I don't know. That's a better              22   test, subperiods. It wasn't necessary in
23     question for a take-home exam than an oral         23   Eletrobras, and it wasn't necessary in this
24     exam.                                              24   case.
25         Q. Unfortunately, Mr. Markovits is only        25       Q. So why did you do it in Eletrobras?



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 1             Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2           A. Well, it was a longer class period         2      A. It would have been -- well, no. It
 3      so it was possible to run the test on              3   was -- it would be weaker in this case to
 4      subperiods, but it wasn't necessary there,         4   divide the period because each period would be
 5      either. It was possible to do it, so I thought     5   smaller than the periods -- the divided periods
 6      maybe there's some additional information for a    6   in Eletrobras.
 7      four-year class period could be gathered from      7      Q. Well, when you divided the periods
 8      doing it that way. But it was not necessary        8   in Eletrobras, did you create a situation where
 9      there, just as it's not necessary here.            9   the test in Eletrobras was weaker?
10               But not only is it not necessary         10      A. Absolutely. The power of the test
11      here, dividing up a 16-month class period into    11   is weaker in those subsections. I believe in
12      two or three pieces weakens the test. So when     12   Eletrobras I may have also looked at it
13      you find a nonsignificant or an inconclusive      13   collectively. I just don't recall. But, I
14      finding, it's not a finding about the market.     14   mean, when you divide a four-year period, it's
15      It's a finding about the power of the test.       15   not going to be as big an issue, as much of an
16           Q. Well, it weakens the test only            16   effect on the power of the test as when you
17      because there were only so many dates that you    17   divide a 16-month class period.
18      tested using your New York Times/Wall Street      18      Q. And why were you willing to make the
19      Journal rule. Correct?                            19   test weaker in Eletrobras?
20           A. No. It weakens the test because           20       A. Because it didn't make the test much
21      it's a shorter period. It's a shorter period      21   weaker when you've got a four-year class period
22      with necessarily fewer news events and fewer      22   to work with.
23      non-news events.                                  23      Q. And is there a way to measure how
24           Q. So it was a weaker test than              24   much weaker you make the test when you
25      Eletrobras because you divided the periods?       25   divide -- divide it?

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 1             Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2          A. Well, I mean, there are -- there is         2      A. Well, if the class period had been
 3      analysis. There's test power analysis. What        3   just the first couple years, would that class
 4      I -- again, I didn't think that was necessary      4   period have been provably efficient.
 5      to do, given that from my experience in            5      Q. In other words, you were able to
 6      statistical principles, a two-year period is       6   identify additional information regarding the
 7      plenty -- will produce a plenty strong enough      7   different stock price behaviors in the
 8      test.                                              8   different periods?
 9          Q. Now, you earlier testified that by          9      A. Over a four-year period, that's a
10      dividing the periods, you were able to obtain     10   more relevant question than it is over a
11      additional information.                           11   16-month period.
12              Do you recall that?                       12      Q. Why do you say that?
13          A. Right. But it wouldn't be the case         13      A. Less changes over 16 months than
14      if you did it in a 16-month period, because,      14   over four years. Less reasonably could change.
15      again, you'd be learning more about the test      15   More things can change over four years than
16      and the test power -- the test weakness,          16   would change over 16 months.
17      really -- rather than any weakness in the         17      Q. Isn't it a fact that this was a
18      market.                                           18   particularly turbulent market in the latter
19          Q. So let's talk about Eletrobras for a       19   half of 2007?
20      second. You said that in Eletrobras, by           20      A. Right, which makes it particularly
21      dividing the test, you were able to obtain        21   important that the event in the single-event
22      additional information. Correct?                  22   study, single-event event study that was tested
23          A. Right.                                     23   was during that most turbulent piece. If the
24          Q. What is the additional information         24   data proved the market efficient using the most
25      you were referring to?                            25   turbulent piece, you can infer that in less



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 1            Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2      turbulent times, the market would have been        2   that's why in this case it wasn't necessary to
 3      behaving well, as well.                            3   establish a bright line for how long would have
 4         Q. So based on that one date event              4   been too long and how long would have not been
 5      study, you believe you can draw inferences         5   long enough.
 6      about what happened during earlier periods?        6      Q. What period is long enough such that
 7         A. Well, that's the question you've             7   you can divide it up?
 8      asked so many times now, and I know I'm -- I       8      A. I can tell you four years could
 9      want to give short answers, but I just wouldn't    9   easily be divided up. I wouldn't have a
10      want to allow my answer to be taken out of        10   problem with dividing a four-year period up.
11      context.                                          11      Q. What about three years?
12              My conclusions are derived from a         12      A. I might. I don't know. I'd have to
13      holistic examination of all the tests. I'm not    13   think about that some.
14      going to -- I didn't draw it just from any one    14      Q. Have you divided up class periods in
15      finding.                                          15   other cases?
16         Q. Now, in terms of drawing this               16      A. Yes.
17      distinction between Eletrobras and this case,     17      Q. What other cases?
18      one case having a long enough class period to     18      A. I don't recall, but I know I have.
19      divide it into subintervals and this case not,    19      Q. What's the shortest class period
20      what is the line? What is too long? What's        20   that you've divided up?
21      too short?                                        21      A. I don't recall. I'm sure you'll
22         A. I don't know. I never really had to         22   look it up.
23      consider that. I can tell you that -- well,       23      Q. Shorter than four years?
24      see, the thing is you don't need to divide it     24      A. Probably.
25      up. It's just that in some cases you can. So      25      Q. Now, in Dr. Holman's report --

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 1            Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2      strike that.                                       2   Correct?
 3              In response to Dr. Holman's report,        3      A. Right.
 4      Dr. Bajaj recognized a structural break on         4      Q. And you used a Chow test. Right?
 5      August 9, 2007. Correct?                           5      A. Yes.
 6          A. He does.                                    6      Q. Had Dr. Bajaj used a Chow test or
 7          Q. And --                                      7   was that your own idea?
 8          A. And he says there was no break              8      A. I usually use a Chow test. I don't
 9      before that. That's what he said in response       9   recall whether he did or not.
10      to Dr. Holman.                                    10      Q. Okay.
11          Q. I don't believe you're fairly              11      A. I think he might not have. But I
12      characterizing the record, but we -- your         12   don't recall.
13      counsel can explore that with you at another      13      Q. And based on your use of the Chow
14      time.                                             14   test, you discovered that Dr. Bajaj was
15              Now, he found that taking that            15   correct. Right?
16      structural break into account affected            16      A. That it was reasonable to break the
17      Dr. Holman's calculations. Correct?               17   class period there for statistical purposes,
18          A. It affected his -- right -- his            18   not for market efficiency purposes. There was
19      calculation of background volatility such that    19   no reason that the market should necessarily be
20      he challenged the finding of significance of      20   inefficient prior to that when it was easily
21      one earnings date.                                21   observed to be efficient subsequent, although
22          Q. Now, when you were tasked in this          22   different statistics would -- calculations
23      case with the assignment for testing for market   23   would have to be run separately for the two
24      efficiency, you tested whether Dr. Bajaj was      24   pieces.
25      correct about a structural break on August 9th.   25      Q. Right. Because the way you test for



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 1            Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2     market efficiency is by using statistical          2           When Dr. Bajaj identified a
 3     techniques. Correct?                               3   structural break on February 27, 2007, he
 4         A. In addition to the Cammer and               4   criticized you for not taking that into account
 5     Unger -- other Cammer and Unger factors, which     5   in your analysis. Correct?
 6     is one of the reasons those are important          6       A. I'm not sure he really did. He said
 7     factors too.                                       7   there was one, but it's not clear whether he
 8         Q. Well, when you have these different         8   found it from data snooping or whether there
 9     periods of time and you're assessing for market    9   really was one.
10     efficiency using statistics, the two different    10       Q. You don't think he criticized you
11     periods matter. Correct?                          11   for not taking that into account?
12         A. Right.                                     12       A. No, no. I was taking issue with the
13         Q. Okay. Now, in response --                  13   premise of your question. You said when he
14     responding to your report, Dr. Bajaj recognized   14   found it. Depends what you mean by "found it."
15     a structural break on February 27, 2007.          15   Does it really exist and he detected it, or did
16     Correct?                                          16   he go data snooping to find a date that he
17         A. He proposed that there was one.            17   could say was a break? It's not clear.
18     It's not clear how he arrived at that when he     18       Q. Well, regardless --
19     previously said that there was constant           19       A. Given that he previously said he
20     volatility over that stretch of time prior to     20   tested the data and hadn't found a break there,
21     the break he previously said was the only         21   I went with the latter hypothesis that it's not
22     break.                                            22   a legitimate break and is just a statistical
23         Q. Putting aside any characterizations        23   remnant of data snooping.
24     or mischaracterizations of Dr. Bajaj's            24       Q. Again, putting aside your
25     testimony, let me ask you this.                   25   mischaracterizations of Dr. Bajaj, let me ask

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 1           Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2     you this.                                          2   data snooping.
 3             MR. MARKOVITS: Objection. I                3       Q. You didn't mention that in your
 4         believe it's not a mischaracterization. If     4   rebuttal report, did you?
 5         you want to take that out of the question,     5       A. No, I do.
 6        you can ask him a question.                     6       Q. Where in your rebuttal report do you
 7             MR. FRANK: I'm going to ask him a          7   state that you ran a Chow test on February 27,
 8        new question. And you can ask him anything      8   2007?
 9        you want about Dr. Bajaj's testimony at         9       A. I told you I checked his analysis.
10         another time.                                 10   I checked his numbers. But I was not convinced
11        Q. Dr. Bajaj criticized you for not            11   that that was a legitimate break. It's
12     taking into account a structural break on         12   page 34, part G. Dr. Bajaj's identification of
13     February 27, 2007, in your analysis. Correct?     13   an additional structural break appears to be an
14        A. Yes.                                        14   exercise in data snooping.
15        Q. Okay. And so you tested whether or          15           So I'm not disputing his arithmetic,
16     not he was correct about there being a            16   but I am disputing his scientific method.
17     structural break there by using a Chow test.      17       Q. Well, so let me be clear here,
18     Right?                                            18   because I don't believe it says this in your
19         A. That's not quite accurate. I tested        19   report. So I just want the record to be clear.
20     what a Chow test would show for that particular   20           You actually ran a Chow test on
21     date.                                             21   February 27, 2007. Is that correct?
22        Q. What did it show?                           22       A. Yeah. I believe so.
23        A. It showed that there was the                23       Q. And I understand it's your view that
24     appearance of a structural break, but it could    24   Dr. Bajaj may have found that as a result of
25     be a spurious result found by Dr. Bajaj from      25   data snooping. Is that right?



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 1           Steven P. Feinstein, PhD, CFA                 1          Steven P. Feinstein, PhD, CFA
 2        A. Yes.                                          2   was found.
 3        Q. Okay.                                         3       Q. And what did they -- and who was
 4        A. Meaning testing many different dates          4   that?
 5     and when previously he concluded an exact           5       A. That would be Miguel.
 6     opposite conclusion.                                6       Q. And what did he tell you he found?
 7        Q. Well, do you happen to know whether           7       A. That if you -- that if you did run a
 8     or not Dr. Bajaj tested many different dates?       8   test on that date, it would indicate a
 9        A. Not for sure.                                 9   significant -- a statistical structural break.
10        Q. You suspect he did?                          10   Not a market efficiency break, but a
11        A. Yes.                                         11   statistical relationship break.
12        Q. Okay. Now --                                 12       Q. And that information was something
13        A. And then concocted an argument as to         13   you took into account in drafting your rebuttal
14     why that would be a legitimate date.               14   report. Correct?
15        Q. You suspect that?                            15       A. Right.
16        A. Yes.                                         16       Q. And do you happen to remember the
17        Q. Now --                                       17   numbers?
18        A. And the reason for that suspicion is         18       A. No.
19     his abrupt and dramatic change in opinion from     19       Q. Did you -- do you still have those
20     his prior report.                                  20   calculations?
21        Q. Now, do you happen to know what              21       A. I don't know. I mean, the purpose
22     the -- well, strike that.                          22   was just to, like I said earlier today, to
23             Did you run the Chow test yourself         23   verify his arithmetic and assertions.
24     or did someone on your team run the Chow test?     24       Q. And you agreed with his arithmetic,
25        A. Someone on my team, and told me what         25   if not his assertions. Correct?

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 1             Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2          A. Yes.                                        2   snooping.
 3          Q. And you don't mention that you agree        3      Q. You don't think it was relevant to
 4      with his arithmetic anywhere in this report.       4   the rebuttal that there actually was a
 5      Correct?                                           5   structural break on that date according to the
 6          A. Probably not.                               6   Chow test?
 7          Q. Is there a reason why you left out          7      A. I'm not sure there was. It says
 8      of your report that you ran the Chow test on       8   right here in 103, "Dr. Bajaj previously
 9      the February 27, 2007, date and that it            9   concluded that there was no structural break
10      confirmed that there was a statistically          10   prior to August 2007."
11      significant result on that date?                  11      Q. Where does he say in his testimony
12          A. There's a reason.                          12   that there was no structural break prior to
13          Q. Yeah. What's the reason?                   13   August 2007?
14          A. The evidence that it was data              14      A. In his deposition, January 11, 2013,
15      snooping, that this is not a legitimate           15   page 181, he said, "Well, there's a sudden
16      scientific method result.                         16   spike on August 9th." That's August 9, 2007.
17          Q. And so, as a result, you didn't want       17   "And if I recall correctly, the volatility
18      to disclose to me or to the court that you had    18   during the control period" -- that's the
19      run a Chow test and identified that the           19   earlier period -- "was almost identical to the
20      calculation was actually correct regardless of    20   volatility for the part of the class period
21      how it was found?                                 21   until August 8."
22          A. That's not a fair characterization.        22           So he's saying it's constant
23      It just wasn't relevant to the reply. What was    23   throughout.
24      more relevant was that it was clearly a --        24      Q. And so he was recalling from memory
25      clearly -- there were clear indications of data   25   the volatility of a control period compared to



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 1             Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2      the volatility for the part of the class period    2      Q. So there was no reason for Dr. Bajaj
 3      up to August 8th. Is that right?                   3   to attempt to identify structural breaks prior
 4          A. Well, it's not just that. He's --           4   to August 9, 2007, was there?
 5      in his response to Dr. Holman, he said he ran      5           MR. MARKOVITS: Objection. Calls
 6      structural break tests and found only this one.    6       for speculation.
 7          Q. But is he saying --                         7           You can make your arguments about
 8          A. He only reported -- well, just like         8      why Dr. Bajaj came up with this new theory,
 9      you said, he only reported that one of             9      but he -- you don't have to make the
10      August 9th.                                       10      arguments to Dr. Feinstein. That's more
11          Q. Do you know whether or not                 11      for brief.
12      Dr. Holman reported statistically significant     12           You're not questioning the witness
13      price movements on any dates prior to             13      now on what he put in his rebuttal report.
14      August 9th?                                       14      You're just arguing with the witness and
15          A. No. There were four nonsignificant         15      trying to excuse Dr. Bajaj changing his
16      and then the two. And he puts the break           16      testimony in his report, which is fine, but
17      exactly on the day of the second -- of the        17      why don't you do it in a brief rather than
18      first of the two significant earnings             18      here today.
19      announcements.                                    19           MR. FRANK: The witness has accused
20          Q. Of the two, there was one August 9th       20       Dr. Bajaj in his rebuttal report of data
21      and one on November 20th?                         21      snooping. I'm just exploring the basis for
22          A. Right.                                     22       that accusation.
23          Q. Now, is --                                 23           MR. MARKOVITS: I -- go ahead.
24          A. So that tells me that -- well, I'll        24   BY MR. FRANK:
25      wait for your question.                           25      Q. Now, in this document --

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 1             Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2          A. In his deposition -- on page 35 of          2       Q. And what are the variables in the
 3      my report, I cite his deposition. He didn't        3   model?
 4      just say he didn't test it. He said that the       4       A. Well, it's the return on the -- on
 5      earlier period was consistent.                     5   Freddie Mac stock, the return on the PeerIndex,
 6          Q. Well, my question was was there a           6   return on the market index, and an intercept
 7      reason for Dr. Bajaj to attempt to identify        7   term.
 8      structural breaks prior to August 9, 2007?         8       Q. Is that all?
 9              Are you aware of such a reason in          9       A. Yes. I believe so, as I sit here
10      response to Dr. Holman's report?                  10   now. Maybe I'm missing something. But as I
11          A. Yes. I mean, if he was really              11   sit here now, I think that's it.
12      interested in running what he would consider to   12       Q. Now, let me turn your attention to
13      be valid statistical tests and that valid         13   paragraph 110 of your rebuttal report.
14      statistical tests have to be on periods where     14           Do you see there you say, "Dr. Bajaj
15      the dynamics are stationary, rather than          15   does not dispute that Freddie Mac stock
16      winning an argument with another expert, he       16   exhibited a statistically significant price
17      would have tested -- whatever -- whatever         17   decline following the 20 November 2007
18      motivated him to look for a break now should      18   corrective disclosure"?
19      have motivated him to look for a break then.      19           Do you see that?
20          Q. Doctor, is volatility the only             20       A. Yes.
21      factor in assessing a structural break?           21       Q. And then in the next sentence, you
22          A. No.                                        22   say, "Dr. Bajaj does not dispute that the
23          Q. What are other factors?                    23   residual decline on 20 November 2007 following
24          A. The relationship among the variables       24   the corrective disclosure that day was negative
25      in the model.                                     25   32.13 percent."



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                                          Page 667                                               Page 668
 1           Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2             Do you see that?                           2   actually just -- the word "corrective" is
 3        A. I don't think he disputed that.              3   appropriate in the sense that the allegation is
 4        Q. Now, do you see how you refer to the         4   that that day and the news that day dissipated
 5     disclosures on November 20, 2007, as corrective    5   inflation.
 6     disclosures?                                       6       Q. Now, are you aware that the
 7        A. Yes.                                         7   plaintiff in this case has argued both that
 8        Q. In connection with your work on this         8   November 20, 2007, disclosures represented
 9     case, have you formed a view that disclosures      9   corrective disclosures or, alternatively, that
10     that Freddie Mac made on November 20, 2007,       10   they represented materialization of allegedly
11     were corrective disclosures?                      11   disclosed risks?
12        A. In the sense that they -- we talked         12           Are you aware of that?
13     about this last time, that "corrective" could     13       A. First of all, allegedly undisclosed
14     either mean corrective of the information or      14   risks.
15     "corrective" could also mean corrective of the    15       Q. Oh. I apologize. Let me do it
16     inflation in the stock price.                     16   again. You're exactly right. I misspoke.
17             And the allegation is that the            17           Are you aware that the plaintiff in
18     events and the announcements of November 20,      18   this case has alleged both that the
19     2007, dissipated some artificial inflation that   19   November 20, 2007, disclosures represented
20     was in the stock price on that day and prior to   20   corrective disclosures or, alternatively, that
21     that day, that the market would not have been     21   they represented the materialization of
22     as surprised by the news that day had they been   22   allegedly undisclosed risks?
23     fully informed of conditions in the company       23       A. My understanding is that plaintiffs'
24     prior to that.                                    24   allegation is that the events of November 20,
25             So corrective in the sense -- I'm         25   2007, may have corrected the price but didn't

                                          Page 669                                               Page 670
 1           Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2     necessarily -- weren't necessarily a production    2       Q. Dr. Feinstein, I am showing you a
 3     of information that corrected what the             3   document that was previously marked as
 4     misunderstandings of the company were on           4   Exhibit 187.
 5     account of alleged misrepresentations and          5           Do you recognize Exhibit 187?
 6     omissions. So maybe the way you're using           6       A. Yes.
 7     "corrective" and the way the plaintiffs use        7       Q. Now, allow me to turn your attention
 8     "corrective" and the way I'm using "corrective"    8   to the page 71 of 370.
 9     are all -- are three different definitions.        9           Well, I'll back up.
10             But my understanding is that their        10           What is Exhibit 187?
11     argument is that it was a realization of the      11       A. This is Dr. Bajaj's report in
12     risk that day and that the stock price would      12   response to my report filed in this matter on
13     not have fallen as dramatically had there been    13   September 1st.
14     appropriate disclosure previously. That's the     14       Q. Thank you.
15     theory of liability.                              15           Now, let me turn your attention to
16             MR. MARKOVITS: Jason, can we take a       16   page 71 of 370.
17         short break?                                  17       A. Okay.
18             MR. FRANK: Sure.                          18       Q. Do you see on page 71 of 370 there
19             THE VIDEOGRAPHER: The time now is         19   is a table that is entitled "Table 2"?
20         14:01. We're off the record.                  20       A. Yes.
21             (Recess taken from 2:01 to 2:18           21       Q. And this table is entitled not just
22         p.m.)                                         22   "Table 2" but also "Dr. Feinstein's z-test and
23             THE VIDEOGRAPHER: The time now is         23   robustness check presenting his results
24         14:18. We're on the record.                   24   collectively and separately for regression
25     BY MR. FRANK:                                     25   estimation periods, as he did in the Eletrobras



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                                           Page 671                                               Page 672
 1             Steven P. Feinstein, PhD, CFA               1           Steven P. Feinstein, PhD, CFA
 2     case, by correcting his event study regression      2   Corrective Disclosure."
 3     model."                                             3            Do you see that?
 4               Do you see that?                          4       A. Yes.
 5         A. I see it. I disagree with it, but I          5       Q. Okay. And did your team
 6     see it.                                             6   double-check all of the calculations in this
 7         Q. You disagree that that's the title           7   table?
 8     of the table?                                       8       A. Probably not.
 9         A. No. I agree, but I don't think -- I          9       Q. So you, as you sit here today, you
10     disagree with what he wrote, that it's not         10   don't have any reason to believe that these
11     correcting any event study regression model.       11   calculations are incorrect, do you?
12     If anything, what he's doing is intentionally      12       A. Arithmetically?
13     eviscerating the power of the test.                13       Q. Let's just deal with arithmetically
14         Q. But you have no dispute that that is        14   right now.
15     how he labeled his table?                          15       A. I have no reason to believe not.
16         A. Correct.                                    16       Q. Okay. Now, do you understand what
17         Q. Okay. Now -- then underneath that           17   the first column is doing that is labeled
18     title, it says, "Freddie Mac collective test       18   "Dr. Feinstein Estimation Period 1a, 1b, and
19     robustness checks."                                19   2"?
20               Do you see that?                         20       A. I thought I did, but now that I look
21         A. I do.                                       21   at it, I'm puzzled. There's something wrong.
22         Q. Okay. And then it has two -- the            22       Q. Just let me know when you've had a
23     table kind of has two sections. Right? One is      23   chance to review everything you wish to review.
24     "WSJ/NYT News Event Days" and the other is         24       A. All right. I -- well, you correct
25     "WSJ/NYT News Event Days Excluding Alleged         25   me if I'm wrong. Do you want me to tell you

                                           Page 673                                               Page 674
 1            Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2      what it is?                                        2   the arithmetic. I do dispute the conclusions.
 3          Q. What you understand it to be.               3       Q. Now, when he takes into account the
 4          A. So he's running the -- he's testing         4   February 27, 2007, structural break, what
 5      for the statistical significance of the news       5   effect does that have on the statistical
 6      and non-news days, but use -- across the entire    6   significance of the bootstrap test results?
 7      class period in the first column, but using        7       A. I take issue with you saying he
 8      different regressions for each of the three        8   takes into account the break, because you're
 9      periods that he purportedly identifies.            9   assuming that there is, in fact, a break there
10          Q. If he takes into account the               10   and that it needed to be taken into account and
11      February 27, 2007, structural break, what         11   that it was appropriate to run a separate
12      effect does that have on the statistical          12   regression. I dispute all of that. But,
13      significance of the Fisher's exact test           13   nonetheless, if you do that calculation
14      results?                                          14   arithmetically, you arrive at these numbers.
15          A. Well, he says that it would not be         15           To me, as I read this, it looked
16      significant at the 5 or 10 percent level.         16   like he was bending over backwards to try to
17          Q. And do you disagree with his               17   arrive at numbers like this that just barely
18      calculation?                                      18   fall outside the 10 percent significance level
19          A. I don't -- like I said, I don't --         19   or 90 percent confidence level.
20      what I disagreed with when I read the report      20       Q. Well, your Chow test indicated there
21      was that it was necessary to break the period     21   was a structural break in February 2007.
22      into three periods. So that's why I wasn't as     22   Right?
23      involved in verifying these numbers. The          23       A. No. My Chow test said that if you
24      entire approach is misguided. But I -- as I       24   go -- that it -- but it could be spurious, that
25      sit here now, I don't have a reason to dispute    25   there was some -- I didn't dispute his



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                                          Page 675                                               Page 676
 1            Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2      arithmetic, but I disputed his scientific         2       Q. He never testified that there were
 3      process in concluding there was, in fact, a       3   no previous breaks. You're just making that
 4      break there.                                      4   up, aren't you?
 5          Q. What was his scientific process?           5      A. Not at all. I wrote -- I cited it
 6          A. Well, that's the problem. I mean           6   in my report, the portion of his deposition
 7      his process clearly was different from what he    7   where he said that the prior period was
 8      had applied in this very case earlier. He went    8   constant, and he also reported no prior breaks
 9      looking for more breaks.                          9   earlier in his earlier work, studying the very
10          Q. You don't know what his process was,      10   same data. The very same data.
11      do you?                                          11      Q. When you said you cited in your
12          A. His process was that while he             12   report, that was the volatility comment that
13      previously concluded there were no previous      13   you had read to us earlier into the record. Is
14      breaks, he now wanted to find some reason to     14   that right?
15      break the regression period up into smaller      15      A. Right.
16      pieces. That seems to be what his process was.   16      Q. Now, the binomial test results,
17          Q. That's your speculation?                  17   turning to that, when he takes into account the
18          A. No. No. That's what he did. I             18   February 27, 2007, structural break, what
19      mean, it's clear. It's indisputable that he      19   does -- what effect does that have on the
20      previously testified there were no previous      20   statistical significance of the binomial test
21      breaks. He previously found no previous          21   result?
22      breaks. And now, when he found a need to try     22      A. I take issue with the way you're
23      to cast some doubt on my findings, he's          23   phrasing the question. I mean, take into
24      changing his position and saying there is a      24   account, when he -- what we should say
25      break.                                           25   instead -- I'll answer the questions if you

                                          Page 677                                               Page 678
 1            Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2      phrase it this way.                               2   February 27, 2007, and that you came to believe
 3             When he breaks the period up into          3   on your own that there actually was a
 4      smaller regression samples, he's going to have    4   structural break on February 27, 2007. Okay?
 5      a weaker test that finds inconclusive results     5       A. Okay.
 6      each time.                                        6       Q. Assume that.
 7          Q. So assume for the sake of my next          7       A. Right.
 8      question that there actually is a structural      8       Q. Do you have any reason to believe
 9      break on February 27, 2007. Can you do that?      9   that the calculations that Dr. Bajaj included
10          A. Okay. I'll assume the hypothetical.       10   in his report in the first column of Table 2 on
11          Q. Assume that --                            11   page 71 of 370 is inaccurate in any way?
12          A. And that it was found without any         12       A. Under that hypothetical, no.
13      data snooping or without any data or             13       Q. Now, let me ask you this. Turn your
14      conclusion-driven process. Results -- without    14   attention, please, to paragraph 142 on page 63
15      a results-driven process. Without an objective   15   of 370.
16      of making it look like the news events behaved   16       A. Oh, I --
17      no differently than the non-news events.         17       Q. Page 63 of 370. Page 63 of 370.
18          Q. Well, here's the thing. Here's your       18       A. Okay.
19      problem. I'm allowed to choose the               19       Q. Okay. Do you see paragraph 142?
20      hypotheticals, so here's the hypothetical I'm    20           MR. MARKOVITS: Page 63 of 370?
21      going to choose.                                 21           MR. FRANK: I'm trying to help.
22          A. Okay.                                     22       Q. Do you see in paragraph 142 --
23          Q. Assume you ran a Chow test on your        23       A. Yes.
24      own, without anyone else suggesting it to you,   24       Q. -- it says, "There are at least
25      that identified a structural break on            25   three primary pieces of economic evidence



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                                           Page 679                                               Page 680
 1             Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2      establishing a structural break on February 27,    2       A. If you look at August 1, 2006, we're
 3      2007"?                                             3   north of 20 percent for the 30-day implied
 4              Do you see that?                           4   volatility. Again, why he chose that one
 5          A. I do.                                       5   instead of others is left unanswered. But
 6          Q. It says, "First, the VIX index and          6   we're north of 20 percent. And if we look at
 7      implied volatility for Freddie Mac stock           7   much of the period around April 2007, we're in
 8      starting on February 27, 2007, through August      8   the same ballpark.
 9      8, 2007, nearly doubled from their prior levels    9       Q. So you disagree with the statement
10      over the previous year."                          10   that the VIX index implied volatility for
11              Do you see that?                          11   Freddie Mac stock starting on February 27,
12          A. Yes.                                       12   2007, through August 8, 2007, nearly doubled
13          Q. Did you or anyone on your team check       13   from their prior levels over the previous year?
14      to see if that was true?                          14       A. Based on his own Exhibit 8, that
15          A. We looked at his graph. I looked at        15   would not be accurate for all dates.
16      his graph.                                        16       Q. Well, putting aside whether it's
17              Oh, wait.                                 17   accurate for all dates, did you disagree with
18          Q. Did you --                                 18   the statement generally?
19          A. Let me -- what does he -- he cites         19       A. Yes.
20      to Appendix VIII. And if you look at his          20       Q. Okay. And did you include that in
21      graph, and you look at the 30-day implied         21   your rebuttal report?
22      volatility, you see that for much of this --      22       A. No. And it's that I described that
23              MR. MARKOVITS: What's the page            23   I thought his scientific process was lacking
24          number at the top?                            24   and that I relied on the fact that he hadn't
25              THE WITNESS: 128.                         25   argued that there was a structural break ever

                                           Page 681                                               Page 682
 1             Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2      before, even though he examined the very same      2       A. And that's just not right.
 3      data previously.                                   3       Q. He actually did an average from
 4          Q. And so looking at Appendix VIII, you        4   August 1, '06, to February 26, '07. Right?
 5      don't see the difference between the period        5       A. Well, I know about the average. But
 6      leading up to February 27th and the period         6   as far as running the test, he wants to use
 7      after February 27th?                               7   this -- he wants to use this period from
 8          A. Well, I see -- if you look just             8   February 27, 2007, I believe it's through
 9      locally, there's a difference. But if you look     9   August of 2007, as one regression period.
10      at the entire period, you see there's plenty of   10       Q. Doctor, I assure you it will go so
11      dates within the August 1st to February 2007 --   11   much faster if you answer my questions. I'm
12      August 1, 2006, to February 1, 2007, that are     12   really -- that's the way this works.
13      the same level subsequently.                      13           So if you look at Appendix VIII, he
14              There's a bubble right at the             14   put on Appendix VIII the VIX average from
15      beginning and there's, of course, a -- he wants   15   August 1, '06, to February 25, 2007. Correct?
16      to -- he wants to run the test for February --    16       A. Yes.
17      for these dates around February. He wants to      17       Q. And that average was 11.5 percent.
18      run the test for February 27, 2007, on a period   18   Correct?
19      that includes August 1, 2007.                     19       A. Yes.
20              So there's his problem. He's saying       20       Q. And then he also put the VIX average
21      that this first hill in the end of February       21   from February 27 to August 8, 2007. Correct?
22      '07, beginning of March '07, is identical and     22       A. Right.
23      stationary relative to this period at the end     23       Q. And that average was 15.19 percent.
24      of the graph.                                     24   Is that right?
25          Q. Well, he actually --                       25       A. I'm not going to dispute that you're



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 1            Steven P. Feinstein, PhD, CFA                1         Steven P. Feinstein, PhD, CFA
 2     reading the table right. You're just                2   chairman Alan Greenspan warned of the
 3     interpreting it wrong.                              3   possibility of a recession in 2007"?
 4        Q. And --                                        4           Do you see that?
 5        A. Because what he did with that is he           5      A. Right.
 6     said that let's run an event study on -- for a      6      Q. Do you have any reason to believe
 7     date, February 27, 2007, assuming that the          7   that statement was false?
 8     dynamics on that date are the same as the           8      A. No.
 9     dynamics on August 1, 2007.                         9      Q. And do you see then he says -- he
10        Q. Now, did he also say on                      10   writes, "The next day the Dow Jones Industrial
11     paragraph 142 of his report -- that is, page 63    11   Average fell 3.3 percent, its largest drop
12     of 370 -- did he also say, "Second, there were     12   since 2001, following a similar sharp decline
13     a series of marketwide events that appeared to     13   in China Shanghai Composite Index"?
14     roil financial markets, resulting in a sharp       14      A. Yes.
15     marketwide stock market decline, the largest       15      Q. Do you see that?
16     since 2001, amid subprime mortgage problems and    16      A. I do.
17     fears of recession"?                               17      Q. Do you have any reason to believe
18             Do you see that?                           18   that was false?
19        A. I see it.                                    19      A. No.
20        Q. Did you disagree with that                   20      Q. Okay. Now, then he says -- back to
21     statement?                                         21   paragraph 142 -- "Third, the use of
22        A. That's not what happened on                  22   Dr. Feinstein's Chow test when applied to
23     February 7, 2007.                                  23   Dr. Feinstein's market model to analyze the
24        Q. Well, do you see, in Footnote 168,           24   periods from August 1, 2006, to February 26,
25     he says, "On February 26, 2007, former fed         25   2007, and February 27, 2007, to August 8, 2009,

                                           Page 685                                               Page 686
 1            Steven P. Feinstein, PhD, CFA                1         Steven P. Feinstein, PhD, CFA
 2      yield a" -- "yields a result statistically         2   used your Chow test in the same way he -- you
 3      significant at the 95 percent confidence level,    3   had used it. Correct?
 4      demonstrating that 'there was a structural         4      A. That's your characterization, not
 5      change in the regression relationship.'"           5   mine.
 6              Do you see that?                           6      Q. Do you disagree with that?
 7         A. Yeah.                                        7      A. I disagree that what he did was a
 8         Q. And you understood he was quoting            8   legitimate structural break investigation.
 9      your report there. Correct?                        9      Q. Do you in your rebuttal report deal
10         A. Where? What paragraph?                      10   with the three primary pieces of economic
11         Q. So if you read what I just read, at         11   evidence that he discusses in paragraph 142?
12      the end, he drops Footnote 169, and then he --    12      A. In the sense that I know that you
13      that footnote says "Feinstein report              13   can go and look for evidence to support a
14      paragraph 126."                                   14   conclusion that you posit a priori.
15              Do you see that?                          15      Q. And do you have any reason --
16         A. No.                                         16   putting aside your accusations of data
17              Well, he's not -- that quote -- that      17   snooping, do you have any reason to believe
18      quote doesn't refer to February 27, 2007, in my   18   that February 27, 2007, wasn't a structural
19      report.                                           19   break in the market for Freddie Mac securities?
20         Q. No. Presumably that quote addresses         20      A. With the emphasis on putting aside
21      the use of your Chow test in reference to         21   the flaw in the analysis, that is the flaw in
22      August 9, 2007. Correct?                          22   the analysis.
23         A. That's right.                               23      Q. Your view is that the reason why
24         Q. And he was just applying your               24   February 27, 2007, shouldn't be considered is
25      language in the same way, given that he had       25   solely because it's the result of what you call



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                                           Page 687                                               Page 688
 1             Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2      data snooping?                                     2   significant result?
 3          A. And that he never identified it             3      A. Data snooping. That's my
 4      before having analyzed the same data. And he       4   explanation.
 5      testified, at least with respect to volatility,    5      Q. So, in other words, even though the
 6      which is what the VIX and the implied              6   result is statistically significant, it should
 7      volatility are about, that there was stationary    7   be disregarded because of the way in which it
 8      over that period of time. He previously            8   was discovered?
 9      concluded that, having analyzed this very same     9      A. We call that, in statistics,
10      data.                                             10   spurious significance, if it's found in a
11          Q. And those are all arguments you made       11   process that violates scientific process.
12      in support of your data snooping contention.      12      Q. But if it were to be found that
13      Correct?                                          13   Dr. Bajaj did not engage in data snooping, you
14          A. Yes.                                       14   would then accept -- you would then accept
15          Q. And so the reason why you believe          15   February 27, 2007, as a structural break date?
16      February 27, 2007, shouldn't be considered as a   16      A. Not necessarily.
17      structural break is because you believe it was    17      Q. Why not?
18      identified as a result of data snooping.          18      A. Well, there might be other days that
19      Right?                                            19   are a better day to place the break, in which
20          A. Yes. And the problem with data             20   case the subsequent test, follow-up test, would
21      snooping is there may be -- either it's not a     21   have to be run over different periods.
22      legitimate date altogether or there may be        22      Q. Did you do that?
23      another date that's even better to use.           23      A. No.
24          Q. Now, how do you explain the fact           24      Q. Why not?
25      that the Chow test resulted in a statistically    25      A. Because I -- because I concluded

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 1            Steven P. Feinstein, PhD, CFA                1         Steven P. Feinstein, PhD, CFA
 2      from comparing Dr. Bajaj's reports and             2   whether or not there are any structural breaks
 3      testimony in this case for this -- before my       3   when you're trying to assess market efficiency?
 4      report and after my report, that it was data       4      A. Not necessarily.
 5      snooping. It just shouldn't be taken               5      Q. It's not something that you would
 6      seriously, that finding, because of -- he          6   advise your team to do?
 7      previously said that there was stationary,         7      A. It depends. There was a break that
 8      there was no break there, and now --               8   was identified that split the class period. I
 9         Q. But --                                       9   know that -- and I -- I know that if you divide
10         A. -- now that it's convenient for his         10   the period into smaller and smaller pieces, you
11      new purpose, he changes his tune.                 11   weaken the test, not the market.
12         Q. Well, putting aside whether he              12           In other words, you're going to find
13      actually said what you just said he said,         13   inconclusive results from the test, not because
14      what -- did you make an effort to look for any    14   the market is inefficient but because your
15      structural breaks over the period?                15   tests are eviscerated. And given that he
16         A. I did. I looked to see whether what         16   previously testified that they were stationary
17      he said about Dr. Holman's analysis was           17   over the period prior to the latter break, I
18      accurate, and I accepted that.                    18   accepted that.
19         Q. But did you independently look for          19      Q. Do you think that Dr. Holman engaged
20      any dates that might represent a structural       20   in any data snooping?
21      break?                                            21      A. I didn't assess one way or the
22         A. Personally, I did not.                      22   other.
23         Q. Did anyone on your team?                    23      Q. You don't have a view one way or
24         A. They may have. I just don't recall.         24   another?
25         Q. Is it a good idea to look to see            25      A. Correct.



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 1            Steven P. Feinstein, PhD, CFA                1         Steven P. Feinstein, PhD, CFA
 2          Q. He may have?                                2   responses to Dr. Gompers and Dr. Bajaj could
 3          A. Well, if I don't have what -- I             3   not have been in my first report and they're in
 4      have -- I don't have for Dr. Holman what I have    4   the second report.
 5      for Dr. Bajaj, which is reports written before     5       Q. Why were your diagnostic tests set
 6      and after my report. Dr. Bajaj's assignment        6   forth in your second report?
 7      changed and then suddenly he starts changing       7       A. Well, for completeness. I mean,
 8      his conclusions. That tells me something. And      8   they were cited in the deposition, they were
 9      I don't have that same information about what      9   provided to us in exhibit, and for completeness
10      Dr. Holman either did or would have done.         10   of the record it made sense to put it in.
11          Q. Did any of your conclusions change         11       Q. But you didn't think it made sense
12      from your first report to your second report?     12   to put in the rebuttal report your Chow test on
13          A. No.                                        13   February 27th for completeness?
14          Q. In your view, are there any new            14       A. That was just -- like I said, that
15      conclusions in your second report?                15   was just verifying what we thought was his
16          A. Well, the first report didn't              16   arithmetic.
17      explicitly have the diagnostic test and they're   17       Q. Now, in connection with -- do you
18      in the second report. They're presented. They     18   remember testifying earlier in connection with
19      were presented between the two reports as well,   19   the weak-form efficiency that one of the issues
20      but they're in the second report.                 20   that you believe create a problem for assessing
21              I was not -- there was no                 21   weak-form efficiency is time-varying risk
22      opportunity to address price, the price impact    22   premia?
23      argument of Dr. Bajaj previously, so that's       23       A. Right.
24      new.                                              24       Q. What are time-varying risk premia?
25              Certainly I -- my reactions and           25       A. Essentially it means that -- that

                                           Page 693                                               Page 694
 1             Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2      investors have different appetites for risk,       2           What might be better is just to
 3      potentially different appetites for risk, and      3   direct you to the literature, and you can read
 4      that that might change over time.                  4   the abstract and the conclusion. And it's
 5              But specifically in Stephen LeRoy's        5   quite clear from the literature. But
 6      work where it comes into play is that as a         6   essentially what these authors explain is that
 7      result of a drop in the stock price, people may    7   in a perfectly rational and perfectly efficient
 8      become more risk-averse such that the demand       8   market, where all information is being
 9      for the security actually falls and then the       9   received, there's no impediments to
10      stock price may fall again.                       10   information, it's being traded on, it's being
11              So you may have a -- the fact about       11   digested, and all actors are rational, they --
12      how a stock price change might change risk        12   the price may still have autocorrelation. A
13      preferences or aversion could actually impose     13   drop in a price may foretell a subsequent drop
14      an autocorrelation process on the stock. And      14   in the price, even though the market's
15      that's why -- and it would be perfectly           15   efficiently processing information and all
16      rational, and it may even be predictable, but     16   investors are rational.
17      it wouldn't be a true arbitrage opportunity or    17           That's what the models show, that
18      even a profitable opportunity consistent with     18   that is possible, if not the actual likely
19      people's appetites for risk.                      19   depiction of what's going on in the
20          Q. So can you explain to me, using very       20   marketplace.
21      small, simple words, how time-varying risk        21       Q. And how does that relate to
22      premia creates an issue that prevents weak-form   22   time-varying risk premia?
23      efficiency tests from accurately identifying      23       A. That it -- a change in the price
24      weak-form efficient markets?                      24   causes investors' appetites for risk to change,
25          A. Maybe.                                     25   which then causes another change in the price.



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                                           Page 695                                               Page 696
 1             Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2              Well, here. Again, I mean, it's --         2   articles say that when you observe zero
 3      I know the conclusions of the reports. I know      3   correlation, it's not an inefficiency in the
 4      that if I had the opportunity I can prepare a      4   marketplace. It's how rational people react to
 5      lecture with a PowerPoint slides, you know, for    5   fear. How rational people react to rational
 6      interested parties.                                6   caution and optimization of their investment
 7              But essentially it's this. Suppose         7   decisions.
 8      you invest in the stock market or a particular     8       Q. And is time-varying risk premia the
 9      stock, and then you lose money. You're now         9   sort of thing that you can calculate on a daily
10      poorer. As a result of being poorer, you're       10   basis such that it can be adjusted for?
11      now going to be more cautious, so you're going    11       A. Potentially, yeah. Potentially.
12      to pull some of your money out of the market.     12   There are measures of sentiment and there are
13      That makes the market go down again. There's      13   measures -- there are implied risk premia
14      nothing irrational about that, and yet it would   14   measures that can be accounted for and adjusted
15      be an autocorrelative process.                    15   for and incorporated into these valuation
16              And there's nothing about that that       16   models.
17      says that you're ignoring information. It         17       Q. And if that's the case, can't a
18      simply says that you're processing it now in      18   weak-form efficiency test adjust for
19      light of the fact that you are a little more      19   time-varying risk premia?
20      afraid of the market.                             20       A. I've never seen it done. That's
21          Q. And are economists unable to value         21   actually a pretty good suggestion. I think
22      time-varying risk premia such that it -- they     22   you -- I think someone might be well-advised to
23      can't adjust for it in these weak-form            23   do literature in that area.
24      efficiency tests?                                 24       Q. But you haven't seen any literature
25          A. That's what the articles say. The          25   on that subject?

                                           Page 697                                               Page 698
 1             Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2          A. Not as I sit here now, I don't              2   markets or not?
 3      recall. It's possible it might have been           3       A. What they do is they disallow you
 4      another paper or that I'm just not thinking of     4   from concluding from a finding of serial
 5      it right now. It's possible that it's out          5   correlation that the market is weak-form
 6      there.                                             6   inefficient.
 7          Q. But you're not aware of any                 7       Q. And you're just not aware of any
 8      economist that's ever valued time-varying risk     8   research that suggests that you can value
 9      premia?                                            9   time-varying risk premia such that you can
10          A. No. No, I think they do. There are         10   adjust for it in a weak-form efficiency test?
11      articles. Yeah, I'm quite sure there are          11       A. That's right.
12      articles that seek to identify changes in risk    12       Q. And are you aware of any research
13      preferences. But relating it specifically to      13   indicating that you can value time-varying risk
14      show -- as I sit here now, I don't recall any     14   premia in other contexts?
15      that related specifically to a finding of         15       A. Yes. I think there is -- there is
16      serial correlation in prices. I might be          16   literature on assessing changing market
17      wrong, as I sit here now.                         17   preferences for risk.
18          Q. As you sit here now --                     18       Q. And what literature do you have in
19          A. I don't have the bibliography              19   mind, if any?
20      memorized. It's a good research topic, so it's    20       A. I don't have it memorized. I
21      likely that someone out there tackled it at       21   couldn't cite it for you as I sit here now. I
22      some point. I just couldn't cite it for you.      22   can certainly cite it for you when I get back
23          Q. Well, as you sit here now, is              23   to my office and have my sources available.
24      time-varying risk premia a problem associated     24       Q. Mr. Markovits will not allow me to
25      with the assessment of weak-form efficiency       25   accompany you to your office.



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                                          Page 699                                               Page 700
 1             Steven P. Feinstein, PhD, CFA              1          Steven P. Feinstein, PhD, CFA
 2              MR. MARKOVITS: If you ask nicely.         2   materially false statements, does it make sense
 3          Q. So we have to go based on your             3   to test the dates on which the statements were
 4      memory here.                                      4   made?
 5          A. Your question is, can I cite for you       5       A. It makes sense, but I don't think
 6      the literature? No. Am I aware that there's       6   that would be the end-all of the required
 7      some literature? Yeah.                            7   analysis.
 8          Q. Can you identify any author or any         8       Q. What other dates -- and you
 9      publication?                                      9   testified earlier that you think that someone
10          A. No, not now.                              10   should test every date in the class period. Is
11          Q. All right.                                11   that right?
12              MR. MARKOVITS: By the way, if you        12       A. Well, if you could approve that a
13          do that study now, you have to give Jason    13   piece of information had no price impact,
14          partial credit.                              14   you've got to look at a lot of dates.
15              MR. FRANK: At least a footnote.          15       Q. Well, let's use a simple
16              MR. VOLPE: Yes. Put in a footnote.       16   hypothetical. An alleged lie on Monday,
17          That's what I was just going to say.         17   allegedly the truth comes out on Friday. You
18          Q. Okay. Now, in a case -- strike            18   would think that an expert trying to assess
19      that.                                            19   market impact would test the dates Monday and
20              So you understand that, in a             20   Friday. Right?
21      securities case, defendants are entitled to      21       A. If it's known with certainty that
22      attempt to rebut any presumption of price        22   nothing relevant -- I mean, it would be an
23      impact. Right?                                   23   assumption, not a conclusion, that nothing
24          A. Yes.                                      24   relevant happened on Tuesday, Wednesday, and
25          Q. Okay. And in a case involving             25   Thursday. But that's an assumption that would

                                          Page 701                                               Page 702
 1           Steven P. Feinstein, PhD, CFA                1         Steven P. Feinstein, PhD, CFA
 2     have to be proved by whoever was trying to         2   job. If you can prove that the price moved
 3     assess that the information -- that the lie had    3   when the lie was corrected, that establishes
 4     no impact on the press. They would --              4   it. You don't have to also prove that there
 5         Q. But is that --                              5   was impact on Thursday and Wednesday and
 6         A. It would make sense to test Monday;         6   Tuesday. Proving that it had an impact on
 7     it would make sense to test Friday. But if you     7   Friday proves that it had an impact, so you
 8     really want to prove that the lie had no           8   would look at Friday. Friday would be the most
 9     impact, you couldn't just assume that nothing      9   reasonable day to look at. Monday would also
10     happened on Tuesday, Wednesday, and Thursday.     10   be reasonable, because there may be proof.
11         Q. So if you see stock prices rise on         11   There may be evidence there.
12     Wednesday, you should test that. You see it       12          If you stopped and there was no
13     rise on Wednesday, and you'd want an expert to    13   impact on those two days, you had -- you would
14     do what? Try to --                                14   not have proved it, but you'd be perfectly free
15         A. Address -- address that it -- either       15   to also look at Tuesday, Wednesday, and
16     with reference to valuation principles or         16   Thursday.
17     reference to statistical testing. Could be        17       Q. Now, take -- let's take our
18     either one. Address that day and that price to    18   hypothetical. There's a complaint. The
19     rule out that it had anything to do with the      19   complaint alleges lie on Monday; truth came out
20     alleged lie.                                      20   on Friday. Okay?
21         Q. And if you wanted to argue that            21          What does one need to do to assess
22     there was price impact, what dates would you      22   whether or not there was a price impact of the
23     look at?                                          23   alleged lie on Friday?
24         A. Well, that's an interesting thing.         24       A. Lie -- the lie is on Monday; the
25     You have an easier job. You have an easier        25   truth comes out on Friday?



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                                          Page 703                                               Page 704
 1            Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2         Q. Right.                                      2   literature, the finance literature, all the
 3         A. Well, you would have to see if              3   people that have studied price impacts before
 4     there -- well, you want to prove that there's      4   us, whether that information is considered
 5     no price. You want to test whether or not          5   material information. You'd want to see
 6     there was no price -- I'm getting confused         6   whether the company ever represented that
 7     here.                                              7   information to be material information. You'd
 8             What would you have to do in order         8   want to see whether analysts have ever cited
 9     to -- can you please just repeat the question?     9   that information as being material information,
10         Q. Sure.                                      10   relevant information, or arguments in their
11             The complaint alleges -- okay.            11   valuation models. You would look at whether
12     Let's take our hypothetical. There's a            12   that information reasonably has a role in
13     complaint. The complaint alleges a lie on         13   generally accepted valuation models.
14     Monday. Truth came out on Friday. What does       14            Then you can also just empirically
15     one need to do to assess whether or not there     15   examine whether, in fact, if there was a
16     was a price impact of the alleged lie on          16   statistically significant movement, can it be
17     Friday?                                           17   explained entirely by other factors that are
18         A. Okay. So in your hypothetical, the         18   unrelated to the lie.
19     truth comes out on Friday?                        19            Those are the things you'd have to
20         Q. That's the allegation.                     20   do -- those are the things you could do to
21         A. Okay. You'd want to test a number          21   assess whether it did or did not have a price
22     of things. You'd want to see whether there was    22   impact.
23     any movement in the price whatsoever on Friday,   23       Q. Now, let's change our hypothetical a
24     significant or otherwise. You'd want to see       24   little bit. The lie isn't an affirmative
25     whether the information, according to the         25   statement. It is an omission.

                                          Page 705                                               Page 706
 1            Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2             So there's a complaint. The                2   You'd also look at whether the truth, by virtue
 3     allegation is that there is an omission on         3   of it being the truth and by virtue of it
 4     Monday and the truth comes out on Friday. Does     4   coming out had an impact on the stock price.
 5     that change your analysis?                         5   Maybe it had an impact on performance of the
 6         A. Well, if the burden is to prove that        6   company. I mean, maybe there wasn't a mere
 7     there was no price impact, you would have to       7   corrective disclosure. Maybe it wasn't an
 8     show that the information was, according to all    8   announcement that previously we lied and now
 9     those sources -- the company, finance              9   we're telling the truth. But maybe there are
10     literature, analysts -- has no role in the        10   developments that are disclosed on that Friday
11     valuation of the security. Or you mean -- you     11   that would -- that were surprising because
12     said there was an announcement about that lie     12   there had previously been a lie about it and it
13     or you could also see there was no information    13   wouldn't have been surprising had there not
14     about that lie provided that day, no              14   been a lie about it. You'd have to look at
15     information provided in any way about that lie    15   that, too. That's something you'd need to look
16     that came out on Friday. Either of those could    16   at.
17     be used to prove no price impact.                 17       Q. Now, in this case, did you reach a
18         Q. So is it fair to say that in               18   determination as to whether or not November 20,
19     assessing whether or not there's price impact,    19   2007, constituted a corrective disclosure date
20     one needs to look at the date on which the        20   or not?
21     truth allegedly came out and determine whether    21       A. Let me be real careful and just make
22     or not that information actually was the          22   sure that I'm going to use the same words now
23     alleged truth or the allegedly concealed          23   that I used before.
24     information?                                      24           I think there's a lot of evidence I
25         A. That's one thing you'd look at.            25   observed that would suggest that there was



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                                           Page 707                                               Page 708
 1            Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2     price impact. But my conclusion, my formal          2   correction of information.
 3     conclusion is that Dr. Bajaj did not prove          3           It could be corrective of price
 4     price -- no price impact.                           4   inflation where prices inflated on account of
 5         Q. Okay. So my question was a                   5   misrepresentations and omissions, and then
 6     little --                                           6   something happens on that date that causes that
 7         A. He failed to prove no price impact.          7   inflation to dissipate.
 8     I am not specifically saying there was.             8           So those are two different things
 9         Q. Okay. Let me re-ask my question,             9   that it could mean. I did not draw a
10     and I want you to let me know whether you have     10   conclusion that I presented in either report
11     a different answer upon listening to it again.     11   that says that November 20th was a corrective
12              Now, in this case, did you reach a        12   disclosure date. It's essentially -- I'm
13     determination as to whether or not November 20,    13   assuming the allegations for that purpose.
14     2007, constituted a corrective disclosure date?    14       Q. For the purposes of assessing price
15         A. How are you defining "corrective            15   impact, you assumed that plaintiffs'
16     disclosure date"?                                  16   allegations were true?
17         Q. Well, what do you understand the            17       A. Yes. That there were
18     phrase "corrective disclosure date" to mean?       18   misrepresentations and omissions. I observed
19         A. Well, it could mean a number of             19   that there was negative news on November 20th
20     things. It could mean a date when previous         20   that did make the stock price go down. That's
21     misunderstandings are -- about the company were    21   my conclusion.
22     corrected, so that the information is              22           Economic theory says -- now,
23     corrected. So if the market was previously         23   plaintiffs -- plaintiffs allege that the price
24     misled to believe something, they -- their         24   went down because of factors related to the
25     understanding was correct. So it could be a        25   misrepresentations and omissions, and the

                                           Page 709                                               Page 710
 1            Steven P. Feinstein, PhD, CFA                1         Steven P. Feinstein, PhD, CFA
 2      market would not have been as surprised and        2   do that. But starting with that assumption,
 3      that the price went down because of some           3   that would tell me what Dr. Bajaj would have to
 4      information that was disclosed that was            4   do -- he would have to disprove that in order
 5      corrective, specifically corrective of prior       5   to prove no price impact.
 6      misrepresentations and omissions.                  6       Q. Well, let me just be clear. Let's
 7              So the piece of that that's my own         7   talk about price impact.
 8      conclusion is that the price went down on          8       A. Okay.
 9      November 20th specifically because of the          9       Q. And you offered opinions on price
10      negative news, the negative company-specific      10   impact. Correct?
11      news. But it's -- but I'm assuming from           11       A. Well, no. The opinion on price
12      plaintiffs' allegations that that news was        12   impact is that Dr. Bajaj proved nothing.
13      related to the misrepresentations and             13       Q. Well, don't you say in your report
14      omissions.                                        14   on page 7 -- 37, page 37, in subheading 1,
15              I mean, that's -- the assumption is       15   don't you say, "The statistically significant
16      a reasonable one and that it's also supported     16   decline in Freddie Mac stock in response to the
17      by economic theory.                               17   November" -- "to the 20 November 2007
18          Q. So just so that I'm clear, you             18   disclosure event which Dr. Bajaj does not
19      assumed for the plaintiffs' allegations that      19   dispute is direct evidence of price impact"?
20      the news that came out on November 20, 2007,      20       A. I do. That's what I said before. I
21      was related to the misrepresentations and         21   said there was plenty of evidence I observed in
22      omissions that plaintiffs had alleged in their    22   the course of this analysis and writing this
23      complaint?                                        23   report that is supportive of price impact, but
24          A. Actually, I didn't -- I mean, for          24   I didn't draw the conclusion that there was
25      purposes of market efficiency, I didn't need to   25   price impact. My conclusion is Dr. Bajaj



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                                           Page 711                                               Page 712
 1            Steven P. Feinstein, PhD, CFA                1         Steven P. Feinstein, PhD, CFA
 2      proved nothing with respect to price impact.       2          But I -- I don't -- I just want to
 3          Q. So -- and I'm -- just to be clear,          3   make sure. I don't recall that I came right
 4      you are not offering an opinion in this case as    4   out and said I found there to be price impact
 5      to whether or not the alleged                      5   and my conclusion is that there was price
 6      misrepresentations or omissions actually caused    6   impact.
 7      price impact?                                      7          My conclusion is that he did not
 8          A. My conclusions are on page 3, 4, 5,         8   prove that there was no price impact.
 9      and 6. There's 1, 2, 3, 4, 5, 6, 7, 8, 9, 10,      9      Q. And so, to be clear, your opinion
10      11, 12, 13 paragraphs.                            10   with respect to the price impact issues in the
11              The report speaks for itself. But,        11   case is solely that Dr. Bajaj has failed to
12      yeah. The answer is yes.                          12   establish a lack of price impact. Is that
13          Q. Just in the event that there's any         13   correct?
14      confusion, your conclusions are laid out in a     14      A. Right.
15      section of your report entitled "Conclusions"     15      Q. You are not --
16      on page 3, which go to page 6. And I should       16      A. Well, no, no. And that he failed to
17      not -- I shouldn't interpret headings elsewhere   17   address direct evidence of price impact
18      in the report as your conclusions. Is that        18   appropriately.
19      fair?                                             19      Q. Okay. But you are not offering an
20          A. Well, no. The heading is that              20   opinion that the alleged misrepresentations or
21      there's plenty of evidence of price impact        21   omissions in this case actually resulted in
22      which a valid test of price impact -- which       22   price impact. Is that right?
23      Dr. Bajaj purports to have conducted -- should    23      A. That's a loss causation argument, a
24      have addressed. That's why that heading on        24   loss causation analysis which I have not yet
25      page 37 is there.                                 25   conducted.

                                           Page 713                                               Page 714
 1           Steven P. Feinstein, PhD, CFA                 1         Steven P. Feinstein, PhD, CFA
 2        Q. You're not opining that the alleged           2   indicating that it was caused by
 3     misrepresentations or omissions caused price        3   company-specific news, is direct evidence of
 4     impact. Right?                                      4   price impact. I mean, the information that was
 5             At this stage.                              5   available that day is that it had a lot to do
 6        A. You said concluding -- I have not --          6   with the allegations of representations and
 7     I am not offering a conclusion at this stage,       7   omissions, the substance of those allegations.
 8     right, at this stage, that there was loss, that     8   That's direct evidence.
 9     there was price impact.                             9           That's what I mean. The drop. The
10             What I am concluding is that he did        10   allegation that the drop was caused by what was
11     not prove no price impact. He looked at some       11   previously -- at least in part, by what was
12     areas related to price impact but simply wasn't    12   previously concealed from investors. It has to
13     comprehensive enough to rule it out. And he        13   be dealt with appropriately, and he didn't deal
14     didn't deal appropriately with the direct          14   with it appropriately. He kind of brushed it
15     evidence of price impact.                          15   off.
16        Q. And when you say "direct evidence of         16       Q. I'm showing you a document that's
17     price impact," what are you referring to?          17   previously been marked as Defendant's
18        A. The company announced a $2 billion           18   Exhibit 30.
19     loss on November 20, 2007, and they provided --    19           Defendant's Exhibit 30 is the third
20     you know, in explaining where that $2 billion      20   amended complaint in this case. Have you ever
21     loss came from, they talked about their            21   seen Defendant's Exhibit 30 before?
22     exposure to subprime mortgages, their exposure     22       A. Yes.
23     to nontraditional risky mortgages.                 23       Q. Okay. Have you read it?
24             The decline that occurred on that          24       A. Yes.
25     day that was clearly statistically significant,    25       Q. Okay. I want to draw your attention



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                                          Page 715                                               Page 716
 1            Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2      to paragraph 2 of the third amended complaint.    2   made a series of materially false and
 3              Do you see paragraph 2?                   3   misleading public statements about these five
 4          A. Yes.                                       4   different subjects?
 5          Q. Paragraph 2 says, "Throughout the          5      A. No. It mean -- you said is it my
 6      class period, defendants made a series of         6   understanding -- it is my understanding that
 7      materially false and misleading public            7   this is what they have done. Yeah, that that's
 8      statements relating to, among other things:       8   what plaintiffs are alleging.
 9      1. Its exposure to or risk of loss from           9      Q. Okay. Now, in --
10      subprime mortgage loans and other                10      A. I'm not independently verifying that
11      nontraditional high-risk mortgages, including    11   is my point.
12      Alt-A mortgages (a mortgage industry term to     12      Q. I understand. That's your
13      describe reduced documentation/ higher credit    13   understanding of their allegations?
14      risk loans);                                     14      A. Right.
15      2. Its underwriting guidelines and defendants    15      Q. All right. And did you look at the
16      adherence to those guidelines;                   16   company's disclosures on November 20, 2007?
17      3. Its loan analysis software and fraud          17      A. Certainly.
18      detection systems;                               18      Q. You looked at the press release?
19      4. Its risk management measures and its risk     19      A. Absolutely. The press release, the
20      management performance;                          20   information statement, and the conference call.
21      and, 5, its capital position."                   21      Q. And the information statement and
22      Do you see that?                                 22   the press release and the conference call, were
23          A. I do.                                     23   there any statements in there regarding the
24          Q. Okay. So is it your understanding         24   company's loan analysis software and fraud
25      that plaintiffs have alleged that defendants     25   detection systems?

                                          Page 717                                               Page 718
 1            Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2         A. I don't recall that there was.              2   No. 27. Defendant's Exhibit No. 27 is the
 3         Q. Were there --                               3   company's annual report from 2006.
 4         A. I mean -- I mean -- I don't want to         4           Have you ever seen this document
 5     say that none -- the point is not explicitly,      5   before?
 6     but plaintiffs' allegations are that the           6       A. Yes.
 7     failures and the deficiencies in that area is      7       Q. Let me turn your attention to
 8     what caused the negative news that the company     8   page 69.
 9     disclosed that day.                                9       A. Okay.
10         Q. For the purposes of your price             10       Q. Do you see on page 69 it says --
11     impact work, you assumed those allegations to     11   actually, first, let me turn your attention --
12     be true?                                          12   yes. Let's stick on page 69.
13         A. No, that's not -- that's not               13           On page 69, do you see where it
14     accurate. I didn't need to, but I did -- I did    14   says, at the top of the page, "During the past
15     seek to determine whether Dr. Bajaj dealt with    15   several years, there was a rapid proliferation
16     that linkage, and he simply did not. There's a    16   of nontraditional mortgage product types
17     linkage there and he simply did not deal with     17   designed to address a variety of borrower and
18     the possibility that it was the failures in the   18   lender needs, including issues of affordability
19     company's risk control and fraud detection and    19   and reduced income documentation requirements."
20     risk analysis systems that led to the             20           Do you see that?
21     $2 billion loss, the cut in the dividend, and     21       A. Yes.
22     the vulnerable capital position that was          22       Q. Okay. And by the way, can you turn
23     announced that day, November 20th.                23   to the front of the document.
24         Q. Let me show you a document that has        24           Do you know when this document was
25     been previously marked as Defendant's Exhibit     25   made public?



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 1            Steven P. Feinstein, PhD, CFA                1      Steven P. Feinstein, PhD, CFA
 2          A. March 23, 2007.                             2   if you read his rebuttal report and in
 3          Q. So this was in the middle of the            3   particular the sections on price impact.
 4      proposed class period here. Is that your           4       MR. MARKOVITS: No. Because he's --
 5      understanding?                                     5   he's assuming, just as Dr. Bajaj did, for
 6          A. Correct.                                    6   the purpose of his analysis, the truth of
 7          Q. Okay. Now, turning back to page 69,         7   the allegations.
 8      it says, "While features of these products have    8       Dr. Bajaj, if you recall, testified
 9      been on the market for some time, their            9   that for the purposes of price impact, he
10      prevalence in the market and our total mortgage   10   assumed the truth of the allegations and
11      portfolio increased in 2006 and 2005."            11   misrepresentations and omissions. He was
12              Do you see that?                          12   not opining whether the non -- the extent
13          A. Yes.                                       13   of the exposure to nontraditional mortgages
14          Q. Did you understand that Freddie Mac        14   was appropriately disclosed or was not,
15      had disclosed to the market that the prevalence   15   just like Dr. Feinstein did not in his
16      of nontraditional mortgage product types in its   16   rebuttal report and is not today opining
17      portfolio increased in 2005 and in 2006?          17   whether those disclosures were made or were
18          A. Oh, I knew about this language, but        18   not made.
19      I also know --                                    19       He's assuming, just as Dr. Bajaj did
20              MR. MARKOVITS: I'm going to object.       20   for price impact, because discovery is not
21          This is well beyond the scope of his          21   closed, that the allegations are true. And
22          rebuttal report. There's no link between      22   then the only question is, assuming the
23          any opinion he's given in his rebuttal        23   truth of the allegations and knowing that
24          report and these questions.                   24   the stock declined 20 percent on
25              MR. FRANK: There is a direct link         25   November 20th, can you rule out price

                                           Page 721                                               Page 722
 1             Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2          impact?                                        2   paragraph 130, you wrote, "The company's
 3              That is the burden of the                  3   disclosures and its information statement on 20
 4          defendants. It's not the burden of the         4   November 2007 establish the connection between
 5          plaintiffs to prove price impact at this       5   exposure to subprime and nontraditional
 6          time in time. It's not the burden of           6   mortgage products and the company's reported
 7          Dr. Feinstein to opine as to the truth of      7   poor results and weakened capital position."
 8          the allegations in the complaint.              8          Do you see that?
 9              So there is no link between this           9       A. Yes.
10          truth on the market defense that you try to   10       Q. And then you say, "The following
11          keep putting forward in the briefs. Truth     11   excerpts demonstrate this link."
12          on the market defense has no place at this    12          Do you see that?
13          stage of the case, and it certainly has no    13       A. Yes.
14          place in this deposition because              14       Q. And then you identify a series of --
15          Dr. Feinstein is not opining as to the        15   I guess it's six excerpts from the company's
16          truth of the allegations of the complaint     16   November 20th supplement to its information
17          for the purposes of his rebuttal report.      17   statement, which was essentially its
18      BY MR. FRANK:                                     18   third-quarter report. Right?
19          Q. Dr. Feinstein, allow me to turn your       19       A. Correct.
20      attention to paragraph 130 of your rebuttal       20       Q. Okay. And you cite those in order
21      report. So leave the annual report open for a     21   to establish a link between exposure to
22      second and just turn back to your rebuttal        22   subprime and nontraditional mortgage products
23      report and turn to paragraph 130, please. It's    23   and the company's results. Is that right?
24      on page 47 of 70.                                 24       A. Yes, in rebuttal to Dr. Bajaj who
25              Now, do you see there in                  25   said there was no link.



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                                        Page 723                                              Page 724
 1         Steven P. Feinstein, PhD, CFA               1       Steven P. Feinstein, PhD, CFA
 2          MR. MARKOVITS: Again, I'm going to         2   happened on November 20th and its exposure
 3      object. You're either confused or              3   is set out here. That has nothing to do
 4      attempting to confuse the witness, because     4   with whether Dr. Feinstein is opining in
 5      neither in his rebuttal report nor in his      5   any way, shape, or form that Freddie Mac
 6      testimony has he ever said that there          6   misrepresented its exposure to
 7      has -- there was misrepresented exposure to    7   nontraditional loan products or not.
 8      nontraditional loans. That is the              8         So, again, you're either confused or
 9      allegation of the complaint.                   9   attempting to confuse the witness.
10          Dr. Bajaj assumed that to be true         10         MR. FRANK: Mr. Markovits, we
11      for the purposes of his price impact          11   disagree. I'm always open to the
12      analysis. Similarly, Dr. Feinstein assumes    12   possibility that I'm confused. I'm not
13      that it would be true for his analysis of     13   attempting to confuse the witness.
14      Dr. Bajaj's analysis.                         14         MR. MARKOVITS: All right. Then
15          The only question is, is there a          15   I'll take it that you're confused.
16      link? This says on paragraph 130 that         16         MR. FRANK: And I will represent to
17      there's a connection between exposure to      17   you that I do not believe I am confused.
18      subprime and nontraditional mortgages and     18         But what I'd like to do, because
19      the loss.                                     19   we're running out of tape -- the recording
20          The question that will have to be         20   device shuts off soon -- is why don't we
21      determined at a later date is did Freddie     21   take a brief break here and we will resume.
22      Mac lie about the extent of its exposure or   22         But I reserve all rights to resume
23      was it telling the truth about the extent     23   questioning along these lines, because I
24      of the exposure? But the question of          24   don't believe I'm confused.
25      whether there was a link between what         25         THE VIDEOGRAPHER: The time now is

                                        Page 725                                              Page 726
 1           Steven P. Feinstein, PhD, CFA             1         Steven P. Feinstein, PhD, CFA
 2         15:23. We're off the record.                2   2006?
 3             (Recess taken from 3:23 to 3:42         3      A. Can you just direct me to that line?
 4         p.m.)                                       4      Q. Sure. It's the second sentence on
 5             THE VIDEOGRAPHER: The time now is       5   the top of the page. "While features of these
 6         15:42. We're on the record.                 6   products have been on the market for some time,
 7     BY MR. FRANK:                                   7   their prevalence in the market and our total
 8         Q. All right. I will short-circuit          8   mortgage portfolio increased in 2006 and 2005."
 9     this for Mr. Markovits' sake.                   9      A. Yes.
10             You reviewed the 2006 annual report.   10      Q. Okay.
11     Is that right?                                 11      A. Yes.
12         A. Yes.                                    12      Q. And were you aware that Freddie Mac
13         Q. Did you review page 69?                 13   disclosed that it expected those products to
14         A. Yes.                                    14   default more often?
15         Q. Any recollection of doing that?         15          MR. MARKOVITS: Again, I'm going to
16         A. Yes.                                    16      object this is going beyond the scope of
17         Q. Okay. You are aware that Freddie        17      his rebuttal report and has no connection
18     Mac was buying more nontraditional mortgage    18      to his opinions.
19     products in 2005 and 2006?                     19          But go ahead.
20         A. I'm aware that the allegation is        20      A. That's what they said in that
21     that the disclosure was not full.              21   paragraph.
22         Q. Well, before we get to the              22      Q. And do you see below on the page
23     allegation, were you aware that Freddie Mac    23   there was a section on subprime loans?
24     disclosed that it was buying more              24      A. Yes.
25     nontraditional mortgage products in 2005 and   25      Q. You previously read this disclosure



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                                           Page 727                                               Page 728
 1           Steven P. Feinstein, PhD, CFA                 1         Steven P. Feinstein, PhD, CFA
 2     relating to subprime loans?                         2   disclosures or that -- of the alleged
 3         A. I did.                                       3   misrepresentations and omissions.
 4         Q. And were you aware that Freddie Mac          4       Q. So, just so that the record is
 5     disclosed that on December 31, 2006, and 2005,      5   clear, you reached a conclusion that the
 6     we held approximately 124 billion and 139           6   disclosures may have been corrective
 7     billion, respectively, of nonagency                 7   disclosures. Is that right?
 8     mortgage-related securities backed by subprime      8       A. That's right. That there certainly
 9     loans?                                              9   was a connection between the factors that the
10         A. That's what they wrote.                     10   company was attributing the loss and the other
11         Q. All right. Now, did you                     11   negative news to; and the alleged
12     independently reach a conclusion, based on your    12   misrepresentations and omissions; and that that
13     expertise in economics, that disclosures on        13   was not fully investigated or appropriately
14     November 20, 2007, corrected earlier               14   investigated by Dr. Bajaj, that connection; and
15     misrepresentations or omissions concerning the     15   did not rule out the factors the company
16     subjects referenced in paragraph 2 of the third    16   attributed its loss and dividend cut and
17     amended complaint that we looked at before the     17   capital raise to. He did not appropriately
18     break?                                             18   rule out that those were related to the
19         A. Almost. The answer is -- would be           19   allegations.
20     no to specifically what you said. But I            20       Q. Now, if he had appropriately ruled
21     reached a conclusion that they were related,       21   out that those -- strike that.
22     that the disclosures and the material -- and       22           If Dr. Bajaj had appropriately ruled
23     the risk that was materialized were related to     23   out that the announced loss on November 20,
24     the allegations, and that they certainly may       24   2007, were related to the allegations, would
25     have, that they may have been corrective           25   that have been sufficient to establish a lack

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 1             Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2      of price impact?                                   2   opinion that Dr. Bajaj didn't do enough to
 3          A. If he could have proved that none           3   establish that they didn't. Is that right?
 4      of -- none, not any of the loss that occurred      4       A. I don't think he did anything,
 5      that day, and not any of the vulnerable capital    5   really. He didn't -- he certainly did not --
 6      position that was announced that day, and not      6   yeah. He did not do enough. He did very
 7      any of the dividend cut that was announced that    7   little. But he certainly did not do enough to
 8      day, had anything to do with what plaintiffs       8   establish that the loss and the dividend cut
 9      are alleging was concealed from the public,        9   and the vulnerable capital position and the
10      that would have established -- at least with      10   actual affirmative disclosures of specific
11      respect to those three elements, that would       11   facts that are alleged to have been -- that
12      have established that there was no price impact   12   are -- that were information that is alleged to
13      on that day.                                      13   have been concealed from the public earlier.
14              So, in other words, if he could have      14   He did not establish that those things had
15      established that nothing -- that none of          15   no -- did not cause the loss, did not cause the
16      that -- none of that negative news was caused     16   factors that caused the loss.
17      by anything to do with the allegations, then at   17       Q. I think you jumped ahead on me, so
18      least for that day, he would have established     18   let me try again. I'll try in a different way.
19      no price impact.                                  19           With respect to price impact, you
20          Q. And it's not your opinion that the         20   have reached a conclusion. Is that correct?
21      negative news caused price impact -- strike       21       A. The conclusion is -- yes, I have
22      that.                                             22   reached a conclusion.
23              It's not your opinion that the            23       Q. Let's take it in pieces.
24      alleged misreps or omissions caused price         24       A. Okay.
25      impact on that day, but rather it's your          25       Q. You've reached a conclusion.



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 1            Steven P. Feinstein, PhD, CFA                1         Steven P. Feinstein, PhD, CFA
 2      Correct?                                           2       Q. Now --
 3         A. Yes.                                         3       A. -- because it wasn't within the
 4         Q. The conclusion you reached was that          4   scope of -- that wasn't my burden. It wasn't
 5      Dr. Bajaj did not do enough to establish a lack    5   in the scope of my engagement.
 6      of price impact. Is that correct?                  6       Q. In connection with your engagement,
 7         A. Well, he didn't do it. He didn't             7   did any attorney ask you to make any
 8      establish no price impact.                         8   assumptions regarding price impact?
 9         Q. Okay.                                        9       A. Yes.
10         A. His analysis was just not                   10       Q. What were you asked to assume?
11      sufficient. And in the course of arriving at      11       A. That the allegations were true, that
12      that conclusion, there were findings of           12   there had not been full prior -- prior full and
13      linkages that he dismissed of direct evidence     13   appropriate disclosure about those issues that
14      of price impact that he simply disregarded.       14   we earlier addressed, that are written in the
15         Q. Now, did you reach a conclusion that        15   complaint.
16      there was evidence of -- that the                 16       Q. Were you asked to assume that all of
17      misrepresentations and omissions affirmatively    17   the allegations in the third amended complaint
18      caused price impact?                              18   were true or only that some of the allegations
19         A. Assuming the truth?                         19   in the third amended complaint were true?
20         Q. I'm not asking you about                    20       A. I would have to say some. The
21      assumptions. I'm asking about conclusions.        21   allegations, I mean, I believe the complaint
22         A. Well, I reached a conclusion there          22   mentions market efficiency. I wasn't asked to
23      was direct evidence of price impact, but I        23   assume that, of course. I was asked to assume
24      didn't draw the conclusion that there was price   24   the allegations with respect to
25      impact --                                         25   misrepresentations and omissions were true.

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 1            Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2          Q. Okay. So we've just identified one          2   there were misrepresentations and omissions
 3      subset of allegations that you weren't asked to    3   such that the market wasn't appropriately
 4      assume were true, and that is market efficiency    4   informed about things like exposure to
 5      allegations. Is that right?                        5   nontraditional risky mortgages and the
 6          A. Correct.                                    6   company's ability to detect fraud and adhere
 7          Q. Were there any other allegations            7   to -- and the company's adherence to
 8      that you weren't supposed to assume were true?     8   underwriting those sorts of things and its
 9          A. The only assumptions I was asked to         9   vulnerability with respect to capital position.
10      assume were true, and that was --                 10           I was asked to assume that the
11          Q. I'm going to stop you just because         11   misrepresentations and omissions such that the
12      you misspoke. You said the only assumptions       12   market wasn't fully informed about those issues
13      that you were asked to assume. I think you        13   was true, that it was -- that it was true that
14      meant --                                          14   there were misrepresentations and omissions
15          A. The only allegations that I was            15   about those issues.
16      asked to assume true --                           16       Q. Were you asked to assume that any
17          Q. The record's a mess. The record's a        17   other allegations were true?
18      mess, so let me clean it up.                      18       A. No.
19             What allegations were you asked to         19       Q. In connection with your work on
20      assume were true?                                 20   price impact, did counsel provide to you any
21          A. That the misrepresentations and            21   facts on which you were asked to rely?
22      omissions in those five categories that are       22       A. What do you mean, provide facts?
23      spelled out in the early part of the complaint    23       Q. Well, did they provide to you any
24      were, in fact, misrepresentations and             24   documents that they asked you to rely upon?
25      omissions, that that actually happened, that      25       A. They provided documents that I



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 1            Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2     requested. They provided documents, but these      2       A. Yes. Yes.
 3     are documents that I had requested.                3       Q. Okay. Now, you reviewed the Q3 2007
 4         Q. And I want to be clear, Doctor.             4   information statement. Is that right?
 5              The federal rules, they allow me to       5       A. Yes.
 6     inquire about assumptions you were asked to        6       Q. And I notice that in your report,
 7     make and about facts that they provided to you,    7   you note that the terms "subprime" and
 8     that they asked you to rely upon. So I'm not       8   "nontraditional" appear 51 and 26 times,
 9     trying to -- I'm not trying to get into            9   respectively, in that report. Do you remember
10     communications between you and counsel, but I'm   10   doing an analysis like that?
11     just trying -- I'm just trying to understand      11       A. Right. Because Dr. Bajaj said that
12     those two categories.                             12   there was no mention, and I just wanted to show
13              We talked about assumptions. So now      13   that there was mention of those terms.
14     let's talk about facts for a second. Did they     14       Q. I think Dr. Bajaj said there was no
15     share with you verbally any facts that -- on      15   mention of those terms in the press release.
16     which they asked you to rely?                     16   Is that right?
17         A. They didn't ask me to rely on any          17       A. Right. But that's -- that's a
18     facts, no. It was up to me to choose whether      18   half-truth. I mean, if the information
19     to rely on facts or not.                          19   releases that day was the formal information
20         Q. And they provided you documents at         20   release, information statement, the conference
21     your request. Is that right?                      21   call and the press release, to say that there's
22         A. Yes.                                       22   no mention of it in the press release is not
23         Q. And the documents that you                 23   even a half-truth. It's a one-third truth.
24     considered, you listed at the end of your         24       Q. Well, it was actually technically
25     report. Is that right?                            25   true that there were no mention of those terms

                                          Page 737                                               Page 738
 1             Steven P. Feinstein, PhD, CFA              1         Steven P. Feinstein, PhD, CFA
 2     in the press release. Right?                       2      A. No.
 3         A. A half-truth is technically true,           3      Q. Did you run that analysis?
 4     but it's still a half-truth.                       4      A. No.
 5         Q. I would think a half-truth is only          5      Q. Why not?
 6     half true.                                         6      A. That's not what I was responding. I
 7              MR. MARKOVITS: There's a proverb:         7   mean, this is a rebuttal report. I was
 8         "A half-truth is a whole lie." I can send      8   responding to Dr. Bajaj. He didn't say there
 9         you that proverb.                              9   was no mention on that day, so I didn't need to
10         Q. So your counsel has just established       10   check it.
11     that half-true isn't true at all.                 11      Q. It didn't seem reasonable for you --
12              MR. GOLDFARB: Only for a securities      12   for Dr. Bajaj to assume that if subprime or
13         litigation lawsuit.                           13   nontraditional mortgages were a cause of the
14         A. Well, the point is that, you know --       14   stock price drop on November 20th, that they
15         Q. There's no question pending, Doctor.       15   would get mentioned in the November 20th press
16         A. -- he's trying to make a point that        16   release?
17     it had nothing -- that the announcements had      17      A. It was reasonable that if he was
18     nothing to do with subprime, and he pointed to    18   going to cite to that as evidence, then he
19     only one of the three pieces that came -- of      19   would have or should have been more
20     disclosures, venues that came -- that happened    20   comprehensive and not make it look like there
21     that day.                                         21   was no mention that day of subprime. There was
22         Q. Well, do you know how many times in        22   plenty of mention of subprime that day.
23     Freddie Mac's second-quarter 2007 supplement to   23      Q. You don't think that the mere fact
24     its information statement the terms "subprime"    24   that the term appeared in the supplement to the
25     and "nontraditional" were used?                   25   information statement's actually indicative of



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 1            Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2     a connection between the alleged fraud and the      2       A. In 52?
 3     stock price drop that day, do you?                  3       Q. Above 52 there's a heading.
 4         A. I don't. But that's the -- I was             4       A. Yes.
 5     responding to the argument that he constructed.     5       Q. Do you see the heading?
 6     He's the one that mentioned or that talked          6       A. Yes. Yes.
 7     about -- mentioned whether something appeared,      7       Q. Okay. And now, when you wrote it's
 8     whether words appeared.                             8   been used in literature, are you referring to
 9             MR. MARKOVITS: Keep crossing them           9   the articles that you identify below in this
10         out, Jason. Keep going.                        10   section?
11         Q. Now, turn to page 50 of your own            11       A. No. No, I was referring to -- well,
12     report, please.                                    12   the z-test is used in a lot of -- in the
13         A. Bottom page 50 or top page 50?              13   literature in a lot of places. But as -- for
14         Q. So -- I apologize. Turn to                  14   testing market efficiency, it's in the FDT
15     paragraph 50.                                      15   test -- article.
16             Now -- well, strike that. I believe        16       Q. So in this section that's entitled
17     I asked you about that already.                    17   "The z-test is a widely used statistical test
18             Turn to paragraph 52 just below.           18   that has been used in literature and accepted
19     Now, this is a section of your report -- if you    19   by courts as demonstrative of market
20     look just above paragraph 52, you'll see a         20   efficiency," you refer to an amicus brief in
21     subheading where you write, "The z-test is a       21   paragraph 53, several cases in paragraph 54 --
22     widely used statistical test that has been used    22       A. Right.
23     in literature and accepted by courts as            23       Q. -- and a Hartzmark article in
24     demonstrative of market efficiency."               24   paragraph 55?
25             Do you see that?                           25       A. Well, the Hartzmark article talks

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 1             Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2      about the collective test, which is very           2   what, University of Michigan, and the version
 3      similar to the z-test, but they use a              3   that's cited is the published version. I would
 4      different -- they use the bootstrap instead of     4   imagine they're similar.
 5      the actual z-test. But it's still a collective     5       Q. They both bear the same title.
 6      test that compares high-information days with      6   Correct?
 7      low-information days to see if the price           7       A. Yes.
 8      dynamics are the same.                             8       Q. The title of the Exhibit 272 is,
 9          Q. Well, let's talk about the Hartzmark        9   "The Curious Incident of the Dog That Didn't
10      article for a second.                             10   Bark and Establishing Effect-and-Cause in Class
11              (Exhibit 272 is marked for                11   Action Securities Litigation."
12          identification.)                              12           Is that right?
13      BY MR. FRANK:                                     13       A. Yes.
14          Q. I'm showing you a document that's          14       Q. In your report, you cite a Virginia
15      been marked as Exhibit 272. Is Exhibit 272 the    15   Law & Business Review article entitled "The
16      Hartzmark article that you reference in your      16   Curious Incident of the Dog That Didn't Bark in
17      rebuttal report?                                  17   Establishing Cause-and-Effect in Class Action
18          A. I think -- no. No. Oh, yeah. Yes,          18   Securities Litigation."
19      it is. On the cover it just says Seyhun, but      19           Is that right?
20      on the inside it does say Hartzmark and Seyhun.   20       A. Right.
21              So it is, yeah.                           21       Q. And they're both 2011 documents.
22          Q. This is the same article?                  22   Right?
23          A. This doesn't seem to be the                23       A. Yes.
24      published version. Well, maybe I'm wrong.         24       Q. Okay. Now, is this the Hartzmark
25              No, this is a working paper at,           25   article that you referred to in the first day



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 1             Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2      of your deposition testimony?                      2   things. It discusses how to -- you know,
 3          A. It's the unpublished version of it.         3   how -- why comparing news days to non-news days
 4          Q. Now, this Hartzmark article actually        4   establishes market efficiency when there's
 5      doesn't discuss a z-test. Is that right?           5   different price dynamics. And the logistics of
 6          A. Well, it depends whether you mean by        6   how they establish that there's a significant
 7      the z-test the actual statistical test that's      7   difference is with a bootstrap statistical
 8      used to compare the news and the non-news          8   process rather than a z -- statistical z-test.
 9      samples. That would be accurate. But if you        9       Q. They discuss a collective test. The
10      mean by the z-test a collective test -- let me    10   collective test they discuss is not the z-test?
11      try to say this correctly.                        11       A. I wouldn't even say it that way.
12              The z-test is a statistical test          12   Fair enough. I mean, it's -- all it is when
13      that's used for testing market efficiency and a   13   you get -- everything's the same about the
14      wide variety of other applications. So that's     14   z-test and the test they use until you get to
15      statistical tests they don't use, but people      15   how to statistically establish that the two
16      have been talking about a z-test as the           16   samples are different. Instead of using the
17      collective test of comparing news and non-news    17   statistical z-test, they use a bootstrap test.
18      days, and in that sense it is an article about    18   I also used a bootstrap test, and it's in the
19      that.                                             19   rebuttal report.
20              They don't use the same statistical       20       Q. I understand. But I'm just trying
21      test. They use a bootstrap test, which I also     21   to cut to the chase.
22      ran.                                              22           This is an article that discusses
23          Q. Okay. So this article discusses the        23   the bootstrap test, not the z-test. Is that
24      bootstrap test. Is that correct?                  24   right?
25          A. This article discusses a lot of            25       A. It discusses a collective test for

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 1             Steven P. Feinstein, PhD, CFA               1           Steven P. Feinstein, PhD, CFA
 2      market efficiency and employs a bootstrap test     2    is discussed in connection with assessing
 3      for distinguishing between the two samples.        3    market efficiency other than the FDT article?
 4          Q. Okay. Now, in terms of the amicus           4        A. The -- what we're talking about here
 5      brief that you cite in paragraph 53, that's an     5    is an application of a widely used statistical
 6      amicus brief that you coauthored. Is that          6    test. You say other than. I mean, there are
 7      right?                                             7    two articles -- well, there's the FDT article
 8          A. Right.                                      8    that specifically applies this well-known,
 9          Q. Now, are you aware of any other             9    commonly used statistical test to the realm of
10      literature in which the z-test is used other      10    market efficiency. And aside from that one, I
11      than -- well, strike that.                        11    do not know of other published articles about
12              Are you aware of any statistical --       12    it -- about it in the context of market
13      strike that.                                      13    efficiency.
14              Are you aware of any literature in        14        Q. Okay. Now, let me turn your
15      which the z-test is used in connection with       15    attention to your defense in your rebuttal
16      establishing market efficiency that isn't set     16    report of your event selection methodology.
17      forth in this section of your report, other       17    This, I believe, starts on paragraph 83, that
18      than the FDT article?                             18    is page 32 of 70 of your rebuttal report.
19          A. Well, the FDT article, the                 19        A. Okay.
20      Hartzmark/Seyhun, the amicus brief court          20        Q. Now, if you look at paragraph 86,
21      opinions -- no. Besides those, no.                21    you write -- you're responding to Dr. Bajaj's
22          Q. Okay. Well, let's just stick with          22    argument that your selection process was
23      academic literature for a moment.                 23    unprecedented and speculative. And you
24              So in terms of academic literature,       24    write -- well, more specifically at the very
25      are you aware of any article where the z-test     25    end of the paragraph 85, you write, "Dr. Bajaj



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 1            Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2     asserts that my 'method of selecting news days     2       Q. Now, in that article, was the Wall
 3     renders my test highly speculative' and that       3   Street Journal and the New York Times used to
 4     there is 'no scientific authority to support       4   select dates randomly or were there a
 5     the notion that my selection criteria is           5   particular kind of information that the Wall
 6     reliable.'"                                        6   Street Journal or the New York Times was used
 7             And you respond in paragraph 8 and         7   to identify?
 8     following, you write in all caps, "Dr. Bajaj is    8       A. Well, the authors relied on the Wall
 9     wrong. He is either unaware of or disregards       9   Street Journal and the New York Times to
10     the numerous academic papers in the finance       10   identify announcement dates.
11     literature that identify events based on news     11       Q. So isn't that case different from
12     appearing in the Wall Street Journal and the      12   this case insofar as there was a particular
13     New York Times. This event selection              13   kind of news that the authors were looking for?
14     methodology is well supported and widely used.    14       A. Well, the connection is that they
15     For example," and you cite a number of what       15   relied on the Wall Street Journal and the New
16     appear to be articles.                            16   York Times for identifying events.
17             Do you see that?                          17       Q. And -- well --
18         A. Yes.                                       18       A. That's common practice.
19         Q. Now, in the first one, it says the         19       Q. They were looking for a particular
20     usual -- "The usual published sources, for        20   kind of event in that circumstance. Right?
21     example, the Wall Street Journal or the New       21       A. So was I. I was looking for events
22     York Times, are used to select the announcement   22   that had important news with respect to Freddie
23     dates."                                           23   Mac.
24             Do you see that?                          24       Q. Well, you had never seen your
25         A. Yes.                                       25   approach used, done in -- strike that.

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 1            Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2             This is the first time you ever used       2           So they're the screens that
 3     that approach. Right?                              3   basically attest that something important
 4         A. Well, there were reasons for it,            4   happened with respect to Freddie Mac. It would
 5     which I explained in the last deposition.          5   be wrong to test the publication date rather
 6         Q. My question was a little bit                6   than the event date.
 7     different.                                         7       Q. Weren't you looking for dates that
 8         A. I never used exactly that                   8   had a higher information flow?
 9     methodology. But the methodology -- you know,      9       A. Yeah. But the higher information
10     the facts and circumstances of the case have to   10   flow, I mean, these are papers that are usually
11     be considered in applying the methodology,        11   published the next morning after -- these are
12     applying generally accepted, widely used tools.   12   papers that are published in the morning. If
13     In this case, those tools had to be applied       13   the event happened on a Wednesday, they will be
14     this way.                                         14   reported Thursday morning.
15         Q. Had you ever seen a methodology used       15           The information flow will be from a
16     before where the newspaper dates were not the     16   variety of sources -- television, the internet.
17     dates used to identify the events?                17   It will affect the market on Wednesday.
18         A. Yes. That's -- well, I did that            18           The Thursday publication in the Wall
19     way. I mean, because if we're looking for days    19   Street Journal and the New York Times, its
20     when there was -- I used the New York Times and   20   purpose is to say that this is an important
21     the Wall Street Journal as screens to identify    21   day. That the effect of these publications
22     when important news came out. But the day of      22   each identified that event as being an
23     the publication is not the day that should be     23   important event is what the screen -- is how I
24     tested. It should be the day of the event         24   used those publications for the screen.
25     that's reported in the article.                   25       Q. Are you aware of any literature that



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 1           Steven P. Feinstein, PhD, CFA                 1         Steven P. Feinstein, PhD, CFA
 2     supports the notion that the news day that          2       A. Sometimes. But these -- the content
 3     should be used is not the date of the               3   of these articles was about things that
 4     publication of a newspaper?                         4   happened, not about the -- not only about a
 5        A. I think this first one, we could --           5   particular reaction.
 6     do you have it here? We could look at it if         6       Q. Is it possible that the newspapers
 7     they're using it to identify announcement           7   covered events in part because there were large
 8     dates. Well, if you're using the Wall Street        8   stock price reactions to these events?
 9     Journal, for example, to identify earnings          9       A. I don't think so. If you look at
10     announcement dates, the date of the event is       10   the events, the events were important things
11     going to be the day before the publication in      11   that happened that may have elicited in some
12     the Wall Street Journal. So that's typical.        12   cases large stock price movements.
13        Q. Are you aware of whether -- of the           13          But they identified events -- I
14     selection process used by the New York Times or    14   mean, the fact -- using the Wall Street Journal
15     the Wall Street Journal to identify what events    15   and the New York Times together is so that we
16     got coverage?                                      16   can identify events, not just stock price
17        A. Did I talk to the editors to see how         17   movements. If you used like a paper that was
18     they screen? I think it's -- it's reasonable       18   more focused on investment advice, for example,
19     that they pick days, they pick events that they    19   that might be the case. But if it's the Wall
20     consider newsworthy. I think that's common         20   Street Journal and the New York Times, they're
21     knowledge. Wall Street Journal and the New         21   covering important events in the life of the
22     York Times pick events to cover that they          22   company. That's what they do.
23     consider newsworthy.                               23       Q. You don't think that the Wall Street
24        Q. Are large stock price movements              24   Journal and the New York Times pay attention to
25     sometimes newsworthy?                              25   investment-related information?

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 1            Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2         A. What I'm saying is that they're not          2       A. Including major newspapers.
 3      specifically investment advice publications,       3       Q. And they say -- do you see what I
 4      which is where -- that and certain analyst         4   just referred you to?
 5      reports react to price movements rather than       5       A. Yes.
 6      the actual developments in the life of the         6       Q. Okay. Now, they say there are
 7      company.                                           7   various ways to select news dates, and one of
 8         Q. Isn't it possible that the Wall              8   the issues is the choice of news sources to be
 9      Street Journal or the New York Times reporters     9   searched. And they say, for example, major
10      who covered events took into account stock        10   newspapers and press wires versus all available
11      price movements in deciding whether or not to     11   news sources.
12      cover them?                                       12           Do you see that?
13              MR. MARKOVITS: Objection as               13       A. Yes.
14         to possible.                                   14       Q. And you chose two major newspapers
15         A. Well, I mean, I don't recall seeing         15   and did not include press wires. Is that
16      an article that says there was a large movement   16   right?
17      and we have no idea what was going on.            17       A. Yes.
18      Certainly in the life of this company, I think    18       Q. Why was that?
19      sometimes that occurs. But that's not what        19       A. Well, I was looking for a screen
20      was -- happened in these events.                  20   that would identify the big important
21         Q. Now, if you turn to paragraph 88 of         21   developments in the life of this company.
22      your report, you see that Ferrillo, Dunbar, and   22       Q. And one screen that --
23      Tabak identify various ways to select news        23       A. And, frankly, the issue that you
24      dates for a z-test.                               24   raised before would be relevant if it wasn't --
25              Do you see that?                          25   if you broadened the search out to include



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 1            Steven P. Feinstein, PhD, CFA                1         Steven P. Feinstein, PhD, CFA
 2      analyst reports or investor advice                 2   at my last report to describe to you the
 3      publications, where they would just say there's    3   selection procedure. Do we have it?
 4      something going on at Freddie Mac. We don't        4           Wrong report.
 5      really know what it is, but the price is           5           Do you have -- do I have it? The --
 6      falling or the price is rising.                    6      Q. I don't think your old report's been
 7              I mean, picking the New York Times         7   reintroduced here.
 8      and the Wall Street Journal, respected             8      A. Well, that's what your question's
 9      publications, widely read, with respected          9   about. I would need to see it.
10      editors, is a way of screening what's big news.   10      Q. You don't remember offhand what the
11          Q. And one of the things they suggested       11   selection procedure was?
12      was whether to limit the search to those          12      A. It's in the report.
13      stories where the company name and/or ticker is   13      Q. I understand.
14      mentioned in the headline, mentioned in the       14      A. The report speaks for itself.
15      headline and lead paragraph, or mentioned         15      Q. I understand.
16      anywhere in the story.                            16      A. What I do remember is the articles
17              Do you see that?                          17   are about Freddie Mac. Usually when I use
18          A. Right. Yes. Each of the articles I         18   Factiva, there's a search parameter that -- for
19      picked were about Freddie Mac.                    19   the -- the company they consider the subject of
20          Q. And so did you use one of those            20   the article.
21      screens; that is, mentioned in the headline,      21      Q. Now, are you aware of any paper or
22      the headline and lead paragraph, or anywhere in   22   brief in a case or a report where your same
23      the story?                                        23   methodology was used? Event selection
24          A. This is something we covered in the        24   methodology.
25      last deposition, so I'm going to have to look     25      A. I can't say one way or the other.

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 1           Steven P. Feinstein, PhD, CFA                 1         Steven P. Feinstein, PhD, CFA
 2     As I sit here right now, at the end of the day      2   York Times and the Washington Post, we
 3     I can't name it for you, but I can't rule it        3   identified nine press dates from 1988 to 1990
 4     out, either.                                        4   on which articles appeared indicating
 5         Q. Now, if you look at paragraph 86, at         5   significant changes in the likelihood that the
 6     the top of page 30, you'll see that you cite an     6   commission would adopt increased penalties for
 7     article from the Journal of Banking & Finance       7   corporate crimes including fraud."
 8     entitled "Do Managers Time the Market?              8           Do you see that?
 9     Evidence from Open-Market Share Repurchases."       9      A. Yes.
10             Do you see that?                           10      Q. And, again, that was an effort ex
11         A. Yes. Yes.                                   11   ante to identify the type of information they
12         Q. And in that article, they looked at         12   were looking for. Correct?
13     open-market repurchase programs as reported by     13      A. Right.
14     the Wall Street Journal.                           14      Q. Okay. And you hadn't identified ex
15             Do you see that?                           15   ante the type of information you were looking
16         A. They rely on the Wall Street Journal        16   for here, had you?
17     to identify the event dates.                       17      A. No, I had.
18         Q. But in that case, there was an ex           18      Q. Well, you weren't looking for
19     ante identification of the type of event date      19   earnings dates, were you?
20     they wanted to address. Correct?                   20      A. Not -- I wouldn't rule them out. It
21         A. I don't recall specifically but             21   was -- if the New York Times and the Wall
22     sounds reasonable.                                 22   Street Journal considered a development to be
23         Q. And in the next article from the            23   an important development in the life of Freddie
24     Journal of Law and Economics, it says,             24   Mac and it was such that it was reported in
25     "Searching the Wall Street Journal and the New     25   both, it was included.



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 1            Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2         Q. But you didn't care whether it was a         2           Here, I left it to the Wall Street
 3     stock buyback program, whether it was earnings      3   Journal and New York Times to identify what
 4     dates, whether it was a discussion about            4   they consider big news. That's what they do.
 5     particular kind of information. You were just       5   That's what those -- that's what people rely on
 6     interested in the fact that those two entities      6   the Wall Street Journal and the New York Times
 7     wrote articles on or near the same date about       7   for. You know, of course, the writing and the
 8     the same subject?                                   8   reporting is good, but their selection of
 9         A. Oh, about the same subject. That's           9   what's big news is part of the role they serve
10     what's the important thing.                        10   in society and in the financial markets.
11         Q. Did I get that right?                       11       Q. Is it your view that selecting
12         A. No, I mean, I was interested in             12   earnings dates as a -- the kind of date you
13     events that the Wall Street Journal and the New    13   want to review ex ante is a subjective
14     York Times both considered to be important         14   determination?
15     news. If they both considered it to be             15       A. No. But in this particular case, as
16     important news, the underlying principle is        16   I described in my last deposition, that
17     that it was an important day in the life of        17   wouldn't have been appropriate to use earnings
18     Freddie Mac such that there would be high news     18   dates.
19     flow those days.                                   19       Q. Because you already knew what the
20         Q. And you ex ante didn't make a               20   results were?
21     determination of what kind of news you wanted      21       A. Well, not just that I knew what the
22     to identify. Correct?                              22   results were. It's because there was already a
23         A. I didn't do that -- well, if I had,         23   debate -- it was already reported why four of
24     then Bajaj and perhaps you would be criticizing    24   the six were not -- were not and should not
25     that it was a subjective screen.                   25   elicit statistically significant movements.

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 1            Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2             I actually -- I looked at that              2      A. The arguments over the earnings
 3      argument and Dr. Holman's report and I verified    3   announcement dates were already out there on
 4      it. He said it was mixed news on those four.       4   the table. Holman said they were important
 5      I saw that Dr. Bajaj disagreed.                    5   dates to look at. Holman said that the first
 6             If I had just repeated Dr. Holman's         6   four were mixed news and so that they wouldn't
 7      methodology, the way I would have done it is       7   reasonably elicit statistically significant
 8      the way I did it in Prudential. I would have       8   reactions. Holman said the last two were
 9      said that let's look at the dates based on the     9   significant. Bajaj said the last one was but
10      news that should, and the only one of the dates   10   the second-to-last one wasn't.
11      that indisputably should elicit a statistically   11           I just didn't see anything that the
12      significant movement, according to Dr. Bajaj      12   court could gain from additional analysis
13      and Dr. Holman together, was the last one and     13   there.
14      which was included.                               14      Q. Let's turn to the -- strike that.
15             So, I mean, the point is what I            15           Well, did you understand that when
16      made -- the point I made last time was that       16   you became the new expert substituting for
17      that ground was already well tread. And, you      17   Dr. Holman, that those old -- older arguments
18      know, throwing my hat in the ring and agreeing    18   between Dr. Holman and Dr. Bajaj would no
19      with Bajaj or agreeing with Holman on it didn't   19   longer be before the court?
20      seem like the most informative approach for       20           MR. MARKOVITS: Objection.
21      purposes of establishing market efficiency or     21      A. Actually, I didn't know one way or
22      finding evidence that it wasn't efficient.        22   the other how that would be treated. But it
23          Q. What do you mean "the most                 23   didn't make sense to me to start anew with a
24      informative approach"? What do you mean by        24   different approach.
25      that?                                             25      Q. Let's turn to the damages section of



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                                           Page 763                                               Page 764
 1             Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2      your report.                                       2       A. It does.
 3          A. If I could -- well, I just want to          3       Q. And it goes all the way to
 4      elaborate just a bit.                              4   paragraph 155. Do you see that?
 5          Q. I'll wait for your counsel to ask           5       A. Yes.
 6      you a question at the end of --                    6       Q. Okay. And so paragraphs 134 through
 7          A. All right. I don't -- we'll leave           7   155 contain your entire rebuttal to
 8      it at that. We'll leave it at that.                8   Dr. Gompers. Is that correct?
 9              No. I just want to point out that          9       A. Yes.
10      had I used -- had I appropriately included an     10       Q. Okay.
11      analysis of the earnings announcements, it's      11       A. As I said earlier, it really can be
12      pretty clear what Dr. Bajaj's, or whoever your    12   condensed to a couple of sentences, really.
13      expert would have been, how they would have       13       Q. Now, did you leave anything
14      criticized it. They would have said it was        14   important out?
15      invalid because I already knew the results.       15       A. I don't believe I did.
16              MR. VOLPE: Objection.                     16       Q. Now, Dr. Gompers had a number of
17          Nonresponsive. No question pending.           17   criticisms of your opinion on damages.
18          Q. Now, on page 48 of your report, that       18   Correct?
19      is page 52 of 70, 48 if you look at the bottom    19       A. He did.
20      of the page, do you see there's a section that    20       Q. And you addressed them all in these
21      is Roman numeral IV, critique of the Gompers      21   paragraphs. Is that right?
22      report?                                           22       A. Right. The overriding addressing of
23          A. Yes.                                       23   his opinion is that his conclusion says that it
24          Q. Okay. And that section begins with         24   would be a complex matter to calculate damages.
25      paragraph 134. Do you see that?                   25   I don't dispute that.

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 1            Steven P. Feinstein, PhD, CFA                1         Steven P. Feinstein, PhD, CFA
 2              He says if not impossible -- well,         2   didn't put in your report, do you?
 3      he doesn't say it's impossible. He doesn't --      3       A. Yes, I do.
 4      he refuses to opine that it's impossible, both     4       Q. What's that?
 5      in his report and in his deposition.               5       A. That it wasn't necessary for him to
 6              So he did not say it's impossible,         6   recap or recount the history of the 2007-2008
 7      and I say it's possible. And I have -- I           7   financial crisis, or most of what's in there
 8      can -- that's what this -- that's what I do in     8   just wasn't necessary. He puts that in there
 9      this section. It is possible.                      9   in order to assert ultimately that it would be
10         Q. Mr. Volpe is going to move to strike        10   difficult to calculate damages, but he refuses
11      everything after the word "right," and I'm        11   to say it would be impossible to calculate
12      going to join him at a later date.                12   damages.
13              MR. VOLPE: Move to strike.                13           And he also -- so I didn't put in
14         Nonresponsive.                                 14   here that virtually everything in his report
15         Q. Now, you don't have any opinions            15   was not necessary, because his conclusion
16      regarding his critique that you didn't put in     16   ultimately is something I can agree with, which
17      here, do you?                                     17   is that it would be -- it's complex. Complex,
18              MR. MARKOVITS: Are you saying that        18   but not impossible.
19          he address every sentence in the multiple     19       Q. Doesn't he opine that you did not
20         pages of the 140-some pages in Bajaj's and     20   articulate a damages model that could calculate
21         Gompers' report? Obviously, he didn't.         21   damages in this case?
22              MR. FRANK: I'll clarify in case           22       A. Oh, I refute that here. I did -- I
23         there's any confusion.                         23   write my damages model. So there is a damages
24         Q. You don't have any opinions                 24   model, and that's refuted right here.
25      regarding Dr. Gompers' critique of you that you   25       Q. You don't agree with that opinion of



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                                            Page 767                                            Page 768
 1          Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2     his?                                              2   value stocks under a wide variety of
 3          A. Absolutely. I totally disagree.           3   assumptions and scenarios and information flow.
 4     And, frankly, I think 11 courts have also         4       Q. Let me turn your attention to
 5     disagreed with him on the subject.                5   paragraph 136.
 6          Q. But you understand -- you understand      6       A. Okay.
 7     that's his opinion?                               7       Q. There you write, "Dr. Gompers has
 8          A. That I did not articulate a damage        8   four main criticisms of the damages methodology
 9     model?                                            9   described in the Feinstein report."
10          Q. That can calculate damages in this       10           Do you see that?
11     case consistent with the theory of liability.    11       A. I do.
12          A. And I totally disagree with that.        12       Q. Now, let's look at the first one.
13          Q. But you understand that's his            13   You write -- this is the first criticism of Dr.
14     opinion. Right?                                  14   Gompers -- "that my proposed methodology 'fails
15          A. Well, it's compound. Your question       15   to articulate any specific methodology for
16     is compound because his statement is compound.   16   calculating damages.'"
17             So about half of it is, did I            17           Do you see that?
18     articulate a model? Yes, I do. I think he        18       A. Yes.
19     thinks I didn't, but yes, I did articulate a     19       Q. You understood that was one of his
20     model. Can it calculate damages? I say yes.      20   criticisms of you. Right?
21     He says it would be hard. It would be complex,   21       A. Yes.
22     that using that model would be complex.          22       Q. You don't agree with that, do you?
23             I don't disagree with that. I mean,      23       A. Correct.
24     it's not impossible, but it would be -- it's     24       Q. Okay. If he's right about that,
25     certainly possible. People do that every day,    25   what does that mean?

                                            Page 769                                            Page 770
 1            Steven P. Feinstein, PhD, CFA              1          Steven P. Feinstein, PhD, CFA
 2          A. I don't know. That's for the court        2   articulated a methodology that can account for
 3      to determine.                                    3   changes in market conditions during the
 4          Q. Okay. But you disagree with --            4   proposed class period."
 5          A. I think it's wrong. I think it's          5           Do you see that?
 6      clearly wrong.                                   6       A. Yes.
 7          Q. Okay. Now, his second criticism of        7       Q. Okay. That was one of his
 8      you is "that my proposed damages model is        8   criticisms of you. Right?
 9      inconsistent with plaintiffs' materialization    9       A. Yes.
10      of risk theory of liability."                   10       Q. You don't agree with him, do you?
11              Do you see that?                        11       A. Correct.
12          A. Yes.                                     12       Q. Okay. And, finally, he has a fourth
13          Q. You disagree with him. Right?            13   criticism, according to you, which is that "my
14          A. Yes.                                     14   proposed damages approach fails to distinguish
15          Q. You understood that was his opinion,     15   among multiple types of alleged
16      though?                                         16   misrepresentations."
17          A. Yes.                                     17           Do you see that?
18          Q. Okay. That's one of his criticisms       18       A. I do.
19      of you. Right?                                  19       Q. Do you agree with him?
20          A. One moment.                              20       A. No.
21              Okay. Yes.                              21       Q. Okay. Now --
22          Q. He has a third criticism of you.         22       A. I mean, I -- if what he means is
23      Correct?                                        23   that the approach cannot, the damage model
24          A. Yes.                                     24   cannot, then I certainly disagree with that.
25          Q. That is that you "have not               25       Q. Well, let's talk about what he



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 1           Steven P. Feinstein, PhD, CFA                 1         Steven P. Feinstein, PhD, CFA
 2     actually wrote.                                     2       Q. And apparently there are a number of
 3        A. It's false. What he wrote is false.           3   different ones. There are those based on
 4        Q. You disagree with him?                        4   earnings, EBIDTA, revenue, book value, and cash
 5        A. Correct.                                      5   flow. Is that right?
 6        Q. You think he's wrong?                         6       A. Yes.
 7        A. Yes.                                          7       Q. There are multiple different kinds
 8        Q. You don't agree with him?                     8   of multiple models?
 9        A. That's right.                                 9       A. Right.
10        Q. Okay. Now, you in paragraph 145              10       Q. Okay. And then there's a second
11     mention several "commonly used valuation           11   category, discounted cash flow models. Right?
12     tools."                                            12       A. Yes.
13        A. Right.                                       13       Q. And then there's something called
14        Q. It appears about five lines down.            14   return attribution analysis. Right?
15     You write, "Among the commonly used valuation      15       A. Yes.
16     tools that are available to investors and          16       Q. Of those three different types of
17     analysts in real time."                            17   models, which do you propose to use here?
18             Do you see that?                           18       A. I have all of them at my disposal.
19        A. Yes.                                         19   The marketplace did; so would I.
20        Q. Okay. And then you list several              20       Q. But which one are you going to use
21     valuation tools. Is that right?                    21   in this case?
22        A. I do.                                        22       A. That's -- that's -- the specific
23        Q. One of them is valuation multiple            23   implementation of the model, the model, is to
24     models. Do you see that?                           24   calculate an inflation ribbon, which is the
25        A. Yes.                                         25   difference between the actual price that

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 1            Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2      prevailed in the marketplace and the price that    2   that I described as being a model of
 3      would have prevailed had there been full           3   out-of-pocket damages.
 4      disclosure. It's to use the inflation ribbon       4      Q. Is it fair to say that you just
 5      and look at changes in the inflation ribbon.       5   haven't decided yet which one of these
 6      That's the model.                                  6   valuation tools you would use to calculate
 7              And so it's really the construction        7   damages in this case?
 8      of the but-for price that he's questioning, can    8      A. Well, it's premature. I mean, the
 9      that be done. I would have all the tools at my     9   discovery's not complete. The full record's
10      disposal that market participants have in real    10   not complete. The evidence and proof of what I
11      time, and that's what this paragraph says.        11   previously was led -- was required -- what I
12          Q. Have you ever heard the expression         12   was previously asked to assume has not yet been
13      "out-of-pocket damages"?                          13   fully developed and presented.
14          A. Yes.                                       14           I mean, the connection between
15          Q. In a securities case, what's the           15   misrepresentations and omissions, market
16      definition of "out-of-pocket damages," if you     16   expectations for, for example, the
17      know?                                             17   November 20th earnings announcement and the
18          A. Well, what I've heard is that this         18   actual loss that was reported, that record has
19      model that I've articulated is the definition     19   to be developed before I know which of these
20      of out-of-pocket damages -- out-of-pocket         20   tools is best to establish the but-for price.
21      damages, the loss that was -- the loss that       21      Q. Is it fair to say that you haven't
22      occurred on account of the misrepresentations     22   selected from among these valuation tools to
23      and omissions, being the change in the            23   calculate damages because, in your view, it's
24      inflation from the -- it's exactly what I         24   premature?
25      described as the model. I've heard the model      25      A. Yes --



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 1            Steven P. Feinstein, PhD, CFA                1          Steven P. Feinstein, PhD, CFA
 2         Q. Now --                                       2   there be more?
 3         A. -- it's premature. The model is              3       A. Well, these are examples of the
 4     established. The model of how one was damaged,      4   tools that are available to the marketplace and
 5     if the allegations are true, is there. It's         5   would also be available to me. There are more.
 6     articulated. The -- even the implementation to      6       Q. So we don't know which one of these
 7     the extent that one would require evaluation of     7   models you would use?
 8     the stock under alternative scenarios, under        8       A. These aren't models. These are
 9     full disclosure scenarios, is there.                9   tools to implement the well-articulated model.
10             What valuation tools, you know, it's       10       Q. Is it fair to say that valuation
11     when you get that granular. What valuation         11   multiple models aren't models?
12     tools specifically would be applied for that,      12       A. This is not a damage model. It's a
13     the full record needs -- the full record that      13   valuation model. A valuation model is a tool
14     informs me, or whoever the forensic analyst is,    14   within the damage model. So which tools to use
15     of specifically what are the actionable and        15   to value the stock under alternative hypotheses
16     established misrepresentations and omissions       16   and alternative scenarios needs to wait.
17     that impacted the price, that's what needs to      17       Q. And the damages model you articulate
18     be done. That's what needs to be provided or       18   is the same as the definition of out-of-pocket
19     further developed in order to pick the tools.      19   damages. Is that right?
20         Q. Now, if you -- assume that the              20       A. You know, I really -- to the best of
21     record is developed. Assume you're the expert      21   my recollection, but I would rather not say.
22     retained to calculate damages on behalf of the     22   I'd rather call the model the -- rather than
23     plaintiffs.                                        23   name the model, I'd rather just stick with my
24             Will you be choosing from among only       24   description of the model.
25     these three tools that you identified or will      25       Q. Well, your description of the model,

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 1             Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2      is that a description that applies to every        2   your report here in every securities case?
 3      securities litigation case?                        3       A. I know there are some securities
 4          A. 10b-5 class action cases. That's            4   cases where experts have proposed alternative
 5      the model that courts and Congress have agreed     5   damage models, and sometimes they succeed and
 6      is an appropriate model.                           6   sometimes they fail to satisfy the court that
 7          Q. And so, in your view, the Comcast           7   they've articulated a model that's consistent
 8      requirement -- well, strike that.                  8   with the theory of liability.
 9              Are you familiar with the fact that        9           But I don't know of a case where the
10      there's a Comcast requirement?                    10   standard model used by courts and referenced by
11          A. I'm not a lawyer. I'm familiar with        11   Congress has failed to satisfy the court.
12      the Comcast decision and what it says.            12           But I'm not a lawyer. I mean,
13          Q. And you're familiar that it requires       13   that's my -- my understanding is that the -- is
14      at the class certification stage for plaintiffs   14   that what's meant by the Comcast requirement is
15      to identify a model for damages that is           15   satisfied by articulating this sort of
16      consistent with the plaintiffs' theory of         16   methodology, this sort of model to this level
17      liability. Is that correct?                       17   of specificity.
18              MR. MARKOVITS: Objection. Calls           18       Q. Now, in paragraph 145, you mention
19          for a legal conclusion.                       19   literature regarding valuation effects of
20          A. I understand that that's a                 20   factors such as reputation and quality of
21      requirement of plaintiffs.                        21   accounting.
22          Q. And so is it your understanding is         22           Do you see that?
23      that -- is it your understanding that in a        23       A. Yes, I do.
24      securities case, that requirement is easily       24       Q. And how would that literature impact
25      satisfied by articulating what you have done in   25   any work you might ultimately do on damages?



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 1            Steven P. Feinstein, PhD, CFA                1         Steven P. Feinstein, PhD, CFA
 2          A. Oh. Well, there's a literature that         2   where the marketplace for a large publicly
 3      says specifically, for example, what's the         3   traded security like Freddie Mac stock has said
 4      relationship between economically quantifiable     4   we don't know how to value this stock and we're
 5      inflation and reputation effects, for example.     5   not going to price it. The marketplace
 6              So there's a literature that talks         6   virtually continuously prices every publicly
 7      about how reputation is used or viewed by the      7   traded security, and they use these tools. And
 8      marketplace in a way that impacts the stock        8   so would I.
 9      price. I would likely use that in that case.       9       Q. Now, let me turn your attention back
10              There's a literature on what              10   to the Hartzmark -- actually, do we now have
11      investors typically do when they don't have       11   the -- let's take a brief break here.
12      access to information that they would otherwise   12           THE VIDEOGRAPHER: The time now is
13      want. Acrolaw work. Lemons law analysis and       13       16:44, and we're off the record.
14      models are an example of that. So -- and there    14           (Recess taken from 4:44 to 4:58
15      are others. There's literature about the types    15       p.m.)
16      of things -- about how various effects that       16           THE VIDEOGRAPHER: The time now is
17      might be at play in the ultimate but-for          17       16:58. We're on the record.
18      scenario that I'm asked to analyze affect the     18   BY MR. FRANK:
19      stock price.                                      19       Q. Do you recall at the beginning of
20          Q. Now, is that literature literature         20   the deposition, Dr. Feinstein, you referred to
21      that you would use to modify how you use the      21   a footnote in Dr. Bajaj's report that you
22      valuation tools that you identified just before   22   thought contained an opinion that he shouldn't
23      it?                                               23   have put in a footnote?
24          A. Most likely. It could be -- it             24       A. Yes.
25      could augment them. But I don't know of a case    25       Q. What was that footnote, if you

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 1             Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2      recall?                                            2   pretty well today.
 3          A. We actually covered it.                     3       Q. We covered it? So there's
 4          Q. I'm just trying to remember.                4   nothing -- there's no opinions you have
 5          A. It was about serial correlation. He         5   vis-Ã -vis Dr. Bajaj's report that haven't been
 6      said it was that before one tests semi-strong      6   expressed either in your own report or
 7      efficiency, one should check for serial            7   expressed today by you at your deposition?
 8      correlation to test weak-form efficiency.          8       A. No. I -- during the break I was
 9          Q. And do you have this exhibit before         9   thinking through what we've covered today, and
10      you that is Dr. Bajaj's report?                   10   there's one other thing I'd want to say about
11              I believe it was previously marked        11   it.
12      as Exhibit 187.                                   12       Q. What else would you like to say?
13          A. Yes.                                       13       A. Well, I mean, when he took -- when
14          Q. And do you recall where this               14   he slices and dices the class period into three
15      footnote was in his report, by any chance?        15   periods and then runs a binomial test, he's
16          A. No. Look, he's got 200 footnotes.          16   really condemning the test to fail from the
17      If you look at page 80, page 80 has the 212th     17   outset.
18      footnote. So there's quite a lot of footnotes.    18           I mean, you don't even have to run
19      I don't remember which number it was.             19   the test. If there's three periods and he's
20          Q. Did you testify that you didn't --         20   only accepting that there were three
21      because it was in a footnote, that you -- was     21   significant events, then there's really either
22      it that you did not include in your rebuttal      22   only going to be one significant event per
23      report reactions you had to the footnote? Is      23   period or some periods will have no significant
24      that right or am I misremembering?                24   events.
25          A. No, that's right. But we covered it        25           So it's really a poorly -- if he



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 1             Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2      does it that way, if he really believed that       2       Q. Was there any limit to the number of
 3      those were appropriate slicing and dicings of      3   dates that you could choose?
 4      the class period, then it would be an              4       A. If I -- if the screen had not
 5      inappropriate test to run, because you would --    5   identified an appropriate number of tests to
 6      it just has no power. It would have no power       6   run over either the whole period or some
 7      to distinguish efficient from inefficient          7   portion of the period that I thought was
 8      markets, the way he ran it.                        8   necessary to run it over, I would have
 9              So it's -- I mean, it's -- again,          9   understood that the test had no power to
10      it's not -- he's not detecting a defect in the    10   distinguish efficient from inefficiency from
11      market. What he's detecting is a defect he        11   the beginning and therefore I wouldn't have run
12      built into the test.                              12   it.
13          Q. Well, who chose the dates for the          13           But he went ahead and that's what he
14      test?                                             14   did. So he's making it look like he found a
15          A. He did. I mean, he chose the points        15   defect in the market when, in fact, it's a
16      to where to slice -- if that's what you meant.    16   defect he could have identified and explained
17      He chose these break points.                      17   in the test the way he ran it, the way he chose
18          Q. No, that's not what I asked.               18   to run it.
19               Who chose the dates to test?             19       Q. Did you engage in more than one
20          A. I chose the dates to test.                 20   effort to identify what you just referred to as
21           Q. Was there any limit --                    21   a screen?
22          A. But it makes sense to run it if it's       22       A. He could.
23      being run over the entire class period. It        23       Q. No. Did you engage in more than one
24      doesn't make sense to run it if you're going to   24   effort to identify --
25      run it over pieces of the class period.           25       A. No.

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 1             Steven P. Feinstein, PhD, CFA               1         Steven P. Feinstein, PhD, CFA
 2          Q. -- the selection process?                   2       mean it's still correct?
 3          A. No. Because the screen did identify         3           THE WITNESS: I'm not sure.
 4      an appropriate number of events to run over a      4      Q. Well, I'll ask the question again.
 5      test of 16 months.                                 5   You can give it another go.
 6          Q. And so on your first shot, your             6      A. All right. Yeah. Let me just put
 7      screen identified nine dates, and you thought      7   on the record that I might have misspoken on
 8      that that was an appropriate number of dates?      8   the last answer and I want to correct it.
 9          A. Right. If it identified just one,           9       Q. At the time that you identified nine
10      then the screen would have failed.                10   dates, you already knew that there was a
11          Q. And at the time that you identified        11   structural break in the class period, at least
12      nine dates, you knew already that there was a     12   one. Correct?
13      structural break in the class period, at least    13      A. One. There was one.
14      one. Correct?                                     14      Q. Now, let me turn your attention to
15          A. Yeah. But don't -- don't conclude          15   Footnote 40 of Dr. Bajaj's report that appears
16      from that that the way I ran the test over the    16   on page 20 of 370.
17      whole period is incorrect. It's still             17      A. Footnote 40 on page 19?
18      incorrect.                                        18      Q. Yes. 19 of 81.
19              The structural break is a break in        19      A. That's the footnote. That's it.
20      the statistics, and that was taken into account   20      Q. Footnote 40 is the footnote that you
21      for determining which events were significant.    21   read that you reacted to?
22      It's not a structural break in the market         22      A. Right.
23      efficiency.                                       23      Q. I got lucky.
24              MR. MARKOVITS: Professor, I believe       24      A. You did.
25          you said, "It's still incorrect." Did you     25      Q. And that's the footnote that you



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 1           Steven P. Feinstein, PhD, CFA                 1          Steven P. Feinstein, PhD, CFA
 2     were testifying about this morning. Correct?        2           I will tell you that it is my hope
 3         A. Yes.                                         3   that the production of that material does not
 4         Q. Okay. And that's the footnote that           4   lead to yet another day of depositions. But I
 5     you believe you've already shared on the record     5   do believe we are entitled to that material,
 6     why you believe that footnote is not correct.       6   and I would like to see that material before we
 7     Is that fair to say?                                7   make decisions about actually concluding the
 8         A. Yes.                                         8   deposition.
 9         Q. Okay. I will not rehash old ground.          9           So at this time, having said that, I
10             Now, at this time I'm going to pass        10   will pass the witness.
11     the witness, but I will say that if no one else    11           MR. MARKOVITS: Okay. We disagree,
12     has questions then it's my intention to suspend    12       but I'm going to have a few questions -- we
13     today, because I believe that there is data or     13       disagree as to the issues you just raised.
14     documents that should have been produced that      14       But we will address it and we'll move on
15     was not produced.                                  15       from there.
16             And so I'm going to ask that any           16           But, meanwhile, I have a few
17     calculations that were considered by you in        17       questions to clarify the record.
18     connection with your rebuttal report, including    18                EXAMINATION
19     any Chow test you ran or your team ran and         19   BY MR. MARKOVITS:
20     including any other tests you ran to assess --     20       Q. Dr. Feinstein, you testified earlier
21     to assess calculations be provided to us.          21   in the deposition about the Prudential case,
22     Because under the rules, I believe those           22   which is referenced in your rebuttal report.
23     were -- that was data that you considered in       23   Correct?
24     connection with forming your opinion, opinions,    24       A. Yes.
25     and I believe we're entitled to it.                25       Q. Why did you cite the Prudential

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 1           Steven P. Feinstein, PhD, CFA                 1          Steven P. Feinstein, PhD, CFA
 2      case?                                              2   omissions alleged by the plaintiffs. Correct?
 3          A. Because it is a case, and a prior           3       A. Yes.
 4      case that I did, in which there were two           4       Q. Are you opining or have you ever
 5      empirical tests for Cammer 5. One was an           5   opined as to the truth of those
 6      events study, and it was a traditional events      6   misrepresentations or omissions?
 7      study that examined one single date, exactly       7           Let me strike that and be a little
 8      the same as in the Freddie Mac case. And the       8   more clear.
 9      collective test similarly was very similar to      9           Are you providing any opinion as to
10      the collective test run in the Freddie Mac        10   whether or not plaintiffs are correct in their
11      case.                                             11   allegations of misrepresentations and
12              So I included that in my rebuttal         12   omissions?
13      report because there was a question as to         13       A. No.
14      whether or not I've ever used exactly this        14       Q. Why not?
15      methodology before, and that's an example of      15       A. It wasn't necessary for the work
16      where I did do a single-event event study for     16   that I did. What was the necessary with
17      the Cammer 5 capture.                             17   respect to the price impact was that I assume
18          Q. Is the description in your rebuttal        18   that, in fact, there are those
19      report of the Prudential case misleading in any   19   misrepresentations and omissions. So it wasn't
20      respect?                                          20   necessary, and with respect to loss causation,
21          A. No.                                        21   it's premature.
22          Q. I want to direct your attention to         22       Q. What's the relevance of November 20,
23      the third amended complaint previously marked     23   2007, with regard to your opinions?
24      as Exhibit 30. In that, there are a number of     24       A. Well, that's a date on which
25      allegations regarding misrepresentations and      25   plaintiffs allege that there were corrective



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 1           Steven P. Feinstein, PhD, CFA                 1          Steven P. Feinstein, PhD, CFA
 2     disclosures, specific information provided that     2                EXAMINATION
 3     corrected incorrect information that was            3   BY MR. FRANK:
 4     provided previously, and on which there was a       4       Q. Dr. Feinstein, you have before you
 5     realization of the risk that was allegedly          5   Exhibit 270. That's your report in Prudential.
 6     underestimated on account of misrepresentations     6       A. Yes.
 7     and omissions, either underestimated or             7       Q. Is it your testimony that in
 8     concealed.                                          8   Prudential, you only considered one date in
 9        Q. I want to just touch briefly on Dr.           9   connection with potential disclosures?
10     Gompers' critiques, part of which dealt with       10       A. No. I considered several, just as I
11     issues such as confounding events or change in     11   considered several in the Freddie Mac case, but
12     market conditions, multiple misrepresentations.    12   arrived at one that was appropriate to test,
13            Can all those add to the complexity         13   just like -- just as I did in Freddie Mac.
14     of a damage analysis?                              14       Q. What are the several dates you
15            MR. FRANK: Objection.                       15   considered in the Freddie Mac case?
16        A. They can, but they're not unusual.           16       A. Well, as we talked about today, I
17     Every case has those features. Every analysis      17   considered using the earnings announcements,
18     of security over a span of time will reasonably    18   but rejected doing that for a variety of
19     have features like that.                           19   reasons.
20            So it's not unusual, it's not               20       Q. Now, I see that in the Prudential
21     unique, that kind of challenge and complexity      21   case, you included discussion of the various
22     that needs to be addressed in calculating          22   dates that you considered testing but didn't.
23     damages.                                           23           Did you include a discussion in your
24            MR. MARKOVITS: I have nothing               24   Freddie Mac report of the dates that you
25        further.                                        25   considered including but did not?

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 1             Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2          A. I don't think it was in the report,         2   test some of the earnings announcements dates
 3      but it was certainly in the deposition.            3   in this case?
 4          Q. Now, other than the Prudential case,        4       A. Some, yes.
 5      have you -- strike that.                           5       Q. Okay.
 6              Now, in the Prudential case, you           6       A. Because they were included in the
 7      actually did test earnings announcements dates.    7   collective test. They were identified as
 8      Is that correct?                                   8   important dates by the New York Times and the
 9          A. Only as a -- in the collective test.        9   Wall Street Journal.
10      So there was no deep-dive information analysis    10       Q. They were identified using your New
11      on each of them to see if they should be          11   York Times/Wall Street Journal event selection
12      included in an individual event study --          12   criteria?
13      individual-event events study. But they were      13       A. Yes.
14      included in the collective test because it was    14       Q. They weren't tested because you
15      reasonable to do so.                              15   tested all earnings announcements dates. Is
16          Q. What's a deep-dive information             16   that right?
17      analysis?                                         17       A. Correct.
18          A. An assessment as to whether the            18       Q. If you had tested all earnings
19      nature of the news that emerged that day would    19   announcement dates, you would have ultimately
20      reasonably elicit a statistically significant     20   tested a different set of dates than what you
21      stock price reaction. That's not done for the     21   actually tested. Is that correct?
22      events in a collective test. It is done for       22       A. Do you mean in an individual
23      events analyzed in an individual-event event      23   events study -- individual-event event study or
24      study.                                            24   a collective events study to test?
25          Q. Now, you used -- ultimately, did you       25       Q. Well, either one. Let's be



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 1            Steven P. Feinstein, PhD, CFA                1         Steven P. Feinstein, PhD, CFA
 2      concrete.                                          2   You've got to answer my question or the day
 3             You did a z-test in this case.              3   gets really long.
 4      Right?                                             4          Other people have used this precise
 5         A. Yes.                                         5   event selection methodology selection method
 6         Q. And you used a Wall Street                   6   that you used?
 7      Journal/New York Times event selection             7      A. Not the exact precise, but something
 8      methodology that you devised for this case.        8   similar.
 9      Right?                                             9      Q. Something similar insofar as they
10         A. Right.                                      10   also used the New York Times and the Wall
11         Q. And --                                      11   Street Journal in other cases to help them
12         A. Well, yes.                                  12   identify dates?
13         Q. Yeah. And you --                            13      A. Right.
14         A. Applied. I would use the word               14      Q. Now, using the event selection
15      "applied," not "devised." That I applied in       15   methodology that you used in this case, you
16      this case.                                        16   ended up identifying some earnings
17             As I wrote in my rebuttal report,          17   announcements. Right?
18      using the Wall Street Journal and the New York    18      A. Could I see the original report?
19      Times is in the literature, that other people     19      Q. I'm not trying to play games with
20      have done this.                                   20   you, but I don't know if I have --
21         Q. Other people have used this precise         21          MR. MARKOVITS: Did you say the
22      event selection methodology that you used?        22      event study methodology?
23         A. They've relied on the New York Times        23          MR. FRANK: Event selection
24      and Wall Street Journal to identify events.       24      methodology, I think I said.
25         Q. I see. It's at the end of the day.          25          MR. MARKOVITS: For -- you're

                                           Page 797                                              Page 798
 1             Steven P. Feinstein, PhD, CFA               1          Steven P. Feinstein, PhD, CFA
 2          talking for his event study?                   2   methodology that you used in this case, at
 3              MR. FRANK: No. We've been talking          3   least three of those dates were earnings
 4          about a z-test.                                4   announcement dates. Correct?
 5              MR. MARKOVITS: Okay.                       5      A. Correct.
 6          Q. And I said using the event selection        6      Q. Now --
 7      methodology that you used in this case, you        7      A. But they were picked for the screen
 8      ended up identifying some earnings                 8   reasons that we talked about, not because they
 9      announcements. Right?                              9   were earnings announcements dates.
10          A. Well, I just want to verify. It's          10      Q. Now, were those dates that had been
11      late in the day, and I know it's in a table in    11   previously tested by Dr. Holman?
12      my report. I'd rather refer to my report than     12      A. Yes.
13      do it from memory.                                13      Q. Now, since Dr. Holman had previously
14          Q. Sure.                                      14   selected those dates, why did you retread old
15          A. I know November 20th is there. I           15   ground?
16      don't recall what the other date was.             16      A. Because they were selected by a
17              I'm looking at page 79, using the         17   different screen, not because they were
18      bottom of the page numbers, and it's Exhibit 5.   18   earnings announcement dates.
19      So it's there: "Freddie Mac earnings dropped      19      Q. And Dr. Holman's screen had
20      45 percent, August 30, 2007."                     20   identified only one statistically significant
21          Q. Right above that, two lines above,         21   day out of six. Right?
22      "Freddie Mac reports another quarterly loss"?     22      A. Well, he says two. Bajaj challenged
23          A. Right. There too.                          23   one of them.
24          Q. So it looks like of the dates that         24      Q. And your approach got four dates out
25      were selected by the event selection              25   of nine. Is that right?



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 1           Steven P. Feinstein, PhD, CFA                1           Steven P. Feinstein, PhD, CFA
 2         A. I don't think they were those               2        A. That's not quite right. What I
 3     earnings announcement dates, were they? Let me     3    would have done is exactly -- if I were the
 4     check.                                             4    first expert in this case, what's in the
 5             June 15th or June 14th is not              5    Prudential report, the deep dive on those days
 6     significant. August 30th is.                       6    for his individual event study, he did an
 7             MR. MARKOVITS: What was the                7    individual-event event study -- he should have
 8         question pending?                              8    done a deep dive -- to determine whether there
 9         Q. The question was your approach got          9    was mixed news prior to testing them. He did
10     four dates out of nine. Is that right?            10    the analysis of whether there was mixed news
11         A. Correct.                                   11    after testing them.
12         Q. Two of those dates were earnings           12        Q. Are you sure you wouldn't have done
13     announcements dates. Is that right?               13    what you did in the Eletrobras report?
14         A. Yes.                                       14        A. I'm not sure what you're referring
15         Q. All right.                                 15    to.
16         A. But they're identified because they        16        Q. Well, the Prudential report you say
17     were New York Times/Wall Street Journal article   17    is a case where you used a single-event events
18     identified dates.                                 18    study. Correct?
19         Q. And those are dates that had been          19        A. I found one event that was an
20     tested before by Dr. Holman. Right?               20    appropriate event to test --
21         A. Yes. But he arrived at testing them        21        Q. And you've --
22     for a different reason.                           22        A. -- in the single, individual-event
23         Q. He used the approach that you              23    event study.
24     traditionally used, that is, looking at           24        Q. And you've drafted literally dozens
25     earnings announcement dates. Right?               25    of these reports. Correct?

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 1            Steven P. Feinstein, PhD, CFA               1      Steven P. Feinstein, PhD, CFA
 2         A. Yes.                                        2       MR. FRANK: Thank you for your time.
 3         Q. Have you found any other reports            3       We'll suspend the deposition pending
 4     where you only tested a single event for an        4   receipt of those documents.
 5     event study?                                       5       THE VIDEOGRAPHER: The time now is
 6         A. I think we did find one, but it was,        6   17:20. We're off the record.
 7     like, subject to a protective order or under       7       (Witness excused and deposition
 8     seal type thing. There may have been more than     8   suspended at 5:20 p.m.)
 9     one like that.                                     9
10         Q. Can you name that case?                    10
11         A. I don't remember it, as I sit here         11
12     now. But that's what I recall finding out at      12
13     the office.                                       13
14         Q. Any cases that you can tell us about       14
15     other than Prudential?                            15
16         A. No. Not -- because I don't remember        16
17     as I sit here now.                                17
18         Q. Do you have a memory of there being        18           ____________________
19     other cases that aren't subject to protective     19           Signature of Deponent
20     order where there is a single-event event         20   SUBSCRIBED AND SWORN BEFORE ME
21     study?                                            21   THIS____DAY OF____________, 2017.
22         A. No.                                        22
23              MR. FRANK: I'll pass the witness.        23   _______________________________
24              MR. MARKOVITS: No further                24   (Notary Public) MY COMMISSION EXPIRES:_______
25         questions.                                    25




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 1         ERRATA SHEET FOR THE TRANSCRIPT OF:         1           CERTIFICATE
 2    Case Name: Ohio Public Employees Retirement      2
      Systemv. Federal Home Loan Mortgage Corp.        3       I, Deanna J. Dean, a Registered Diplomate
 3    Dep. Date: November 14, 2017                     4   Reporter, Certified Realtime Reporter, and
      Deponent: Steven P. Feinstein, PhD, CFA
 4
                                                       5   Massachusetts Notary Public, do hereby certify that
                CORRECTIONS:                           6   the foregoing, to the best of my knowledge, skill
 5                                                     7   and ability, is a true and accurate transcript of
      Pg. Ln. Now Reads    Should Read Reason          8   my computer-aided electronic stenographic notes of
 6    ___ ___ ______________ ______________ ______     9   the deposition of STEVEN P. FEINSTEIN, PHD, CFA,
 7    ___ ___ ______________ ______________ ______    10   who was duly sworn, taken at the place and under
 8    ___ ___ ______________ ______________ ______
 9    ___ ___ ______________ ______________ ______
                                                      11   the circumstances present on the date hereinbefore
10    ___ ___ ______________ ______________ ______
                                                      12   set forth.
11    ___ ___ ______________ ______________ ______    13       I further certify that I am neither attorney
12    ___ ___ ______________ ______________ ______    14   or counsel for, nor related to or employed by any
13    ___ ___ ______________ ______________ ______    15   of the parties to the action in which this
14    ___ ___ ______________ ______________ ______    16   deposition was taken, and further that I am not a
15    ___ ___ ______________ ______________ ______    17   relative or employee of any attorney or counsel
16    ___ ___ ______________ ______________ ______
17                                                    18   employed in this case, nor am I financially
18            ____________________                    19   interested in this action.
19            Signature of Deponent                   20
20    SUBSCRIBED AND SWORN BEFORE ME                  21
21    THIS____DAY OF____________, 2017.               22     ____________________________________________
22
                                                      23           Deanna J. Dean, RDR, CRR
23    _______________________________
24    (Notary Public) MY COMMISSION EXPIRES:_______
                                                      24       Signed this 28th day of November, 2017
25                                                    25      My MA commission expires December 28, 2018


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17              as Amici Curiae in Support of
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